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   EXHIBIT C
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               CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

                                    STATE OF LOUISIANA

      NO. G a »M - D b( 3 (                                                        Division:

                                     TIFFANIE CURRENT

                                             VERSUS

                        HOUSING AUTHORITY OF NEW ORLEANS                                 SECTION 15

FILED:

                                                                   DEPUTYCLERK

   PETITION FOR JUDICIAL REVIEW OF HOUSING AUTHORITY DECISION TO
                   TERMINATE HOUSING ASSISTANCE

       NOW INTO COURT, through undersigned counsel, comes TIFFANIE CURRENT, a

person of full age of majority, who for this petition alleges and says:

                                 PRELIMINARY STATEMENT

                                                 1.

       Plaintiff, Tiffanie Current, is an Orleans Parish resident who, because of her limited

income, relies on housing assistance benefits. Ms. Current participates in the Section 8 Housing

Choice Voucher ("HCV") program pursuant to Section 8 of the U.S. Housing Act of 1937, 42

U.S.C. § 1437f.

                                                2.

       Ms. Current is a single mother who supports her four minor children and one grandchild,

ages 3 months, six, eight, ten, and thirteen, on a fixed income.

                                                3.

       Defendant Housing Authority of New Orleans ("HANO") administers the HCV program

in which Ms. Current is a participant.

                                                4.

       HANO proposed termination of Ms. Current and her children's housing assistance

because of unreported business income that appeared on her tax returns, and because of an

alleged unauthorized occupant.
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                                                 5.

       The business income was inaccurate and reported without Ms. Current's knowledge or

consent, as Ms. Current does not have a business, did not make business income, and did not tell

her tax preparer that she had business income.

                                                 6.

       When informed that the business income was erroneous, HANO invited Ms. Current to

amend her taxes in order to keep her housing assistance.

                                                 7.

       Ms. Current retained a tax attorney through Southeast Louisiana Legal Services' Low

Income Taxpayer Clinic, and filed amended taxes listing her self-employment income as $0. The

amended returns were provided to HANO by the deadline imposed.

                                                 8.

       Despite completing the steps prescribed by HANO, HANO issued a decision upholding

the termination of Ms. Current and her minor children from the HCV program.

                                                 9.                          .




       Moreover Ms. Current is a victim of domestic violence. The alleged unauthorized

occupant is Ms. Current's abuser, Jessie Harvey, who does not live with her. Due to HANO's

erroneous termination of her housing assistance she cannot move to escape domestic violence.

She was attacked by her abuser between the date of her proposed termination hearing and when

the hearing decision was issued, and she faces an ongoing threat of imminent harm.

                                                 10.

       For the reasons detailed herein, the decision to terminate Ms. Current's assistance was

arbitrary and capricious, an abuse of discretion, not based on substantial evidence, and contrary

to law, and should be vacated.

                                    PARTIES AND VENUE

                                                 11.

       Ms. Current is a person of the age of majority residing in Orleans Parish.

                                                 12.
                                                  2
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       Housing Authority of New Orleans is a political subdivision of the state of Louisiana that

operates conventional public housing, and issues rental assistance under the HCV program.

                                                  13.

       Venue is proper in this District because the acts complained of occurred here, Ms.

Current resides here, and HANO has its offices and conducts its business here.

                   STATUTORY AND REGULATORY BACKGROUND

                                                  14.

       As set forth in 42 U.S.C. § 1437f(a), the Section 8 Housing Choice Voucher ("HCV")

program was established by Congress "[f]or the purpose of aiding lower-income families in

obtaining a decent place to live and of promoting economically mixed housing . . . ."

                                                  15.

       Unlike traditional public housing, the HCV program allows local Public Housing

Authorities ("PHAs") to pay Housing Assistance Payments to private landlords to subsidize

housing costs for program participants.       .

                                                  16.                   .




       HCV program participants agree to comply with certain family obligations, including to

"supply any information requested by the PHA or HUD for use in a regularly scheduled

reexamination or interim reexamination of family income and composition" and to provide "true

and complete" information. 24 C.F.R. §§ 982.551(b)(2); (b)(4).

                                                  17.


       Violation of a family obligation is a discretionary ground for termination of voucher

assistance. 24 C.F.R. § 982.552(c)(1)(i).

                                                  18.

       When termination is proposed,.the participant is entitled to notice and an informal

hearing. 24 C.F.R. §§ 982.555(a)(v); (e); 42 U.S.C. § 1437d(k).

                                                  19.


                                                   3
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       Under the Violence Against Women Reauthorization Act of 2022 ("VAWA") and its

implementing regulations, a participant cannot be terminated from the HCV program "as a direct

result direct result of the fact that the applicant or tenant is or has been a victim of domestic

violence, dating violence, sexual assault, or stalking." 24 C.F.R. § 5.2005(b)(1).

                                                 20.

       Under VAWA, PHAs are required to have an emergency transfer plan for victims of

domestic violence, and are required to facilitate a victim's move with continued assistance

"quickly" when requested. 24 C.F.R. § 5.2005(e)(9).

                                                 21.

       Local PHAs must adopt an Administrative Plan "that establishes local policies for

administration of the program in accordance with HUD requirements." 24 C.F.R. § 982.54(a).

                                                 22.

       HANO's Administrative Plan states,

       In the case of family-caused errors or program abuse, HANO will take into consideration:

           •   The seriousness of the offense and the extent of participation or culpability of

               individual family members;

           •   Any special circumstances surrounding the case;

           •   Any mitigating circumstances related to the disability of a family member;

           •   The effects of a particular remedy on family members who were not involved in

               the offense.1


                                                 23.

           HANO's Administrative Plan further states, "[i]ncidents of actual or threatened

domestic violence, dating violence, sexual assault, or stalking will not be construed either as




' Housing Authority of New Orleans, Housing Choice Voucher Program Administrative Plan,
20-2 (Sept. 1, 2023), https://hano.org/plans/HANO_HCVP_AdminPlan_9-2023.pdf.
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serious or repeated violations of the lease by the victim of such violence or as good cause for

terminating the tenancy or occupancy rights of the victim of such violence."2


                                                24.

              HANO's Administrative Plan further states, "HANO allows tenants who are victims

of domestic violence, dating violence, sexual assault, or stalking to request an emergency

transfer from the tenant's current unit to another unit" even when the tenant is "not in good

standing."3


                                                25.

              HANO is not bound by hearing decisions that are "contrary to HUD regulations or

requirements, or otherwise contrary to federal, State, or local law." 24 C.F.R. § 982.555(f).

                                   FACTUAL ALLEGATIONS

                                                26.

        Ms. Current is a single mother who supports her four minor children and one grandchild,

ages 3 months, six, eight, ten, and thirteen, on a fixed income.

                                                27.

        Her sole source of income is Supplemental Security Income and Social Security received

for herself and two of her minor children.

                                                28.

        Ms. Current receives this income because she cannot read, and has mental disabilities.

                                                29.

        Two of Ms. Current's children also have disabilities.

                                                30.


        As a result she relies on a housing subsidy through the HCV program, administered by

the Housing Authority of New Orleans.


2 Id. at 3-7.
3 Id. at 16-2.
                                                 5
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                                               31.


       In 2022 and 2023 Ms. Current's sole income was the aforementioned Supplemental

Security Income and Social Security, which she reported to HANO.

                                               32.


       Ms. Current is a victim of domestic violence at the hands of her children's father, Jessie

Harvey. In September, 2023 Mr. Harvey attempted to break windows and kick down Ms.

Current's door. Mr. Harvey was arrested and charged with domestic abuse battery involving

strangulation and domestic abuse child endangerment. The criminal court issued a stay-away

order to protect Ms. Current. Mr. Harvey ultimately pled guilty to both charges and was released

on probation in December, 2023.

                                               33.

       As part of sentencing, the criminal court issued a protective order to protect Ms. Current

from Mr. Harvey. The order was issued on December 5, 2023 and lasts until December 5, 2025.

Under the protective order, Mr. Harvey may not go within 100 yards of Ms. Current's residence.

                                               34.


       At no time did Mr. Harvey reside in Ms. Current's assisted unit.

                                               35.

       On February 23, 2024 HANO notified Ms. Current that she was under investigation for

fraud, and requested income information for Mr. Harvey, even though he did not live with her

and was subject to a protective order that barred him from her residence.

                                               36.


       Ms. Current provided her tax returns in response to HANO's request.

                                               37.




                                                6
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       During the week of February 26, 2024, Mr. Harvey took Ms. Current's eight year old son

from school and fled to Baton Rouge. Ms. Current did not know where her son was until he was

returned by Mr. Harvey's mother on March 6, 2024.

                                                38.

       On March 7, 2024, Ms. Current's legal advocate sent an emergency transfer request

under the Violence Against Women Act ("VAWA") to HANO. The request explained that Ms.

Current feared imminent harm for herself and her children. Attached were the protective order

and HUD form 5382 "Certification of Domestic Violence," signed by Ms. Current.

                                                39.

       Rather than allow Ms. Current to move to safety, on March 8, 2024, HANO sent Ms.

Current a notice proposing to terminate her assistance for (1) failure to supply required

information, and (2) failure to provide truthful and complete information, in violation of her    .

family obligations under the program. HANO also alleged that (3) Ms. Current had an

unauthorized occupant, Jessie Harvey.

                                                40.


        The first two allegations were based on Ms. Current's 2022 and 2023 tax returns, which

listed business income she had not reported to HANO.

                                                41.


       Tax preparers in Louisiana are unregulated and tax preparer fraud is common.

                                               42.

       Ms. Current was not aware of the business income reported on her tax returns until

HANO brought it to her attention. The business income was not accurate and was reported by

her tax preparer without her knowledge or consent.

                                               43.


       The third allegation was based on police reports listing Jessie Harvey as an occupant at

Ms. Current's assisted unit.
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                                               44.

       Ms. Current timely requested an informal hearing.

                                               45.

       The informal hearing was held on April 1, 2024.

                                               46.

       At the hearing, Ms. Current explained that she did not make the business income her tax

reporter wrote on her tax returns.

                                               47.

       She also explained that Mr. Harvey did not live with her and was, in fact, her abuser. She

presented a protective order as evidence of domestic violence.

                                               48.

       She explained that she faced imminent harm due to HANO's failure to allow her to move

with assistance, since her abuser knew where she lived.

                                               49.


       She explained that she and her children were also unsafe at their current residence

because her neighbor had been harassing them as a result of the neighbor's teenage son

impregnating her then 12-year-old daughter.

                                               50.

       The hearing officer gave her until June 3, 2024 to amend her returns to reflect her actual

income, but stated that an extension could be granted if necessary.

                                               51.

       At the hearing, a social worker from Southeast Louisiana Legal Services testified that

they were assisting Ms. Current and her family moving forward.

                                               52.


                                                8
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        Prior to June 3, 2024, Ms. Current met with Southeast Louisiana Legal Services Low

Income Taxpayer Clinic attorney Paul Tuttle, and amended her 2022 and 2023 tax returns to

reflect that she made $0 business income.

                                               53.


        Attorney Tuttle advised Ms. Current that she could incur IRS tax liability based on the

amended returns, and Ms. Current consented to the corrected filing.

                                               54.

        The SLLS Low Income Taxpayer Clinic is not set up as a tax preparation service; as such

Attorney Tuttle cannot e-file amended returns. Instead, he must mail them in to the IRS.

                                               55.

        SLLS has no control or influence over how quickly the IRS, a federal agency, processes

amended returns.

                                               56.

        On May 24, 2024, Ms. Current's legal advocate sent her amended returns (IRS 1040X

forms) to HANO by email, stating, "I have attached Ms. Tiffanie Current's amended tax returns

for the years 2023 & 2022. Please let me know if you need any additional information."

                                               57.

        The hearing officer did not respond to the email or request any additional information.

                                               58.

        On June 3, 2024, Jessie Harvey came to Ms. Current's assisted unit and physically

injured her.

                                               59.

        On the next day, following this incident, Ms. Current's counsel sent a second emergency

transfer request under VAWA.

                                               60.

                                                9
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       HANO failed to grant Ms. Current's emergency transfer request.

                                                 61.

       On June 7, 2024, the hearing officer issued a decision upholding the termination of Ms.

Current and her children's housing assistance.

                                                 62.

     The hearing decision stated,

     On May 24, 2024, your attorney provided a copy of 2 form 1040-X for amending tax
     returns that were filled out showing no income for you for the disputed time periods. There
     was no indication that the forms had been filed with the IRS but based on the information
     in the forms you would owe the IRS $19,856 if you filed the amended returns. We would
     need official documentation from the IRS to show that they received the amended return to
     calculate the correct amount owed to HANO, if anything.

                                                 63.

       But the hearing officer never asked for documentation to prove that the amended returns

had been filed. Nor did the hearing officer respond to SELS's offer to provide any additional

documentation that was needed. As such, it was not clear that that documentation was required.

                                                 64.

       Regarding the alleged unauthorized occupant, the hearing officer concluded:

       Based on the evidence it appears that Mr. Harvey did live with you for longer than
       HANO allows for guests but that you were a victim of domestic violence during that time
       and as of now Mr. Harvey is no longer living with you in the assisted unit.

                                                 65.

       It was not clear whether the allegation of unauthorized occupant formed the basis of the

decision to uphold the termination, and HANO did not respond to requests for clarification.

                                                 66.

       On June 18, 2024, Ms. Current's legal advocate emailed HANO to request

reconsideration of the termination decision, since she was never informed of the need for

additional documentation. At that time she provided the cover letter from Ms. Current's SLLS

tax attorney proving that the amended returns were mailed to the IRS before HANO's deadline.

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                                                67.

       She received no response.

                                                68.

       On June 26, 2024, Southeast Louisiana Legal Services again notified HANO of its error,

and expressed intent to take further legal action. In response, the hearing officer stated "the

required information from the IRS showing that the amended return had been filed was not

received by the deadline given during the hearing."

                                                69.


       As a result of the erroneous hearing decision, Ms. Current and her four minor children

and her infant grandchild face imminent eviction and homelessness when their housing

assistance payments are terminated on July 31, 2024.

                                     CLAIMS FOR RELIEF

                                 FIRST CLAIM FOR RELIEF

The Hearing Officer's decision is arbitrary and capricious, an abuse of discretion, and not
  based on substantial evidence because it is based on Ms. Current's failure to provide a
                           document that was never requested.

                                                70.


       Plaintiff re-alleges and incorporates by reference all allegations in all preceding

paragraphs.

                                                71.

       The business income on Ms. Current's tax returns was never received by Ms. Current,

and was reported without her knowledge or consent. Ms. Current cannot read and was unaware

of the business income on her tax returns.

                                                72.

       When informed that the business income on her 2022 and 2023 tax returns was not

accurate, HANO informed Ms. Current that she could amend her retums in order to keep her

housing assistance.

                                                 11
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                                                73.

        Ms. Current retained Southeast Louisiana Legal Services' Low Income Taxpayer Clinic

to amend her 2022 and 2023 taxes to remove the erroneous business income that was reported

without her knowledge or consent.

                                                74.

        Ms. Current amended her returns and SLLS submitted them to the IRS by HANO's

deadline.

                                                75.

       Nonetheless, HANO upheld the termination of Ms. Current's assistance.

                                                76.

       The hearing officer's upheld the termination because Ms. Current submitted her amended

returns, but did not submit proof that her SLLS tax attorney had filed them with the IRS.

                                                77.

       But the hearing officer never requested additional proof that SLLS had filed the amended

returns, and did not respond to counsel's offer to provide additional documents if needed.

                                                78.

       After receiving the hearing decision, Ms. Current's counsel provided a cover letter from

Ms. Current's tax attorney showing that the returns were mailed to the IRS before HANO's

deadline. However the hearing officer refused to reconsider his decision.

                                                79.

       The hearing officer's decision is not based on substantial evidence, is arbitrary and

capricious, and is an abuse of discretion.

                                SECOND CLAIM FOR RELIEF

   The Hearing Officer's decision is arbitrary and capricious and an abuse of discretion
because it did not consider mitigating factors, as required by HANO's Administrative Plan.

                                                80.

       Plaintiff re-alleges and incorporates by reference all allegations in all preceding

paragraphs.
                                                12
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                                                  81.

        HANO's Administrative Plan requires that HANO consider the following when

determining whether to terminate assistance for family caused errors and/or program abuse:

            •    The seriousness of the offense and the extent of participation or culpability of

                 individual family members;

            •    Any special circumstances surrounding the case;

                 Any mitigating circumstances related to the disability of a family member; and

            •    The effects of a particular remedy on family members who were not involved in

                 the offense.4

                                                  82.

        But the hearing officer failed to consider any of these factors, including the fact that Ms.

Current's four minor children would face eviction and homelessness if the termination was

upheld, and the fact that she and two of her minor children have disabilities.

                                                  83.

        The hearing officer also failed to consider the special circumstances surrounding this

case, namely that Ms. Current is a victim of domestic violence and faces imminent harm from

her abuser due to HANO's refusal to allow her to move with assistance during this termination

proceeding.               .

                                                  84.

        The hearing officer also failed to consider that Ms. Current was a victim of tax preparer

fraud, and took immediate steps to correct the error on her tax returns as soon as it was brought

to her attention, despite the risk of incurring liability to the IRS.

                                                  85.

        The hearing officer also failed to consider that Ms. Current was now connected with a

social worker who could assist her moving forward.

                                                  86.



 Supra note 1.
                                                   13
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        HANO's failure to follow its own policy that requires consideration of the above

mitigating factors renders the hearing officer's decision arbitrary and capricious and an abuse of

discretion.

                                 THIRD CLAIM FOR RELIEF

 The Hearing Officer's decision is arbitrary and capricious because HANO has established
                      no violation of the Section 8 family obligations.


                                                 87.


       Plaintiff re-alleges and incorporates by reference all allegations in all preceding

paragraphs.

                                                 88.

       Ms. Martin accurately reported her income to HANO.

                                                 89.

       The errors in Ms. Martin's past tax filings, now corrected, do not provide a basis for a

HCV program termination.

                                                 90.

       As such, the hearing officer's decision is not based on substantial evidence, is arbitrary

and capricious, and is an abuse of discretion.

                               FOURTH CLAIM FOR RELIEF

    To the extent that the decision to uphold Ms. Current's termination is based on the
       allegation that her abuser was an unauthorized occupant, it violates VAWA.

                                                 91.


       Plaintiff re-alleges and incorporates by reference all allegations in all preceding

paragraphs.

                                                 92.

       VAWA, and HANO's Administrative Plan, prohibit termination of a participant's HCV

assistance as a direct result of domestic violence. 24 C.F.R. § 5.2005.

                                                 93.


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        The hearing decision is ambiguous as to whether the termination was upheld, in part, due

to the allegation that Ms. Current's abuser was an unauthorized occupant.

                                                94.

        Ms. Current submitted to HANO a protective order showing that she was a victim of

domestic violence at the hands of Jessie Harvey. She also requested an emergency transfer twice

due to Mr. Harvey's acts of domestic violence against her. Once such act occurred while she was

waitingfor HANO's hearing decision.

                                                95.

        To the extent that the decision to uphold Ms. Current's termination is based on the

allegation that her abuser was an unauthorized occupant, it violates VAWA and is therefore

arbitrary, capricious, and contrary to law.

                                 FIFTH CLAIM FOR RELIEF

     To the extent that the decision to uphold Ms. Current's termination is based on the
  allegation that her abuser was an unauthorized occupant, it was based solely on a police
report that stated Mr. Harvey resided at Ms. Current's assisted unit, and was therefore not
                                based on substantial evidence.

                                                96.

       Plaintiff re-alleges and incorporates by reference all allegations in all preceding

paragraphs.

                                                97.

       To the extent that the decision to uphold Ms. Current's termination is based on the

allegation that her abuser was an unauthorized occupant, it was based solely on a police report

that stated Mr. Harvey resided at Ms. Current's assisted unit.

                                                98.

       Ms. Current testified that Mr. Harvey does not live with her, has never lived with her at

her assisted unit, and in fact is her abuser against whom she has a protective order.

                                                99.




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       Hearsay in the police report alone does not constitute substantial evidence sufficient to

meet HANO's burden, because factors assuring underlying reliability and probative value were

not present.

                                              100.

       Therefore the decision to uphold the termination based on the alleged unauthorized

occupant was not based on substantial evidence.

                                FIFTH CLAIM FOR RELIEF

   The hearing officer's decision that Ms. Current was not eligible for a VAWA transfer
violated VAWA and HANO's policies, and therefore was arbitrary and capricious and not
                                   in accordance with law.

                                              101.


       Plaintiff re-alleges and incorporates by reference all allegations in all preceding

paragraphs.

                                              102.

       Ms. Current requested an emergency transfer under VAWA on March 7, 2024 and

required all required documentation of domestic violence under VAWA. HANO failed to allow

Ms. Current to move with continued assistance.

                                              103.

       Ms. Current requested an emergency transfer under VAWA again on June 4, 2024.

HANO failed to allow Ms. Current to move with continued assistance.

                                              104.

       In the hearing, the hearing officer stated that Ms. Current was not eligible for a VAWA

transfer because she was currently out of compliance with program rules.

                                              105.

       But Ms. Current was not out of compliance because her termination at that time was only

proposed, and no hearing decision had been issued.

                                              106.



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        Moreover, VAWA and its implementing regulations require that the agency have a policy

to allow a participant to "move quickly with . . . assistance." 24 C.F.R. § 5.2005(e)(9).

                                                107.

        HANO's Administrative Plan states that a family is allowed to move with continued

assistance where a family member is a victim of domestic violence and the move is needed to

protect the health and safety of the family.5

                                                108.

        HANO's Administrative Plan further states that "[t]enants who are not in good standing

may still request an emergency transfer if they meet the eligibility requirements in

this section."6

                                                109.

        The hearing officer's decision that Ms. Current was not eligible for transfer while she

was working to amend her tax returns therefore violated VAWA and was contrary to law, and

violated HANO's Administrative Plan and was therefore arbitrary and capricious.

                                     PRAYER FOR RELIEF

WHEREFORE the Plaintiff respectfully requests that this Court:

    a. Allow Plaintiff to file this action and proceed informa pauperis;

    b. Order the Defendant to file the complete record of its administrative review of Ms.

        Current's proposed termination from the HCV program for the court's review;

    c. After review of the record and hearing any arguments of counsel, vacate Defendant's

        decision terminating Ms. Current's housing assistance as not based on substantial

        evidence, arbitrary, capricious, and an abuse of discretion;

    d. Tax costs of this proceeding to the Defendant, and

    e. Award other relief as this Court may deem to be just and proper.


                                                Respectfully submitted:



s Id. at 16-1.
6 Id. at 16-2.
                                                  17
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                                   SOUTHEA T LOUISIANA LEGAL SERVICES

                                   By:

                                   HANNAH ADAMS, LSBA # 36343
                                   DAVID WILLIAMS, LSBA #17867
                                   1340 Poydras St. Suite 600
                                   New Orleans, Louisiana 70112
                                   Telephone: (504) 529-1000, ext. 258
                                   Fax: (504) 596-2241


                                   Attorneyfor Plaintiff Tiffanie Current

Please Serve:

Housing Authority of New Orleans
Keva Landrum, General Counsel
4100 Touro St.
New Orleans, LA 70122               .




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                                         VERIFICATION

STATE OF LOUISIANA
PARISH OF ORLEANS


       BEFORE ME, the undersigned authority, personally came and appeared TIFFANIE

CURRENT who, being by me first duly sworn, deposed; that she is the plaintiff in the attached

Petition, and that all allegations of fact made in the Petition, except those allegations expressly

made on information and belief; affiant believes to be true.




                                       TIFFANIE CURRENT


SWORN TO AND SUBSCRIBED
BÉFORE ME N THIS    d DAY OF



NOTARY PUBLIC
                       NNAH ADAMS
                 Case 2:24-cv-01883-SSV-EJD Document 3-4 Filed 07/29/24 Page 21 of 127
ATTORNEY'SNAME:                 Adann,HannahD 36343
AND ADDRESS:                    1340 Poydras St. Ste600,NewOrleans,LA.70l l2

                      CIVILDISTRICT COURTFORTHE PARISHOFORLEANS
                                                      STATE OFLOUISIANA
             NO:2024-06181                                DIVISION:J                                        SECTION:15
                                                       CURRENT,TIFFANIE
                                                                  Versus
                                         HOUSINGAUTHORITY OFNEWORLEANS
                                             CITATION
'ID:                  HOUSING AUTHORITY OF NEW ORLEANS
'IHROUGH:             KEVA LANDRUM, GENERAL COUNSEL
                      4100 TOURO ST., NEW ORLEANS, LA 70122
YOU HAVE BEEN SUED:
You must either comply with the demand contained in the
PETITION FOR JUDICIAL REVIEW OF HOUSING AUTHORITY DECISION TO TERMINATE HOUSING
ASSISTANCE
 a certified copy of which accompanies this citation, or file an answer or other legal pleading within the delay
provided by Civil Code of Pmcedme Article 1001. The mentioned adicle is noted on the back of this page for
your refe1ence. You may make your filing in the office of the Clerk of this Court, Room 402, Civil Courts
Building, 421 Loyola Avenue, New Odeans, LA 70112.
                                          ADDITIONAL INFORMATION
       Legal assistance is advisable. If you want a lawyer and can't fmd one, you may contact the New
       Odeans Lawyer Referral Service at https://newodeansbar.community.lawyer/. This Referral Service
       operates in conjunction with the New Odeans Bar Association. If you qualify, you may be entitled to
       free legal assistance fluough Southeast Louisiana Legal Services (SLLS) at 877-5214242 or 504-529-
       1000.
      ********COURT PERSONNEL ARENOf PERMITTED TOGIVE LEGAL ADVICE********
1N WITNESS HEREOF,I have hereuntoset my hand and affixthesesloftheCivil DistrictCourt for the
Parish ofOrleans, StateofLA July 18,2024
Clerk'sOffice,Room402                                                         CHELSEY RICHARDNAPOLEON,Clerkof
CivilCourts Building                                                          TheCivil DistrictCourt
421 LoyolaAvenue                                                              forthe Parish ofOrleans
New Orleans, LA 70112                                                         State of LA
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                                                                              Ellen Philbrick, Deputy Clerk
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PETITION ItOR JUDICIAL REVIEWOF HOUSING AUTHORITY                      PETITION FOR UDICIAL REVIEW OF HOUSING AUTHORITY
DECISION TO TERMINATE HOUSING ASSISTANCE                               DECISION TO TERMINATE HOUSING ASSISTANCE
    HOUSING AUTHORITYOFNEW ORLEAN                                           OUSING AUTHORITY OFNEW ORLEANS
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       ID: 1l427104                                              Page l of2
             Case 2:24-cv-01883-SSV-EJD Document 3-4 Filed 07/29/24 Page 22 of 127




                                            Civil CodeofP1ocedures
                                                  Article 1001
Art. 1001. Delay for answering
           A. A defendant shall file his answer within twentyene days aAer service of citation upon him, except as
otherwiseprovidedbylaw.Iftheplaintifffilesandservesadiscoverymquestwithhispetition,the defendantshall
filehisanswertothepetitionwithinthirtydaysafterserviceofcitationandserviceofdiscoverymquest.
           B. When an exception is filed prior to answer and is over1uled or refened to the merits, or is sustained
and an amendment of the petition ordered, the answer shall be filed within fifteen days after the exception is
overruled or mfened to the merits, or fifteen days aAer service of the amended petition.
           C. The court may grant additional time for answering.
           Acts 2021, No. 174, §1, eff. Jan. 1, 2022.




    ID: 1l427104                                    Page2 of2
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                              IN FORMA PAUPERIS


                      CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS a
                                     STATE OF LOUISIANA

         NO. 2024-06181                                                               Divisia3:Q-15
                                          TIFFANIE CURRENT                                   oi

                                                 VERSUS

                            HOUSING AUTHORITY OF NEW ORLEANS

 Q-. FILED:
                                                                    DEPUTY CLERK
<C
CL
           EMERGENCY MOTION FOR STAY OF HOUSING AUTHORITY DECISION
                          PENDING JUDICIAL REVIEW

O            NOW INTO COURT comes Plaintiff, TIFFANIE CURRENT, who moves for a stay
LL.
      order to prevent Defendant Housing Authority of New Orleans ("HANO") from terminating its

      Housing Assistance Payments to Ms. Current's landlord, set to occur on July 31, 2024. In staying

      the termination, the Court should order that HANO continue to provide all program benefits and

      protections to Ms. Current, and specifically that HANO allow her to move with continued

      assistance to escape imminent threat of physical harm from domestic violence.

             As laid out in her Memorandum in support, Ms. Current is likely to succeed on the merits

      of her case because HANO's hearing decision to terminate her assistance is arbitrary and

      capricious, not based on substantial evidence, and contrary to law and HANO's own policy.

      Moreover Ms. Current and her four minor children and infant grandchild face irreparable harm in

      the form of certain eviction and homelessness, as well as imminent harm from Ms. Current's

      abuser, if HANO is not ordered to continue her assistance as prayed for.

             HANO's counsel have been notified¹and do not consent to the issuance of a stay.

                                                   Respectfully submitted:
                                                   SOUTHEAST LOUISIANA LEGAL SERVICES

                                                   By:
                                                   Amanda Golob, Louisiana Bar No. 32146
                                                   Hannah Adams, Louisiana Bar No. 36343
                  .                                David H. Williams, Louisiana Bar No. 17867
                                                   1340 Poydras St. Suite 600                         .
                                                  New Orleans, Louisiana 70112-2401
                                                  Telephone: (504) 529-1000, ext. 260
                                                  Fax: (504) 596-2241
                                                  agolob@slls.org
                                                  Attorneysfor PlaintiffTiffanie C rent


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     Case 2:24-cv-01883-SSV-EJD Document 3-4 Filed 07/29/24 Page 24 of 127




                                                                                            CD




                                     CERTIFICATE OF SERVICE                           o:           t

        I, the undersigned, do certify that a copy of the above motion has been served-upon T-

Defendants through their attorney of record, by first class mail and electronic mail this    day

of                    , 2024.



                                              Hannah Adams, LSBA# 36343




                                                 2
    Case 2:24-cv-01883-SSV-EJD Document 3-4 Filed 07/29/24 Page 25 of 127




                CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS gE2
                               STATE OF LOUISIANA              -C


   NO. 2024-06181                                                                 Divisio1f: J-1

                                         TIFFANIE CURRENT

                                              VERSUS

                         HOUSING AUTHORITY OF NEW ORLEANS


FILED:
                                                                 DEPUTY CLERK

                                           STAY ORDER

         Considering the Emergency Motion for Stay of Housing Authority Decision Pending

Judicial Review, the irreparable injury at issue and the plausible merit of the petition, and this

Court's authority in para materia to the statutory authorization under La. R.S. 978.1 to issue an

ex parte stay while the case is on judicial review:

         IT IS ORDERED that the June 7, 2024 hearing decision terminating Ms. Current's

housing assistance as of July 31, 2024 is STAYED until further order of this court;

         IT IS FURTHER ORDERED that the Housing Authority proceed with processing Ms.

Current's Violence Against Women Act program move until further order of this court.

         [and/or]

         IT IS FURTHER ORDERED that the Housing Authority of New Orleans show cause

on the              day of                   , 2024 at                   o'clock __.m., why HANO

should not be stayed from terminating Ms. Current's assistance, set to terminate on July 31,

2024, and why it should not be ordered to immediately process her program move due to

domestic violence.

         [and if a hearing is ordered]

         IT IS FURTHER ORDERED that if Defendant seeks to have the Court's decision not

be based on the partial administrative record tendered by the Plaintiff, at least 3 days before the

hearing Defendant shall file with the Court and deliver to Plaintiff's counsel a complete copy of

the administrative record.
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       Signed in New Orleans, Louisiana on                                   , 2024,

at              o'clock    .m.



                                             HON. JUDGE D. NICOLE SHEPPARD


Please Serve:

Housing Authority of New Orleans
Through Counsel, Kathryn Knight
Stone Pigman Walther Wittmann, LLC
909 Poydras St #3150
New Orleans, LA 70112




                                                                VERlFlED
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                CIVIL. DISTRICT COURT FOR THE PARISH OF ORLEANS
                                STATE OF LOUISIANA                                             "

    NO. 2024-06181                                                             Division: J-15
                                      TIFFANIE CURRENT

                                            VERSUS

                        HOUSING AUTHORITY OF NEW ORLEANS

FILED:
                                                               DEPUTY CLERK

    MEMORANDUM IN SUPPORT OF EMERGENCY MOTION FOR STAY OF
 HOUSING AUTHORITY TERMINATION DECISION PENDING JUDICIAL REVIEW

    I. INTRODUCTION

        The underlying petition for judicial review arises from the Housing Authority of New

Orleans' decision to uphold the termination of Ms. Current's Housing Choice Voucher Program

("HCVP" or "Section 8") benefits. Unless immediately stayed, Ms. Current's termination will go

into effect on July 31, 2024, and HANO will cease making Housing Assistance Payments to Ms.

Current's landlord as of August 1, 2024.2 Ms. Current cannot afford to pay the full rent by

herself because ofher limited income.3 Immediately thereafter, Ms. Current's landlord can file a

petition to evict Ms. Current from her home for nonpayment of rent. If this happens, Ms.

Current, her four minor children, and her infant grandchild will be rendered homeless and will

suffer severe emotional, academic, and economic harm.4

        In addition, Ms. Current has twice requested that HANO transfer her to a new unit under

the Violence Against Women Act ("VAWA")5 because she is a victim of domestic violence,6

and her abuser knows where she lives,7 and recently physically assaulted her there.8 Ms. Current

requests that as a condition of the stay order, and after an evidentiary hearing, HANO be ordered

to issue her to move with continued assistance to escape imminent domestic violence.




2 Exhibit 1, ¶ 4; Exhibit 1-A.
3 Exhibit 1, ¶ 32.
4 Exhibit 1, ¶ 34, 37, 38.
5 Exhibit 1, ¶ 14, 29; Exhibit 1-B, 1-E.
6 Exhibit 1, ¶ 9.
7 Exhibit 1, ¶ 21.
8 Exhibit 1, ¶ 27.
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         There is no specific statute governing the judicial review, but courts have recognized a

right to judicial review as to agencies outside the state's Administrative Procedure Act, and have

applied similar procedure by analogy. La. R.S. § 49:978.1 in the Louisiana Administrative

Procedure Act authorizes an exparte stay.

    IL       FACTUAL BACKGROUND

         The following facts set out in the administrative record, and confirmed by the attached

affidavits are pertinent to this memorandum:

         HANO is planning to terminate Ms. Current's housing assistance on July 31, 2024

because of its hearing officer's finding:

         #1 and 2: That she did not comply with a HANO request to supply information relevant

to her income and that the information she provided was false or incomplete. But the hearing

officer's concern was that Ms. Current's tax forms listed more income than she reported to

HANO. A tax attorney provided by SLLS then amended Ms. Current's tax returns to list the

correct income. But the hearing officer still issued an adverse ruling because "We would need

official documentation from the IRS to show that they received the amended return to calculate

the correct amount owed to HANO, if anything."9 But the hearing officer never made any

request to Ms. Current for anything official from the IRS.

         #3: The hearing decision also mentions occupancy of the subsidized unit by an

unauthorized individual, but HANO's hearing officer concludes, "Based on the evidence it

appears that Mr. Harvey did live with you for longer than HANO allows for guests but that you

were a victim of domestic violence during that time and as of now Mr. Harvey is no longer living

with you in the assisted unit."l°

         Ms. Current's affidavit shows that she established in the hearing that she is a single

mother who supports her four minor children and one grandchild, ages three months, six, eight,

ten, and thirteen, on a fixed income.11 Her sole source of income is Supplemental Security

Income and Social Security received for herself and two of her minor children.l2 She receives


9 Exhibit 1, ¶ 4; Exhibit 1-A.
¹°Exhibit 1, ¶ 4; Exhibit 1-A.
¹¹Exhibit 1, ¶ 5.
¹²Exhibit 1, ¶ 6.
                                                  2
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this income because she cannot read and has mental disabilities.l3 Two of her children also have

disabilities.¹4Because of her fixed income, she cannot afford rent on the private market.15 She

relies on rental assistance through the Section 8 Housing Choice Voucher ("HCV) program

administered by HANO.¹6

          In 2022 and 2023 Ms. Current's sole income was the aforementioned Supplemental

Security Income and Social Security, which she reported to HANO.¹7

          Ms. Current is a victim of domestic violence at the hands of her children's father, Jessie

Harvey.18 In September 2023 Mr. Harvey attempted to break windows and kick down Ms.

Current's door. Mr. Harvey was arrested and charged with domestic abuse battery involving

strangulation and domestic abuse child endangerment. The criminal court issued a stay-away

order to protect Ms. Current. Mr. Harvey ultimately pled guilty to both charges and was released

on probation in December, 2023. As part of sentencing, the criminal court issued a protective

order to protect Ms. Current from Mr. Harvey. The order was issued on December 5, 2023 and

lasts until December 5, 2025. Under the protective order, Mr. Harvey may not go within 100

yards of Ms. Current's residence.¹9At no time did Mr. Harvey reside in Ms. Current's assisted

unit.2°

          During the week of February 26; 2024, Mr. Harvey abducted Ms. Current's eight year old

son from school. Ms. Current did not know where her son was until he was returned by Mr.

Harvey's mother on March 6, 2024.2¹On March 7, 2024, Ms. Current's legal advocate sent an

emergency transfer request to HANO under the Violence Against Women Act ("VAWA"),

attaching the protective order and a HUD form 5382 "Certification of Domestic Violence."22




¹³Exhibit 1, ¶ 7.
¹4Exhibit 1, ¶ 8.
¹5Exhibit 1, ¶ 31.
16 Exhibit 1, ¶ 32.
¹7Exhibit 1, ¶ 19.
18 Exhibit 1, ¶ 9.
19 Exhibit 1, ¶ 11.
2° Exhibit 1, ¶ 10.
2l Exhibit 1, ¶ 12.
22 Exhibit 1, ¶ 14; Exhibit 1-B; Exhibit 2, ¶ 5; Exhibit 2-A.
                                                   3
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       HANO refused to transfer Ms. Current.23 Instead, on March 7, 2024, HANO sent Ms.

Current a notice proposing to terminate her assistance for (1) failure to supply required

information, and (2) failure to provide truthful and complete information, in violation of her

family obligations under the program. HANO also alleged that (3) Ms. Current had an

unauthorized occupant, supposedly the abuser Jessie Harvey.24

       The first two allegations were based on Ms. Current's 2022 and 2023 tax returns, which

listed business income she had not reported to HANO.25 Ms. Current was not aware that her tax

preparer had put business income on her 2022 and 2023 tax returns, as she did not tell her tax

preparer that she made business income and did not consent to the addition.26 She did not, in fact,

have a business or make business income.²7

       The third allegation was based on police reports listing Jessie Harvey as an occupant at

Ms. Current's assisted unit.28

       Ms. Current timely requested an informal hearing. The informal hearing was held on

April 1, 2024. At the hearing, Ms. Current explained that she did not make the business income

her tax reporter wrote on her tax returns. She also explained that Mr. Harvey did not live with her

and was, in fact, her abuser and under an order to stay away. She presented a protective order as

evidence of domestic violence. She explained that she faced imminent harm due to HANO's

failure to allow her to move, since her abuser knew where she lived.29

       Based on the fact that the income on her tax returns was inaccurate, the hearing officer

gave her until June 3, 2024 to amend her returns to reflect her actual income.3° The hearing

officer stated that she was not eligible for a VAWA transfer while she was amending her returns

because she was currently out of compliance with program rules, even though she had explained

that the income she reported to HANO was accurate.3¹



23 Exhibit 1, ¶ 15.
24 Exhibit 1, ¶ 16, 17; Exhibit 1-C.
25 Exhibit 1, ¶ 18.
26 Exhibit 1, ¶ 20.
27 Exhibit 1, ¶ 19.
28 Exhibit 1, ¶l7; Exhibit 1-C.
29 Exhibit 1, ¶ 21.
3° Exhibit 1, ¶ 22.
3¹Exhibit 1, ¶ 23.
                                                 4
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        Prior to the June 3, 2024, date the hearing officer set Ms. Current met with Southeast

Louisiana Legal Services Low Income Taxpayer Clinic attorney Paul Tuttle and amended her

2022 and 2023 tax retums to reflect that she made $0 business income.32

        The final hearing officer decision added an additional requirement not previously

specified: that IRS confirmation of the amended return be provided. Paul Tuttle's Affidavit and

Ms. Current's counsel's correspondence with HANO explains that the SLLS Low Income

Taxpayer Clinic is not set up as a tax preparation service; as such Attorney Tuttle cannot e-file

amended returns. Instead, he must mail them in to the IRS.33 SLLS has no control or influence

over how quickly the IRS, a federal agency, processes amended returns.34

        On May 24, 2024, Ms. Current's counsel sent her amended returns (IRS 1040X forms)35

to HANO by email, stating, "I have attached Ms. Tiffanie Current's amended tax returns for the

years 2023 & 2022. Please let me know if you need any additional information."36 The hearing

officer did not respond to the email or request any additional information.37

        On June 3, 2024, Jessie Harvey came to Ms. Current's assisted unit and physically

assaulted her.38

        On the same day, following this incident, Ms. Current's counsel sent another emergency

transfer request under VAWA.39

        HANO again refused to transfer her to safety.4° Instead, on June.7, 2024, the hearing

officer issued a decision upholding the termination of Ms. Current and her children's housing

assistance.41

      The hearing decision stated,

      On May 24, 2024, your attorney provided a copy of 2 form 1040-X for amending tax
      returns that were filled out showing no income for you for the disputed time periods. There
      was no indication that the forms had been filed with the IRS but based on the information
      in the forms you would owe the IRS $19,856 if you filed the amended returns. We would

32 Exhibit 1, ¶ 24.
33 Exhibit 3, ¶ 3; Exhibit 4, ¶ 3; Exhibit 3-A.
34 Exhibit 3, ¶ 4.
35 Exhibit 1, ¶ 26; Exhibit 1-D.
36 Exhibit 2, ¶ 8, 9; Exhibit 2-C.
37 Exhibit 2, ¶ 9, 10; Exhibit 2-C.
38 Exhibit 1, ¶ 27.
39 Exhibit 1, ¶ 28, 29; Exhibit 1-E; Exhibit 2, ¶7; Exhibit 2-B.
4° Exhibit 1, ¶ 30.
4¹Exhibit 1, ¶ 4; Exhibit 1-A.
                                                  5
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      need official documentation from the IRS to show that they received the amended return to
      calculate the correct amount owed to HANO, if anything.42

But the hearing officer never asked for documentation to prove that the amended returns had

been filed. Nor did the hearing officer respond to SLLS's offer to provide any additional

documentation that was needed.43 As such, it was not clear that that documentation was required.

Further, the IRS does not provide receipts for mailed returns.44

        Regarding the alleged unauthorized occupant, the hearing officer concluded:

        Based.on the evidence it appears that Mr. Harvey did live with you for longer than
        HANO allows for guests but that you were a victim of domestic violence during that time
        and as of now Mr. Harvey is no longer living with you in the assisted unit.45

From the decision it does not seem that the allegation of unauthorized occupant formed the basis

of the decision to uphold the termination, but HANO did not respond to requests for clarification.

        On June 18, 2024, Ms. Current's legal advocate emailed HANO to request

reconsideration of the termination decision,46 since she was never informed of the need for

additional documentation. At that time, she provided the cover letter from Ms. Current's SLLS

tax attorney proving that the amended returns were mailed to the IRS before HANO's deadline.47

        On June 26, 2024 Ms. Current's counsel emailed HANO to request reconsideration of the

termination decision again, explaining that SLLS's Low Income Taxpayer Clinic cannot

electronically file returns and must instead mail them in, and that SLLS cannot control how

quickly the IRS processes amended returns.48

        As a result of the erroneous hearing decision, Ms. Current and her four minor children

face imminent eviction and homelessness when their housing assistance payments are terminated

on July 31, 2024.49 Because of Ms. Current's limited fixed income of about $1,500 per month,

she cannot afford rent on the private market.50 After her monthly food, utility, phone bill, and




42 Exhibit 1, ¶ 4; Exhibit 1-A.
43 Exhibit 2, ¶ 9, 10; Exhibit 2-C.
44 Exhibit 3, ¶ 4.
45 Exhibit 1, ¶ 4; Exhibit 1-A.
46 Exhibit 2, ¶ 11.
47 Exhibit 2, ¶ 12; Exhibit 2-D.
48 Exhibit 4, ¶ 3; Exhibit 4-A.
49 Exhibit 1, ¶ 34.
so Exhibit 1, ¶ 31.
                                                 6
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child-related expenses she has nothing left.5¹HANO currently pays all of her rent.52 Her landlord

can move to evict her as early as August 1, 2024. She and her children would be forced to move

and to stay temporarily with friends or family where they would incur additional out-of-pocket

food and lodging expenses. They would have to sleep on couches or the floor.53 She cannot

afford to pay for a storage unit, so she would likely lose many of her belongings and furniture.54

Her school age children would suffer academically from such housing instability just as they are

beginning a new school year.55 She, her children, and the baby will experience severe physical

and emotional harm being homeless without anywhere to go.56

           Even with assistance, unless she is permitted to transfer to a new unit, Ms. Current also

faces imminent physical injury from her abuser, Jessie Harvey, who already violated her

protective order by coming to her house and physically assaulting her on June 3, 2024.57

    III.      APPLICABLE LAW

              a. Standard of Review - Judicial Review

           The judicial review procedures of the Louisiana Administrative Procedures Act

("LAPA") do not apply to local housing authorities, which are political subdivisions. La. R.S.

40:406(B) (exempting housing authorities from LAPA); La. R.S. § 49:951(3) (specifying state

agencies are subject to the LAPA). However, as set out below Louisiana courts have repeatedly

held that judicial review exists outside of LAPA.

           The Third Circuit thoroughly analyzed the authorities and applied them to a Housing

Authority decision to remove a board member where, like the absence of express authority in the

Housing Authorities Law for appeal of a termination decision, "nowhere in the Housing

Authority's law is there set forth the procedure for appeal of such removal." Messina v. Rapides

Par. Police Jury, 373 So. 2d 745, 748 (La. App. 3d Cir. 1979), writ denied, 376 So. 2d 1268 (La.




5¹Exhibit 1, ¶ 31.
52 Exhibit 1, ¶ 32.
53 Exhibit 1, ¶ 35, 39.
54 Exhibit 1, ¶ 36.
55 Exhibit 1, ¶ 38.
56 Exhibit 1, ¶ 37.
57 Exhibit 1, ¶ 27, 41.
                                                    7
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1979).58 It followed in part Fourth Circuit decisions regarding other non-statutory administrative

reviews. Gertler v. City ofNew Orleans, 346 So. 2d 228 (La. App. 4th Cir. 1977); River Oaks-

Hyman Place Homeowners Civic Ass'n v. City ofNew Orleans, 281 So. 2d 293 (La. App. 4th

Cir. 1973). But it also looked at the analogous Administrative Procedure Act and other cases in

deciding:

               [T]he most logical standard is that set forth in the above, analogous, cases
               involving school boards, civil service boards, zoning boards, and an
               executive order in an adjudicatory proceeding under the Administrative
               Procedure Act, to-wit [whether the decision below is]:

               (1) In accordance with authority and formalities of the law and
               (2) Supported by substantial evidence, in that the action was not arbitrary
               or capricious or an abuse of discretion.

Messina, 373 So. 2d at 749; see also Tanner v. Baton Rouge, 422 So. 2d 1263 (La. App. 1st Cir.

1982), writ denied, 429 So. 2d 128 (La. 1983).; Cochran v. City ofBaton Rouge, 399 So.2d 656

(La. App. 1st Cir. 1981).

       Even where a government body is expressly exempted or excludedfrom LAPA, judicial

review of the body's decisions is nonetheless available. See Collector ofRevenue v. Murphy Oil

Co., 351 So. 2d 1234, 1236 (La. App. 4 Cir. 1977) (though the Board of Tax Appeals' decision

was specifically exempted from LAPA, it was nonetheless subject to review for whether the

Board correctly applied the law and whether its findings of fact were supported by substantial

evidence).

       Following the express exclusion of political subdivisions from LAPA in July, 1979,59

numerous courts have upheld judicial review of the administrative decisions of political

subdivisions, like HANO. In Tanner v. Baton Rouge, a plumber had been discharged from his

job with the city and had been unsuccessful in his administrative appeals. 422 So. 2d at 1264. He

claimed that he had the right to file an ordinary proceeding in District Court challenging the

decisions below. Both the trial court and First Circuit followed other Louisiana cases recognizing



58 Decided just prior to the amendment of LAPA on June 20, 1979; rehearing denied on August
15, 1979.
59 The Fourth Circuit Court of Appeal explained the 1979 amendment in George v. Depft ofFire,
637 So. 2d 1097, 1103 (La. App. 4 Cir. 1994) (finding that LAPA's notice and hearing
requirements did not apply to its review of a civil service commission decision because of the
political subdivision exclusion).
                                                 8
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    the courts' jurisdiction to review administrative decisions of the City, which is a political

    subdivision. The First Circuit stated "[e]ven in the absence of statutory authority, the right of

    judicial review of administrative proceedings exists" and that when a district court reviews

    agency decisions, it is "exercising its exclusive original jurisdiction." Id. at 1265 (quoting

    Anderson v. State, 363 So.2d 728, 730 (La. App. 2 Cir.1978)).

            Similarly, in Star Enter. v. State Through Dep't ofRevenue & Tax'n,the First Circuit

    held that the district court had subject matter jurisdiction to review rulemaking by the Louisiana

    Department of Revenue and Taxation, which is expressly exempted from such review under

    LAPA, La.R.S. § 49:967. 95-1980, p. 11 (La. App. 1 Cir. 6/28/96), 676 So. 2d 827, 833, writ

    denied sub nom. Star Enterprises v. State Through Dep't ofRevenue & Tax'n, 96-198 3 (La.

    3/14/97), 689 So. 2d 1383. The Court of Appeal held that

            We need not determine the legislature's purpose in failing to make the judicial review
            provision applicable to the Department, for that omission simply cannot have the effect
            suggested by the Department. Subject matter jurisdiction is conferred by the Louisiana
            Constitution and not by statute. La. Const. art. 5, § 16 vests Louisiana district courts with
            original jurisdiction over all civil matters, ex[cep]t as otherwise atithorized by the
            Constitution.

    Id. The Court further held and that the challenge to the administrative rule was "a 'civil matter'

    falling under the original jurisdiction of the district courts." Id. The Court went on to note that

    "[t]he legislature could not, by statute, divest the trial court of its constitutional subject matter

    jurisdiction to determine the legality of an administrative rule . . . ." Id. This gave the District

    Court. "the power to issue all orders and process in the aid of the jurisdiction."1d., at 833 (citing

    La. Const. art. 5, § 2).

            More recently, the Fourth Circuit cited Star Enter. for the premise that "courts will find

    jurisdiction for review of administrative matters even in the absence of specific authority."

    Cotrell v. Div. ofHous. & NeighborhoodDev., 2002-0816, p. 6 (La. App. 4 Cir. 10/16/02), 830

    So. 2d 1083, 1086. In Cotrell, the Fourth Circuit recognized that the District Court had

    jurisdiction to review a Civil Service Commission decision on a non-disciplinary, non-

    discrimination issue, though LAPA did not apply. Id. See also Summers v. Vermilion Par. Sch.

    Bd., 493 So. 2d 1258, 1265 (La. App. 3 Cir. 1986), writ denied, 497 So. 2d 312 (La. 1986)

    (where "by its very terms [LAPA] is inapplicable to a political subdivision such as the School


.                                                      9
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    Board," the School Board's dismissal of an employee was nonetheless subject to judicial review

    to determine if it was supported by substantial evidence, arbitrary, capricious, or an abuse of

    discretion); Hagood v. Pickering, 385 So. 2d 405, 409 (La. App. 3 Cir. 1980) (a decision not

.   subject to LAPA because it did not require a hearing was nonetheless "subject to judicial review

    and that the scope of review is limited to a determination of whether the ruling was

    unreasonable, arbitrary or capricious or amounted to an abuse of discretion.").

            Notably at last one Louisiana Court of Appeal as upheld a stay of an housing authority's

    decision to terminate a participant's Section 8 Housing Choice Voucher Program benefits during

    judicial review. Williams v. Hous. Auth. ofCity ofSlidell, No. 2015 CA 0624, 2015 WL 6951286

    (La. App. 1st Cir. Nov. 9, 2015) (styled as a preliminary injunction).

                b. Standard of Review - Stay
            Plaintiff requests both that the June 7, 2024 decision terminating her housing assistance

    as of July 31, 2024 be stayed pending judicial review, and that as a condition of that stay order

    HANO be ordered to allow her to move with continued assistance to escape domestic violence.

            As previously established, the Louisiana Administrative Procedures Act ("LAPA") does

    not apply to housing authorities, but "[w]here no standard ofjudicial review is set out in the law .

    . . the most logical standard is that set forth in . . . analogous, cases ... and. . . under the

    Administrative Procedure Act." Messina, 373 So. 2d at 749. LAPA permits a reviewing court to

    order "a stay ex parte upon appropriate terms . . . ." La. R.S. § 49:978.1(C) (emphasis added).

    That statute provides that the Court may also choose to "require that the stay be granted in

    accordance with the local rules of the reviewing court pertaining to injunctive relief and the

    issuance of temporary restraining orders." La. R.S. § 49:978.1. The Orleans Local Rule on Duty

    Judges provides with regard to administrative stays that they are to be heard by the Duty Judge

    and counsel should certify as to notice to opposing counsel and support the irreparable injury in

    verified petition or affidavits, at 1(F):

                    All requests for an administrative.stay must be presented to the Duty
                    Judge and will be processed similar to a request for a temporary
                    restraining order (CCP Art. 3603) in the following manner:

                    an application for an administrative stay must be by a verified petition of
                    appeal and/or by supporting affidavits stating specific facts which show
                    that immediate and irreparable injury, loss or damage will result to the

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                applicant before the adverse party or his attorney can be heard in
                opposition to the granting of the administrative stay and the applicant or
                his attorney must certify to the Court in writing what efforts have been
                made to give notice to the adverse party of the request for an
                administrative stay or the reasons supporting his claim that notice would
                not be given to the adverse party.

         As such, this Court can grant relief exparte similar to a temporary restraining order, and

then allow Defendant counsel to be heard as to the continuing status of the stay order. Counsel's

certification of notice appears as Exhibit 4.

         The factors Louisiana courts have considered when determining whether a stay of an

administrative adjudicatión decision pending judicial review is appropriate are:

         (1) Has the petitioner made a strong showing that he is likely to prevail on the merits?
         (2) Has the petitioner shown that without such relief, he will sustain irreparable injury?
         (3) Would the issuance of the stay order substantially harm other parties interested in the
         proceedings?
         (4) Where does the public interest lie?

Summers v. Sutton, 428 So. 2d 1121, 1125 (La. App. 1st Cir. 1983) (citing Virginia Petroleum

Jobbers Ass 'n v. Fed. Power Comm 'n, 259 F.2d 921, 925 (D.C. Cir. 1958)).

         As to Plaintiff's request that this Court order HANO to process an emergency program

move due to domestic violence as a condition of the stay order, this may be seen as analogous to

issuance of a mandatory preliminary injunction in an ordinary proceeding. In ordinary

proceedings mandatory injunctions may be issued after an evidentiary hearing where the mover

shows by a preponderance of the evidence that he is entitled to the preliminary injunction.

Denta-Max v. Maxicare La. Inc., 671 So. 2d 995, 996 (La. App. 4th Cir. 1996). But the instant

proceeding is a judicial review proceeding, and the record is ordinarily limited to consideration

of what was before the administrative agency.

   IV.      APPLICABLE LAW

            a. Ms. Current is likely to prevail on the merits of her judicial review claims.

                     i. HANO's decision to terminate for (#1) failure to supply required
                        information, and (#2) failure to provide truthful and complete
                        information, was incorrect, arbitrary and capricious, an abuse of
                        discretion, and not based on substantial evidence.

         "An administrative decision is arbitrary when the administrative agency has disregarded

evidence or given inappropriate weight to evidence; the decision is capricious when the agency's

conclusion has no substantial basis or is contrary to substantiated competent evidence." Cranford

                                                  11
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v. Louisiana State Bd. ofPrac. Nurse Examiners, 996 So. 2d 590, 602 (citing Coliseum Square

Ass'n v. City ofNew Orleans, 544 So. 2d 351 (La. 1989)).

        Here, Ms. Current is likely to succeed in her claim that HANO's decision was arbitrary

and capricious and not based on substantial evidence. In her administrative hearing, Ms. Current

testified that the business income on her tax returns was inaccurate and reported without her

knowledge or consent.60 The hearing officer accepted this explanation and offered her an

opportunity to amend her tax returns to show her actual income.61 Ms. Current did amend her tax

returns by the deadline provided by HANO, and submitted her 1040X forms to HANO showing

her business income for 2022 and 2023 as $0.62 HANO did not ask for any additional

information as invited by the email submitting the forms.63 But then the hearing officer upheld

the termination because Ms. Current did not provide a second document that HANO never asked

for: "official documentation from the IRS to show that they received the amended return."64

       First, Ms. Current could not be expected to provide a document that was never asked for.

She did exactly what HANO asked her to do- amend her returns- and she reasonably believed

providing those amended returns to HANO was sufficient. Second, the hearing officer's

implication that SLLS Low Income Taxpayer Clinic attorney Paul Tuttle would breach his

ethical obligations by not submitting amended returns for a client is unreasonable. It is especially

unreasonable after Ms. Current's legal advocate sent a copy of Attorney Tuttle's cover letter

showing that the returns were mailed.65 Third, the hearing officer's expectation that attorney

Tuttle, or Ms. Current, can somehow control how quickly a massive federal agency processes the

receipt of amended returns is certainly without reason. .

       Furthermore, the decision to uphold termination due to the tax return issue is not based on

substantial evidence. Ms. Current testified that she made $0 business income at her hearing.66

Her amended returns show that she made $0 business income for 2022 and 2023.67 Therefore


60 Exhibit 1, ¶ 21.
61 Exhibit 1, ¶ 22.
62 Exhibit 1, ¶ 24, 26; Exhibit 1-D.
63 Exhibit 2, ¶ 9, 10; Exhibit 2-C.
64 Exhibit 1, ¶ 29; Exhibit 1-E.
65 Exhibit 2, ¶ 8, 9; Exhibit 2-C.
66 Exhibit 1, ¶ 21.
67 Exhibit 1, ¶ 24, 26; Exhibit 1-D.
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there is no discrepancy between her returns and the income reported to HANO, no breach of

family obligations, and no debt owed to HANO.68

       Finally, this is alleged by the housing authority to be a case of "family caused errors

and/or program abuse," and in such cases, HANO's Administrative Plan, which governs its

administration of the HCV program, requires consideration of mitigating circumstances.

Specifically, the plan states:

       In the case of family-caused errors or program abuse, HANO will take into consideration:
            • The seriousness of the offense and the extent of participation or culpability of
               individual family members;
            • Any special circumstances surrounding the case;
            • Any mitigating circumstances related to the disability of a family member;
            • The effects of a particular remedy on family members who were not involved in
               the offense.69

(Emphasis added). Here, the hearing decision does not state anything about the fact that Ms.

Current is disabled with two disabled children, the fact that her four minor children and infant

grandchild will be homeless without assistance, or the fact that the family faces imminent threat

of domestic violence, despite discussion of these facts in the hearing.7° An agency's failure to

adhere to its own policies is arbitrary and capricious under Louisiana jurisprudence. Cent. La.

Elec Co. v. La. Pub. Serv. Comm'n, 377 So. 2d 1188, 1194 (La. 1979) ("If a public agency is not

required to abide by its own rules and procedures, then the standard of review for 'arbitrary and

capricious' action is without meaning."); Washington-St. Tammany Elec. Co-op., Inc. v. La.

Public Service Commission, 95-1932, p. 915 fn. 3 (La. 4/8/96), 671 So. 2d 908. ('1I]t is arbitrary

and capricious for the Commission to fail to apply its own rules in an adjudication before it.")

                   ii. HANO's decision to terminate for (#3) unauthorized occupant was
                       arbitrary and capricious, not based on substantial evidence, and not
                       in accordance with law.

       It does not appear from the hearing decision that the decision to uphold the termination is

based on the allegation that Ms. Current's abuser was an unauthorized occupant. Requests for

clarification went unanswered. If the decision was based on the unauthorized occupant



68 The hearing officer's decision assumes a debt and seems to consider that an issue relevant to
the termination. But it is not an issue set out in the charges stated in the hearing decision.
69 Housing Authority of NeW Orleans, Housing Choice Voucher Program Administrative Plan,
HUD Approved, 2023, p. 20-2, https://hano.org/plans/HANO_HCVP_AdminPlan_9-2023.pdf.
7° Exhibit 1, ¶ 4; Exhibit 1-A.
                                                13
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allegation, it violated the Violence Against Women Act ("VAWA"), its implementing

regulations, and HANO's Administrative Plan. VAWA as reauthorized in 2022 states

       [A] . . . tenant of housing assisted under a covered housing program may not be . . .
       terminated from participation in . . . on the basis that the applicant or tenant is or has been
       a victim of domestic violence, dating violence, sexual assault, or stalking, if the applicant
       or tenant otherwise qualifies for admission, assistance, participation, or occupancy.

34 U.S.C. § 12491(b)(1); see also implementing regulations at 24 C.F.R. Part 5; Subpart L. The

HCV program is a covered program under VAWA. 34 U.S.C. § 12491(a)(3)(H) (HCV is

authorized under 42 U.S.C. 1437(f)). Acceptable documentation of domestic violence includes a

HUD certification form and/or "a record of a Federal, State, tribal, territorial, or local law

enforcement agency, court, or administrative agency." 34 U.S.C § 12491(c)(3).

       At least one court has held that termination of an HCV subsidy for failure to report an

abuser as an occupant violates VAWA. Johnson v. Palumbo, 154 A D.3d 231, 243, 60 N.Y.S.3d

472, 480 (2017). In Johnson, a New York appellate court reviewed the decision of a housing

authority to terminate the HCV assistance of a participant for failing to report an occupant in her

home, where the occupant was an abuser and an "unwanted presence" in her home. Id. at 234.

The Court found that VAWA applied, because "the termination of the petitioner's participation in

the program and McGill's abusive and violent conduct against the petitioner are inextricably

intertwined." Id. at 246. The Court ordered the participant to be reinstated to the program. Id.

       This case is analogous to Johnson, except that the alleged unauthorized occupant never

actually lived with Ms. Current.71 Indeed, her protective order prohibits Jessie Harvey from

being within 100 yards of Ms. Current's residence.72 On two occasions, Ms. Current submitted

the required documentation to HANO'showing that she was a victim of domestic violence as a

result of abuse by Jessie Harvey.73 Termination of Ms. Current's assistance because of her

abuser's alleged presence at her home violates VAWA. It also violates HANO's Administrative

Plan, which contains identical protections.74 Cent. La. Elec. Co., 377 So. 2d at 1194 ("If a public




71 Exhibit 1, ¶ 10.
72 Exhibit 1, ¶ 11.
73 Exhibit 1, ¶ 14, 29; Exhibit 1-B, 1-E.
74Housing Authority of New Orleans, Housing Choice Voucher Program Administrative Plan,
HUD Approved, 2023, p. 16-2, https://hano.org/plans/HANO_HCVP_AdminPlan_9-2023.pdf.
                                                  14
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agency is not required to abide by its own rules and procedures, then the standard of review for

'arbitrary and capricious' action is without meaning.") The termination is therefore arbitrary and

capricious and contrary to law.

       Additionally, HANO's finding that "it appears that Mr. Harvey did live with you for

longer than HANO allows for guests"75 was based solely on hearsay in two unauthenticated

police reports, controverted by Ms. Current's own testimony.76 Under LAPA (which, as

previously explained does not apply but in the absence of another standard is instructive),

hearsay evidence "which possesses probative value commonly accepted by reasonably prudent

men in the conduct of their affairs" is admissible. La. R.S. § 49:975.1. However, the evidence

must be competent. Id.; see Chaumont v. City ofNew Orleans, 302 So. 3d 39, 48 (La. App. 4th

Cir. 2020). The Louisiana Supreme Court has found that competent evidence is evidence that

       . . . has some degree of reliability and trustworthiness and is of the type that reasonable
       persons would rely upon. This determination must be made on a case-by-case basis under
       the particular facts and circumstances. The reviewing court must evaluate the competency
       of the evidence under the manifest error standard.

Chaisson v. Cajun Bag & Supply Co., 97-1225, p. 382 (La. 3/4/98), 708 So. 2d 375. The

Chaisson Court found that "double hearsay" twice removed from the declarant that was relied

upon by an unemployment benefits hearing officer was not competent evidence. Id. Here, the

police report contained the same type of "double hearsay" - a statement from a police officer that

Jessie Harvey told the police officer he resided at Ms. Current's assisted unit. The hearing officer

relied upon this evidence in error.

       The federal standard for when administrative tribunals can rely on hearsay evidence is

similar, and has been applied in a similar HCV termination case. To satisfy procedural due

process, hearsay may constitute substantial evidence for the purposes of an administrative

agency decision only where (1) the out-of-court declarant was not biased and had no interest in

the result of the case; (2) the opposing party could have obtained the information contained in the

hearsay before the hearing and could have subpoenaed the declarant; (3) the information was not

inconsistent on its face; and (4) the information has been recognized by courts as inherently


75 Exhibit 1, ¶ 4; Exhibit 1-A.
76 Exhibit 1, ¶ 21.
                                                 15
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reliable. U S. Pipe & Foundry Co. v. Webb, 595 F.2d 264, 270 (5th Cir. 1979) (citing

Richardson v. Perales, 402 U.S. 389, 402, 91 S.Ct. 1420, 28 L.Ed. 2d 842 (1971)) (establishing

the "underlying reliability and probative value" standard for hearsay as a requirement of

procedural due process).

       In Basco v. Machin, an HCV participant's subsidy was terminated for the presence of an

"unauthorized occupant," like here. 514 F.3d 1177, 1182 (11th Cir. 2008) (overruled on other

grounds).77 The only evidence of the unauthorized occupant was two police reports containing

the (controverted) allegation that the participant's husband told police that an unauthorized

person was living in the assisted unit. Id. at 1180. The Court wrote that, "[a]lthough the rules of

evidence are not strictly applied in administrative hearings, there are due process limits on the

extent to which an adverse administrative determination may be based on hearsay evidence,"

citing the US. Pipe & Foundry standard for reliability of hearsay evidence. Id. at 1182. The

Court held that the hearing officer erred in relying on the police reports as proof of an

unauthorized occupant, finding the evidence "insufficient." Id. at 1183-84. See also Sanders v.

Sellers-Earnest, 768 F. Supp. 2d 1180, 1187 (M.D. Fla. 2010) (in case of HCV program

termination for unauthorized occupant, statements of residency in a police report "could not have

been tested during the hearing and cannot be said to have been sufficiently reliable to dispossess

Plaintiff and her children from their residence."); Edgecomb v. Hous. Auth. of Town of Vernon,

824 F. Supp. 312, 316 (D. Conn. 1993) (where housing authority's termination of public housing

tenant was based solely on hearsay in police report and newspaper articles, where questions of

credibility and contrary evidence were raised, "plaintiffs were denied the opportunity to confront

and cross-examine the witnesses relied upon by defendants, in violation of the applicable

regulations as interpreted by HUD.")




77                Decatur Hous. Auth., the 11th Circuit overruled Basco's ruling that the
"preponderance of evidence presented at hearing" standard in federal regulations governing the
HCV program created a private right enforceable under § 1983, but did not touch the hearsay
issue discussed here. 931 F.3d 1322, 1327(11th Cir. 2019) (en banc). See also Yarbrough v.
Decatur Hous. Auth., 941 F.3d 1022, 1030 (11th Cir. 2019) (panel decision after en banc)
(hearsay was sufficient since corroborated by the resident's own testimony).


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          Here, the only evidence that Ms. Current had an unauthorized occupant came from two

unauthenticated police reports that listed her assisted unit as his address. The hearing decision

states:                 .

          One of the reports shows that Mr. Harvey stated that the assisted unit was his address.
          The other report dated September 23, 2023, had a statement taken by the officer in which
          he quoted you as stating that Mr. Harvey had lived with you at the assisted unit for five
          months but had moved out two weeks prior to that incident. You stated that you did not
          tell the officers that but did not elaborate on why the officer would claim you made the
          [sic]78

The police reports do not pass the US. Pipe & Foundry test for indicia of reliability. First, Ms.

Current's domestic violence abuser may have had an adverse motive or bias in reporting her

address as his own. See Sanders, 768 F. Supp. 2d at 1187 (abuser's statement in police report

that he resided in assisted unit was unreliable because "[h]aving been arrested for domestic

violence based on Plaintiffs accusation, Davis no doubt had a potential bias against Plaintiff.")

Ms. Current could not have subpoenaed the police officers who made the reports because there is

no authority to subpoena witnesses to a housing authority informal hearing under state or federal

law. See Schexnider v. Blache, 504 So. 2d 864, 867 (La. 1987) (holding that an administrative

proceeding violated due process where unemployment hearing was not instructed on procedure

to subpoena witnesses necessary to rebut the charges against him). The information in the report

was not inconsistent on its face but was controverted by Ms. Current's testimony that her abuser

never lived with her in the assisted unit.79 Police reports have never been found to be "inherently

reliable." Instead, the leading case on this issue found them not to be. Basco, 514 F.3d at 1183-

84.

          Because the hearing officer relied on unauthenticated police reports that did not have

indicia of reliability, Ms. Current is likely to succeed on her claim that his decision was not

based on substantial evidence and should be vacated.

                    iii. HANO's refusal to grant Ms. Current's emergency transfer request is
                         arbitrary and capricious and not in accordance with law.

          VAWA orders each federal agency to establish an emergency transfer policy that

          allows tenants who are victims of domestic violence, dating violence, sexual assault, or
          stalking to transfer to another available and safe dwelling unit assisted under a covered

78 Exhibit 1, ¶ 4; Exhibit 1-A.
79 Exhibit 1, ¶ 10.
                                                   17
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       housing program if-- (A) the tenant expressly requests the transfer; and (B)(i) the tenant
       reasonably believes that the tenant is threatened with imminent harm from further
       violence if the tenant remains within the same dwelling unit assisted under a covered
       housing program . . . .

34 U.S.C. § 12491(e)(1). HUD's implementing regulations, in turn, require housing authorities to

implement an emergency transfer plan that must "describe policies for a tenant who has tenant-

based rental assistance and who meets the requirements of paragraph (e)(2) of this section to

move quickly with that assistance." 24 C.F.R. § 5.2005(e)(9). HANO's VAWA policies are

located in its Administrative Plan, and state

       A tenant who is a victim of domestic violence, dating violence, sexual assault, or
       stalking, as provided in HUD's regulations at 24 CFR part 5, subpart L is eligible for an
       emergency transfer, if the tenant reasonably believes that there is a threat of imminent
       harm from further violence if the tenant remains within the same unit.80

The policy goes on to state that a tenant must simply

       notify HANO's HCVP Director and submit a written request for a transfer. . . . The
       tenant's written request for an emergency transfer should include "[a] statement
       expressing that the tenant reasonably believes that there is a threat of imminent harm
       from further violence if the tenant were to remain in the same dwelling unit assisted
       under HANO's program . . .81

Importantly, HANO's policy is that "[t]enants who are not in good standing may still request

an emergency transfer if they meet the eligibility requirements in this section." (emphasis

added).82                                                                                       .

       Ms. Current met the requirements of the HANO transfer policy, notifying HANO's HCV

program director on two occasions83 that she faced imminent harm from her abuser. But HANO

refused to transfer her 84 The hearing officer explained in the hearing that the agency could not

process her VAWA transfer while she amended her tax returns because she was not in

compliance with program rules.85 Notwithstanding the fact that she was in compliance with

program rules and no hearing decision had been issued to the contrary at that time, HANO's



8° Housing Authority of New Orleans, Housing Choice Voucher Program Administrative Plan,
HUD Approved, 2023, p. 16-2, https://hano.org/plans/HANO_HCVP_AdminPlan_9-2023.pdf.
81 Housing Authority of New Orleans, Housing Choice Voucher Program Administrative Plan,
HUD Approved, 2023, p. 16-2, https://hano.org/plans/HANO_HCVP_AdminPlan 9-2023.pdf.
®²Housing Authority of New Orleans, Housing Choice Voucher Program Administrative Plan,
HUD Approved, 2023, p. 16-2, https://hano.org/plans/HANO_HCVP__AdminPlan_9-2023.pdf.
83 Exhibit 1, ¶ 14, 29, Exhibit 1-B, 1-E.
84 Exhibit 1, ¶ 15.
85 Exhibit 1, ¶ 23.
                                                18
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policy says exactly the opposite. In fact, Ms. Current was fully eligible for an emergency transfer

despite the allegation that she was not in "good standing" with the program.

        The result ofHANO's unwillingness to process Ms. Current's emergency transfer was

that she was physically assaulted in her home on June 3, 2024.86 The hearing officer's decision

that Ms. Current was not eligible for an emergency transfer violated VAWA and HANO's own

policy. Ms. Current is therefore likely to succeed on the merits of her claim that this part of the

decision, rendered orally, was arbitrary and capricious and not in accordance with law. Cent. La.

Elec. Co., 377 So. 2d at 1194.

            b. Ms. Current will suffer irreparable injury if the motion for stay is not
               granted.

        "Irreparable injury is an injury or loss that cannot be adequately compensated in money

damages, or is not susceptible to measurement by pecuniary standards." Easterling v. Est. of

Miller, 184 So.3d 222, 229.(La. App. 4t Cir. 2015) (in the context of preliminary injunction).

        Here, there is no apparent path to getting monetary damages from HANO based on its

termination decision. While the above decisions establish that judicial review is available, the

question of whether public entities should incur damages liability for how they perform their

public functions is entirely different and such relief is usually unavailable.

        In addition, Louisiana courts have found that eviction and the prospect of homelessness

constitute irreparable harm. See Williams, 2015 WL 6951286, at *3 (finding that "eviction of an

indigent tenant from public or subsidized housing has repeatedly been found to present

irreparable injury"); Robbins v. State Through State Land Off, 97-671, p. 966 (La. App. 3d Cir.

12/17/97), 704 So. 2d 961, 966, writ denied, 98-0176, p. 9 (La. 3/20/98), 715 So. 2d 1214

(affirming finding of irreparable harm sufficient to enjoin eviction because "[1]oss of the

'reasonable enjoyment' of one's home often cannot be adequately compensated by the payment

of money."); Cardona v. Rivera, No. 2011 CA 0749, 2011 WL 5420815, at *5 (La. App. Nov. 9,

2011) (affirming trial court finding that plaintiff "would be irreparably harmed because he would

be without his home and his home place."); S. Cotton-Oil Co. v. Leathers, 50 La. Ann. 134, 135,




86 Exhibit 1, ¶ 27.
                                                  19
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23 So. 201, 201 (1897) ("The loss of the shelter of one's house, if lost by an act of injustice, is

another instance of injury which may not be compensated for in money.") (dicta).

        If HANO is not immediately stayed from terminating Ms. Current's HCV Program

assistance on July 31, 2024, Ms. Current, her four minor children, and her infant grandchild can

be evicted for nonpayment because HANO will not make a housing assistance payment on

August 1, 2023. Ms. Current cannot afford to pay the rent without her HCV Program subsidy

because of her limited income as a person with disabilities.87 If evicted, she and her children will

experience homelessness88 loss of much of their furniture and personal possessions,89 and severe

mental anguish.9° Ms. Current's school-age children will experience housing instability right at

the beginning of a new school year, which could affect their academic performance and

prospects.9¹The threat of irreparable harm, should a stay not be issued, is clear.

        In addition, Ms. Current is a survivor of domestic violence.92 On two occasions, Ms.

Current requested that HANO allow her to transfer with assistance to safety,93 as required by the

Violence Against Women Act ("VAWA"). In early June, Ms. Current's abuser came to her

assisted unit and physically assaulted her.94 Ms. Current fears she will be subject to imminent

physical harm if HANO is not ordered to issue her a voucher and process her program move

immediately.95

            c. Other parties interested in the proceeding will not be harmed, and the public
               interest favors a stay.

        Other parties interested in the proceeding will not be harmed by a stay order. A stay order

would mean that HANO would be required to maintain the status quo, and continue to issue

Housing Assistance Payments to Ms. Current's landlord during this proceeding. However, this is

a judicial review proceeding, not an ordinary proceeding. Judicial review is based on the existing

(relatively limited) administrative record, there is no discovery, and therefore the matter should


87 Exhibit 1, ¶ 31.
88 Exhibit 1, ¶ 33.
89 Exhibit 1, ¶ 36.
90 Exhibit 1, ¶ 37.
91 Exhibit 1, ¶ 38.
92 Exhibit 1, ¶ 9.
93 Exhibit 1, ¶ 14, 29; Exhibit 1-B, 1-E.
94 Exhibit 1, ¶ 27.
95 Exhibit 1, ¶ 40.
                                                 20
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not take more than six months to resolve. Thus, the cost to HANO is modest compared to the

cost to Ms. Current of the stay order being denied. See Jackson v. Jacobs, 971 F. Supp. 560, 565

(N.D. Ga. 1997) (holding that "it would be difficult to argue that the modest amount of money

and administrative inconvenience a preliminary injunction would cost the [housing provider]

outweighs the injury [plaintiff] would suffer if she were compelled to remain homeless.")

         The public interest also favors a stay. As set forth in 42 U.S.C. § 1437f(a), the HCV

program was established by Congress "[fjor the purpose of aiding lower-income families in

obtaining a decent place to live and of promoting economically mixed housing . . . ." This case

involves an low-income, disabled single mother and five minor children who will all be rendered

homeless without a stay. The public has an interest in administrative bodies complying with

federal law and their own policies, and administering programs in accordance with their mission.

See Dep't ofPub. Safety & Corr., Off of Youth Servs. v. Savoie, 569 So. 2d 139, 143 n.2 (La.

App. 1 Cir. 1990) (citing Cent. La. Elec. Co. 377 So. 2d 1188) ("There is a strong public interest

in requiring a government agency to follow its own rules and regulations.")

    V.      CONCLUSION

         For the above reasons, Plaintiff's application for stay should be granted. A stay order

would require HANO to continue to issue Housing Assistance Payments to Ms. Current's

landlord, and to continue all other program benefits pending judicial review. This would include

allowing Ms. Current to immediately move with continued assistance due to domestic violence.

Should the Court wish to schedule this matter for hearing rather than granting relief exparte,

Plaintiff asks the Court to schedule a hearing prior to July 31, 2024, when her termination

decision is set to go into effect.

                                               Respectfully subinitted:
                                               SOUTHEAST LOUISIANA LEGAL SERVICES

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                                                                                            CD




                                             agolob@slls.org

                                             Attorneyfor PlaintiffTiffanie Current c-

                                    CERTIFICATE OF SERVICE

       I, the undersigned, do certify that a copy of the above and foregoing memorandum has

been served upon Defendants through their attorney of record, by first class mail and electronic

mail this 3    day of                    , 2024.



                                             Hannah Adams, LSBA # 36343




                                                   22
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                                    EXHIBIT LIST



   1. Affidavit of Tiffanie Current as to record evidence

      A. HANO hearing decision

      B. HUD VAWA Certification of Domestic Violence

      C. Proposed termination letter

      D. IRS 1040X forms

      E. HUD VAWA Emergency Transfer Form

   2. Affidavit of Theresa Ambeau

      A. March 7, 2024 correspondence with HANO

      B. June 4, 2024 correspondence with HANO

      C. May 24, 2024 correspondence with HANO

      D. June 18, 2024 correspondence with HANO

   3. Affidavit of R. Paul Tuttle

   4. Affidavit of Hannah Adams

      A. June 26, 2024 notice to HANO

      B. July 19, 2024 notice to HANO

      C. July 22, 2024 notice to HANO




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              CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
                                                                                         CD
                                                                                         ha

                                   STATE OF LOUISIANA



   NO. 2024-06181                                                               Div   : J-

                                    TIFFANIE CURRENT                                         co

                                            VERSUS                          .

                      HOUSING AUTHORITY OF NEW ORLEANS



FILED:

                                                                DEPUTY CLERK

                          AFFIDAVIT OF TIFFANIE CURRENT

STATE OF LOUISIANA

PARISH OF ORLEANS

      BEFORE ME, the undersigned Notary Public, personally came and appeared

TIFFANIE CURRENT, who after being duly sworn and deposed did state the following:

       1) I am over the age of 18 and of full legal capacity.

      2) I currently rent the unit at 7564 Forest Glen Rd. New Orleans, LA 70127 with my

          Section 8 Housing Choice Voucher.

      3) I am seeking review of the Housing Authority of New Orleans' June 7, 2024 hearing

          decision upholding termination of my Section 8 Housing Choice Voucher Program

          benefits.

      4) The hearing decision is attached as Exhibit 1-A.

      5) I am a single mother and I support my four minor children and one grandchild, ages 3

          months, six, eight, ten, and thirteen.

      6) My sole source of income is Supplemental Security Income and Social Security

          received for myself and two of my minor children.

      7) I receive this income because I cannot read, and have mental disabilities.

      8) Two of my children also have disabilities.
                                                   1
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   9) I am a victim of domestic violence at the hands of my children's father, Jessie

      Harvey.

   10) At no time did Mr. Harvey reside in my assisted unit.

   11)In September, 2023 Mr. Harvey attempted to break windows and kick down my door.

      Mr. Harvey was arrested and charged with domestic abuse battery involving

      strangulation and domestic abuse child endangerment. The criminal court issued a

      stay-away order to protect me. Mr. Harvey ultimately pled guilty to both charges and

      was released on probation in December, 2023. As part of sentencing, the criminal

      court issued a protective order to protect me from Mr. Harvey. The order was issued

      on December 5, 2023 and lasts until December 5, 2025. Under the protective order,

      Mr. Harvey may not go within 100 yards of my residence.

   12) During the week of February 26, 2024, Mr. Harvey abducted my eight year old son

      from school. I did not know where my son was until he was returned by Mr. Harvey's

      mother on March 6, 2024.

   13)I filled out a HUD Certification of Domestic Violence form so my legal advocate

      could request an emergency transfer because I feared for my safety and my children's

      safety.

   14) The Certification form I completed is attached as Exhibit 1-B.

   15) HANO did not allow me to move.

   16) On March 7, 2024, HANO sent me a notice proposing to terminate my assistance for

      (1) failure to supply required information, and (2) failure to provide truthful and

      complete information, in violation of my family obligations under the program.

      HANO also alleged that (3) I had an unauthorized occupant, Jessie Harvey.

   17) The proposed termination letter I received is attached as Exhibit 1-C.

   18) The first two allegations were based on my 2022 and 2023 tax returns which I gave to

      HANO. The tax returns said that I had business income during those years.




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   19)In 2022 and 2023 my sole income was the aforementioned Supplemental Security

      Income and Social Security, which I reported to HANO. I never had any business

      mcome.

   20)I was not aware that my tax preparer had put business income on my 2022 and 2023

      tax returns, and I did not tell my tax preparer that I made business income.

   21)I had an informal hearing at HANO on April 1, 2024. At the hearing, I explained that

      I did not make the business income my tax preparer wrote on my tax returns. I also

      explained that Mr. Harvey did not live with me and was my abuser. I explained that I

      faced imminent harm due to HANO's failure to allow me to move, since Mr. Harvey

      knows where I live.

   22) The hearing officer said I had until June 3, 2024 to amend my returns to reflect my

      actual income.

   23) The hearing officer stated that L was not eligible for an emergency transfer because I

      was currently out of compliance with program rules, even though I had explained that

      the income I reported to HANO was accurate.

   24) On May 23, 2024 I met with Southeast Louisiana Legal Services Low Income

      Taxpayer Clinic attorney Paul Tuttle, and amended my 2022 and 2023 tax returns to

      reflect that I made $0 business income.

   25)I signed the returns and the information contained therein is true and complete.

   26) The IRS 1040X forms I signed to amend my returns are attached as Exhibit 1-D. I

      redacted my social security number and the names of my minor children to avoid

      identity theft and to protect their identities.

   27) On June 3, 2024, Jessie Harvey came to my assisted unit and physically assaulted me.

   28)I filled out and signed another HUD emergency transfer form that my legal advocate

      submitted for me.

   29) The emergency transfer form is attached as Exhibit 1-E.

   30) We did not receive a response.


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   31) Because of my fixed income, I cannot afford rent on the private market. I support five

      children on $1,541.90 in Supplemental Security Income and Social Security. After

      my food expenses (that exceed my food stamps), my light bill, my phone bill, my

      transportation expenses, and the school supplies and clothing for my children, I have

      nothing left.

   32) Because of my limited income, HANO has calculated my portion of rent to be $0.

      HANO pays my entire rent.

   33) Without my Section 8 Housing Choice Voucher my children and I will be homeless.

   34)If my assistance.is terminated on July 31, 2024 my landlord will likely move to evict

      me because I cannot pay the full rent. Then we will be homeless.

   35)I will have additional out-of-pocket food and lodging expenses if we are forced to

      move from our home.

   36)I cannot afford to pay for a storage unit, so I would likely lose my furniture and many

      of my personal possessions if evicted.

   37)Myself, my children, and the baby will experience severe physical and emotional

      harm being homeless without anywhere to go.

   38) My school-age children will suffer academically if forced to undergo housing

      instability at the beginning of a new school year.

   39)If we are forced to temporarily stay with family, we will likely be split up which will

      make it difficult for me to care for my children. We will have to sleep on couches or

      the floor.

   40)I am afraid that Mr. Harvey will come to my unit and physically assault me again

      unless I am immediately transferred to a new unit.

   41) He knows where my family lives. So if I am homeless we will similarly be exposed to

      abuse by him.

   42) At all times I have done everything in my power to comply with HCV program rules.




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      43) To the best of my knowledge all facts stated in this affidavit, other than facts

         regarding the irreparable harm my family and I will experience if the termination is

         upheld, were entered into the hearing record.

      44)Because I cannot read, this affidavit was read to me and I understand and agree with

         its contents.


                                                     Tiffanie Current
SWORN TO AND SUBSCRIBED

BEFORE          ON THIS > 3              DAY OF
                     , 2024


Notary Public

Notary Printed Name:
                          @            HANNAHADAMS
Notary or LSBA #:                         Notary Public
                                      Notary ID No. 144209
                                    Orleans Parish, Louisiana




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.C‰                        (hdam                                     S




June 7, 2024


Tiffanie Current
7564 Forest Glen Rd
New Orleans, LA 70127



           Re:    Informal Hearinq Decision of Proposed Termination of Housing Choice
                  Voucher Program (HCVP) Participation - Tiffanie Current


Dear Tiffanie Current:
You requested an Informal Hearing of HANO's decision to terminate your HCVP participation. Your hearing
was held on April 1, 2024 at 9:00 AM. After reviewing the record and based upon the evidence presented
during the hearing the Proposed Termination of your HCVP participation is Upheld.

Hearing Participants

 Head of Household                    Tiffanie Current - In Person
 Participant's Representative         Theresa Ambeau - Lawyer
 Principal Administrative Analyst     Chris Dalton
 HANO Staff                           Monica New
 Other - Other Representative         Lev Singer - In Person
 Other -                              -
 Other -                            | -
Proposed Termination Allegations

             Violation                                       Alleged Actions
 Failure to Supply Required          HANO alleged: that you failed to supply information related to
 information/Documents (24           income that you were receiving.
 CFR 982.551 (b) (2))

 Truthful and Complete               HANO alleged: that you supplied information to HANO that was
 Information (24 CFR 982.551         false or incomplete.
 (b)(4))

 Use and Occupancy of Unit:          HANO alleged:
 Unauthorized Family
 Composition (24 CFR 982.551
 (h)(2))
                                     HANO alleged:




                                              1
   4100 Touro Street - New Orleans, Louisiana 70122 - (504) 670-3300 · FAX (504) 286-8229
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Findings of Fact

    1. HANO requested your tax return transcripts for 2022 and 2023 as part of an investigation
       into a complaint that was received.
    2. The tax return transcript showed that you reported wage income for 2022 and 2023 to the
       IRS that was not reported to HANO.
    3. HANO's investigation also showed evidence that an unauthorized person, Jessie Harvey,
       was living with you in the assisted unit.
    4. HANO calculated that based on the income that was reported to the IRS HANO overpaid
       rent on your behalf in the total amount of $10,668.72.

Discussion and Conclusion

Due Process

HANO adequately provided you notice of your alleged violation on November 1, 2023. The notice stated
the authority on which the Housing Authority relied to reach its decision, and you were afforded an
opportunity to request a hearing.

Violation #1 - Failure To Supply Required Information/Documents (24 CFR 982.551 (B) (2))
During the hearing you stated that you were not sure whether the income reported to the IRS on your tax
return was correct. You stated that you are not able to read and did not know where your tax preparer
came up with the amounts used to file your taxes. You and your attorney were given a deadline of June 3,
2024, to file an amended tax return and provided documentation from the IRS that it had been done. On
May 24, 2024, your attorney provided a copy of 2 form 1040-X for amending tax returns that were filled out
showing no income for you for the disputed time periods. There was no indication that the forms had been
filed with the IRS but based on the information in the forms you would owe the IRS $19,856 if you filed the
amended returns. We would need official documentation from the IRS to show that they received the
amended return to calculate the correct amount owed to HANO, if anything.

Based on HANO's calculations you owe $13,381. Your debt is over the threshold for a repayment
agreement. You are in violation of your family obligations and your assistance will be terminated.


Violation #2 Truthful and Complete Information (24 CFR 982.551 (b)(4))
Based on the evidence from HANO you failed to report income. You disputed the evidence, but the
documentation provided to support your dispute was not sufficient. You are in violation of your family
obligations.
Violation #3 Use and Occupancy of Unit: Unauthorized Family Composition (24 CFR 982.551 (h)(2))
During the hearing you testified that Jessie Harvey was the father of three of your children and that your
relationship with him ended in 2017 You stated that he was abusive during your relationship and that you
tried to stay away from him but that he got your address from his family member that picks up your children.
You stated that once he got your address, he started harassing you. You stated that you called the police
multiple times against him. As supporting evidence your attorney provided a copy of an order of protection
that you have against Mr. Harvey that was filed on December 5, 2023.

HANO's evidence supports part of your statement as there are multiple police reports of you reporting
issues with Mr. Harvey. One of the reports shows that Mr. Harvey stated that the assisted unit was his
address. The other report dated September 23, 2023, had a statement taken by the officer in which he
quoted you as stating that Mr. Harvey had lived with you at the assisted unit for five months but had moved
out two weeks prior to that incident. You stated that you did not teII the officers that but did not elaborate
on why the officer would claim.you made the

Based on the evidence it appears that Mr. Harvey did live with you for longer than HANO allows for guests
but that you were a victim df domestic violence during that time and as of now Mr. Harvey is no longer living
with you in the assisted unit.

                                                  2
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Decision

    1. HANO's proposal to terminate your program participation is Upheld.
    2. Your HCVP assistance will be terminated effective July 31, 2024.

Sincerely,

CÍe               balhttu
Christopher Dalton
Principal Administrative Analyst
Housing Authority of New Orleans

 CC:       File
           Monica New
           China Rhea

 Participant's Namè     Tiffanie Current
 Entity ID #            000081356




                                                  3
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    CERTIFICATION OF      U.S. Dgeartment of Housing                               OMB Approval No. 2577-0286
    DOMESTIC VIOLENCE,     and tWNán e 9pipent                                                Exp. 06/30/2017
    DATING VIOLENCE,
    SEXUAL ASSAULT, OR STALKING,
    AND ALTERNATE DOCUMENTATI@f6         CI OUR T
    Purpose of Form: The Violence Against Women Act ("VAWA") protects applicants, tenants, and
    program participants in certain HUD programs from being evicted, denied housing assistance, or
    terminated from housing assistance based on acts of domestic violence, dating violence, sexual assault, or
    stalking against them. Despite the name of this law, VAWA protection is available to victims of domestic
    violence, dating violence, sexual assault, and stalking, regardless of sex, gender identity, or sexual
    orientation.
    Use of This Optional Form: If you are seeking VAWA protections from your housing provider, your
    housing provider may give you a written request that asks you to submit documentation about the incident
    or incidents of domestic violence, dating violence, sexual assault, or stalking.

    In response to this request, you or someone on your behalf may complete this optional form and submit it
    to your housing provider, or you may submit one of the following types of third-party documentation:

      (1) A document signed by you and an employee, agent, or volunteer of a victim service provider, an
      attorney, or medical professional, or a mental health professional (collectively, "professional") from
      whom you have sought assistance relating to domestic violence, dating violence, sexual assault, or
      stalking, or the effects of abuse. The document must specify, under penalty of perjury, that the
      professional believes the incident or incidents of domestic violence, dating violence, sexual assault, or
      stalking occurred and meet the definition of "domestic violence," "dating violence," "sexual assault," or
      "stalking" in HUD's regulations at 24 CFR 5.2003.
      (2) A record of a Federal, State, tribal, territorial or local law enforcement agency, court, or          .
      administrative agency; or
      (3) At the discretion of the housing provider, a statement or other evidence provided by the applicant or
      tenant.

    Submission of Documentation: The time period to submit documentation is 14 business days from the
    date that you receive a written request from your housing provider asking that you provide documentation
.   of the occurrence of domestic violence, dating violence, sexual assault, or stalking. Your housing
    provider may, but is not required to, extend the time period to submit the documentation, ifyou request an
    extension of the time period. If the requested information is not received within 14 business days of when
    you received the request for the documentation, or any extension of the date provided by your housing
    provider, your housing provider does not need to grant you any of the VAWA protections. Distribution or
    issuance of this form does not serve as a written request for certification.

    Confidentiality: All information provided to your housing provider concerning the incident(s) of
    domestic violence, dating violence, sexual assault, or stalking shall be kept confidential and such details
    shall not be entered into any shared database. Employees of your housing provider are not to have access
    to these details unless to grant or deny VAWA protections to you, and such employees may not disclose
    this information to any other entity or individual, except to the extent that disclosure is: (i) consented to
    by you in writing in a time-limited release; (ii) required for use in an eviction proceeding or hearing
    regarding termination of assistance; or (iii) otherwise required by applicable law.




                                                                                                   Form HUD-5382
                                                                                                         (12/2016)

                                                                           Doc ID: de05cc05375a7e2d84d3dca5a15f7ciacf2b20b2
        Case 2:24-cv-01883-SSV-EJD Document 3-4 Filed 07/29/24 Page 59 of 127




     TO BE COMPLETED BY OR ON BEHALF OF THE VICTIM OF DOMESTIC VIOLENCE,
     DATING VIOLENCE, SEXUAIi ASSAULT, OR STALIONG

     1. Date the written request is received by victim:         3/7/2024

     2. Name of victim:       Tiffanie Current

     3. Your name (if different from victim's): Theresa Ambeau (paralegal, Southeast Louisiana Legal
     Services)

     4. Name(s) of other family member(s) listed on the lease: Jessica Harvey, Jessie Harvey, Janiah
     Current, Destiny Rivers         .

      5. Residence of victim: _7564 Forest Glen Rd., New Orleans, LA 70127

      6. Name of the accused perpetrator (if known and can be safely disclosed): Jessie C. Harvey
      Sr.

      7. Relationship of the accused perpetrator to thé victim: ex-boyfriend

      8. Date(s) and times(s) of incident(s) (if known):      September 2023


      10; Location of incident(s):__ 7564 Forest Glen Rd., New Orleans, LA 70127
       In your own words, briefly describe the incident(s):
       _Mr. Harvey attempted to break windows and break down Ms. Current's door. Ms. Current called the
       police, Mr. Harvey waÃ arrested, aúd Ms. Current souglit a stay away order against Mr.
       Harvey.



      This is to certify that the information provided on this form is true and correct to the best ofmy knowledge
      and recollection, and that the individual named above in Item2 is or has been a victim of domestic violence,
    . dating violence, sexual assäult, oi· stalking. I ácknowledge that submission of false information could
      jeopardize program eligibility and could be the basis for denial of admission, termination of assistance, or
       eviction.

      Signature                                               Signe on (Date) 03 / 07 2024

      Public Reporting Burden: The public reporting burden for this collection of information is.estimated to
      average 1 hour per response. This includes the time for collecting, reviewing, and reporting the data. The
      information provided is to be used by the housing provider to request certification that the applicant or
      tenant is a victim of domestic violence, dating violence, sexual assault, or stalking. The information is
      subject to the confidentiality requirements of VAWA. This agency may not collect this information, and
      you are not required to complete this form, unless it displays a currently valid Office of Management and
      Budget control number.




                                                                                                  Form HUD-5382
.                                                                                                        (12/2016)

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Etie                                       Tiffanie Current - VAWA Request and Request for Transfer
Filename                                   Current, Tiffanie... attachments).pdf
Document ID                                de05cc05375a7e2d84d3dca5a15f7ciacf2b20b2
Audit trail date format                    MM / DD / YYYY
status                                     e Signed




Document History

                          03 / 07 / 2024   Sent for signature to Tiffanie.Current
        sent              14:20:05 UTC-6   (currenttiffanie371@gmail.com) from taubert@sils.org
                                           IP: 99.21.204.251



                          03 / 07 / 2024   Viewed by Tiffanie Current (currenttiffanie371@gmail.com)
       viewsr>            15:27:19 UTC-6   IP: 172.59.109.34



                          03 / 07 / 2024   Signed by Tiffanie Current (currenttiffanie371@gmail.com)
       SIGNED             15:29:24 UTC-6   IP: 172.59.109.34



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   Case 2:24-cv-01883-SSV-EJD Document 3-4 Filed 07/29/24 Page 61 of 127




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                                              CIVij
                                      DISTRICT coURT
 MarSh 8, 2024


 Tiffanie M Current
 7564 Forest Glen Rd
 New Orleans, LA 70127

 Re: Proposed Termination from the HANO Housing Choice Voucher Program (Housing Choice
 Voucher Programì

 Dear Tiffanie M Current:

 This letter is to inform you that HANO is seeking to terminate your assistance from the HCV
 Program for the reason(s) noted below:

 Supplying Required Information (Income Change) - According to 24 CFR 551(b)(2) the family
 must supply any information requested by HANOfor use in a regularly scheduled reexamination
 or interim reexamination offamily income and composition. According to HANOpolicy "program
 participants must report all increases in income within ten (10) days ofthe occurrence."

 According to our records,

 You have been receiving wages for the years 2022 & 2023. This income was not reported to
 HANO.

    •   On April 5, 2023: You completed and signed the HCVP Application for Continued              .
        Occupancy: You listed social security income as your household only source of income;
        however, your 2023 IRS tax return transcript has total wages in the amount of $21,736.
        This income was not reported to HANO.

     • On June 7, 2022: You completed and signed the HCVP Application for Continued
        Occupancy: You listed your social security income as your household only source of
        income; however, your 2022 IRS transcript has total wages in the amount of $20,107. This
        income was not reported to HANO.

 As a result of you failing to report your wages you received for the years 2022 & 2023, HANO
 over paid Housing Assistance Payment (HAP) in the amount of $10,310.72 and Utility Allowance
 Payment (UAP) in the amount of $378.00 a combined total of $10,688.72.

 This is aviolation ofyom·family obligations under the Housing Choice Voucher Program.

        4100 Touro Street • New Orleans, Louisiana 70122 • (504) 670-3300 • FAX (504) 2h6-8229
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Proposed Termination ofAssistance
Page -2-




Truthful and Complete Information - HUD regulation 24 CFR 982.551(b)(4) requires that any
information supplied by the family must be true and complete. According to our rebords you
provided the following information to HANO that was untruthfid

According to our iecords,

You have been receiving wages for the years 2022 & 2023. This income was not reported to               .
HANO.

    • On April 5, 2023: You completed and signed the HCVP Application for Continued                .
         Occupancy: You listed social security income as your household only source of income;
         howeveí·, your 2023 IRS tax return transcript has total wages in the amount of $21,736.
         This income was not reported to HANO.

    • On June 7, 2022: You completed and signed the HCVP Application fo Continued
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As a result of you failing to report your wages you received for the years 2022 & 2023, HANO
over paid Housing Assistance Payment (HAP) in the amount of $10,310.72 and Utility Allowance
Payment (UAP) in the amount of $378.00 a combined total of $10,688.72.

This is a violation ofyow·family obligations under the Housing Choice Voucher Program.

Use and Occupancy of Unit (Family Composition) - HUD regulation 24 CFR 982.551(h)(2)
requires (hat your family composition residing in the unit be approved by HANO. The family must
request HANO's approval to add any other family member as an occupant of the unit. A person
not listed on the HANO Housing Choice Voucher may not reside in the unit (except for a foster
child or live-in aide as provided in paragraph (h) (4) ofthis section.
 According to our records the following unaphroved person(s) are residing in your assisted unit:

    1. Jessie Harvey
A New Orleans Polic Departmeni Incidelit report dated August 28, 2023, has Jessie Harvey
address listed at 7564 Forest Glen Rd, New Orleans LA 70127 (Tiffanie M Current's current
assisted unit).




        4100 Touro Street New Orleans, Louisiana 70122 · (504) 670-3300 FAX (504) 286-8229
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Proposed Termination of Assistance
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According to a New Orleans Police Department Incident report dated September 23,2023, Tiffanie
M Current informed the officer that she dated Mr. Jessie Harvey since 2009 and that both Ms.
Currént and Mr. Harvey recently lived together at 7564 Forest Glen Rd, New Orleans.LA 70127
(Tiffanie M Current's current assisted unit) for 5 months, ending 2 weeks prior to the date of this
report.

This is a violation ofyourfamily obligations under the Housing Choice YoucherProgram.

You have a right to appeal this decision by requesting an infonnal hearing within ten (10) business
days from the date ofthis notification. At the hearing you will have an opportunity to present your
version of the alleged actions and any supporting facts and infonnation before final termination of
assistance. If you do not appeal this decision by requesting a hearing, your assistance will be
terminated.

To appéal this decision, please complete the enclosed informal hearing request form. Please
submit the form to: Housing Authority of New Orleans, Attention; Hearing Officer, 4100 Touro
St., New Orleans, LA 70122.

Please note, if you are a person with a disability, you may wish to requést a reasonable
accommodation that may enable you to meet HANO's continued occupancy requirements. The
Violénce Against Women Act provides that, if you are a victim of acts or threats of domestic
violence, dating violence, or stalking, you cannot be terminated or evicted due to these acts. If
you believe that this proposed termination action is based on your being a victim of domestic
violence, dating violence, or stalking, you are entitled to provide certification to that effect. If
applicable, you must provide.certification of domestic violence, dating violence, or stalking within
fourteen (14) calendar days from the date ofthis letter. Any information you provide will be kept
confidential and will not be disclosed by the agency without your consent except as necessary or
as otherwise required by law.

HANO will schedule your hearing within 30 days from the date of your request. You will receive
written notice of your hearing date, time and location. You must pay your part of.the rent and
utilities while you wait for a heating. HANO will continue to pay its portion of the rent as well.
You have a right tö bring a lawyer or représentative with you to the heafing. You also have a right
to review your file before the hearing. If this proposed termination action is based on criminal
activity and HANO is relying upon a criminal record or police report prior to the hearing
you may schedule a time to come to the HANO Housing Choice Voucher Program office and
dispute the accuracy and relevance of the police report. Ifyou would like free legal assistance,
please contact Southeast Louisiana Legal Services at 529-1000 x 223.

S' c rely

   o      a ew, cting Fraud Investigator


          4100 Touro Street · New Orleans, Louisiana 70122 (504) 670-3300 · FAX (504) 286-8229
                    The Housing Authority of New Orleans is an equal opportunity employer.
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Proposed Termination of Assistance
Page -4-




Enclosures (n)
CC: File
         Djuana Glapion, Program Manager, China Rhea, Housing Specialist




         4100 Touro Street · New Orleans, Louisiana 70122 · (504) 670-3300 FAX (504) 286-8229
                    The Housing Authority of New Orleans is an equal opportunity employer.
             Case 2:24-cv-01883-SSV-EJD Document 3-4 Filed 07/29/24 Page 65 of 127




    "1040-X
    *                                                          *~~""*
                                                Amended U.S. individual income Tax Retum                                                                          o.i -
    (Rev. February 2024)                        Go to wwwJrs.gov/Form1040Kfo                a ry    Öns ríll th latest Infgrpation.
    This return is for calendar year (enter year)                 2022       or fiscal year (enter month an'd ydal'lahbed)
    Your first name and middle fnlllal                                            Last name                                                   Your soolol securi number
    Tiffanie M                                                                    Curre
    if joint retum, spouse's first name and middle Initial                        Last na                    (...                             spouse's soolal security number

    Home address (number and street). If you have a P.O. box, see instnrollons.                                         Apt no.               Presidential Section Campaign
    7564 Forest Glen Rd,                                                                                                                      Check here If you, or your spouse
    clty. town, or post office. If you have a roreign address, also cornplate spaces below, state                   ZIP code
    New Orleans                                                                                      1.A               70127-1882             do. Chankinn A bnx hninw will nn
    Foreign coun1ry name                                         Foreign province/state/county                      Forelgn postal code       change your tax or refund.
                                                                                                                                                           You        Spouse
    Amended return filing status. You must check one box even if you are not changing your filing status. Caution: In general, you can't
    change your filing status from married filing jolntly to married filing separately after the retum due date.
    O Single O Married fliing jointly O Married filing separately (MFS)         Head of household (HOH) O Qualifying survMng spouse (QSS)
    If you checked the MFS box, enter the name of your spouse unless you are amending a Form1040-NR. If you checked the HOH or QSS box,
    enter the child's name if the qualifying person is a child but not your dependent:
    Enter on lines 1 through 23, columns A through C, the amounts for the return          A. original amount B. Net change-
    year entered above.                                                                       reported or as   etnount of increaso C. Correct
                                                                                           provlously adjusted or (decrease)-       amount
    Use Part il on page 2 to explaln any changes.                                           (see Instructions)  explain in Part 11
    Income and Deductions
        1 Adjusted gross Income, If a net operating loss (NOL) carryback is
              included, check here . . . . . . . . . . . . . . . . O                                                              20107                (20107)                 0
         2    Itemized deductions or standard deduction                   . . . . . . . . .                    2                  19400                       0            19400
         3 Subtract line 2 from line 1 . . . . . . . . . . . . . . .                                           3                    707                   (707)                0
     4a Reserved for future use . . . . . . . . . . . . . . . .                                               4a MMMîRM WWMM @M@MM!i
       b Quallflod business Income deduction . . . . . , . . . . . .                                          4b                          0                   0                   0
      5 Taxable Income. Subtract IIne 4b from line 3. If the result for column C
          is zero or less, enter -0- In column C . . . . . . . . . . . .                                       5                    707                   (707)                   0
    Tax Llability
      6 Tax. Enter method(s) used to figure tax (see {nstructions):
              Tax end EITC Table                                                                               6                      71                   (71)                   0
         7    Nonrefundable credits. If a general business credit carryback is included,
              check here . . . . . . . . . . . . . . . . . . . O                                              7                       71                   (71)                   0
         8    Subtract line 7 from line 6. If the result is zero or less, enter -0- . . .                     8                        0                      0                   0
         9    Reserved for future use . . . . . . . . . . . . : . . .                                         9
        10 Other tax'es . . . . . . . . . . . . . . . . . . . .                                               10                          0                   0                   0
        11 Total tax. Add lines 8 and 10 . . . . . . . . . . . . . .                                          11                          0                   0                   0
     Payments
      12 Federal income tax withheld and excess social securlty and tier 1 RRTA
         tax withheld. (If changing, see Instructions.) . . . . . . . . .                                     12                      0                       0                   0
      13 Estimated tax payments, including amount applied from prior year's retum                             13                      0                       0                   0
      14 Earned Income credit (EIC) . . . . . . . . . . . . . , .                                             14                   6935                  (6935)                   0
      15 Refundable credlls from: 2 Schedule 8812 Form(s) 0 2439 C 4136
              08868          08886              8962or oother(specfy):____                                     15                   2641                 f2041)                   0
        16Total amount paid with request for extension of time to file, tax paid witi orighal return, and additional
          tax paid after return was filed . . . . . . . . . . . . . . . . . . . . . . . .                             16         0
      17 Total payments. Add lines 12 through 15, column C, and line 16 . . . . . . . . . . . . .                     17         0
     Refund or Amount You Owe                                                                                                                                                         .
      18 Overpayment, if any, as shown on original return or as previously adjusted by the IRS . . . . .              18      9576
      19 Subtract line 18 from line 17. (if less than zero, see Instructions.) . . . . . . . . . . . .                19    (9676)
.     20 Amount you owe. If line 11, column C, Is more than line 19, enter the difference . . . . . . .               20      9578
      21 If line 11, column C, is less than line 19, enter the difference. This la the amount overpaid on this retum  21         0
      22 Amount of line 21 you want refunded to you . . . . .                                                   . .   22         0
      23 Amount of line 21 you want applied to your (enter year):                  estimated tax ( 23 |              OiM@WWMPH
                                         .                                                                                          Complete and slgli this forrn on page 2.
        For Paperwork Reduction Act Notice, see separate Instructions.                                     cat.Noí 11860L                        Form1040-X(nov. 2-20s)
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Forrn 1040-X (Rev. 2-2024)                                                                                                                                                 Page 2
             Dependents
Complete this part to change any Information relating to your dependents.                                        A. original number
                                                                                                                    of dependents                                 C. Correct
This would Include a change in the number of dependents.
Enter the information for the return year entered at the top of page 1.                                           pra ou y a usted         °f (d'°'°°³°)
 24 Reserved for future use . . . . . . . . . . . . . . . .
 25 Your dependent children who lived with you , . . . . . . . .                                            25                 3                         (1)                     2
 26 Reserved for future use . . . . . . . . . . . . . . . .                                                 26 M          $Á If MfMWi
 27 Other dependents . . . . . . . . . . . . . . . . . .                                                    27                 0                           0                     0
 28 Reserved for future use . . . . . . . . . . . . . . . .
 29      Reserved for future use . . . . . . . . . . . . . . . .
 30      List ALL dependents (ohlldren and others) claimed on this amended return.
Dependents (see Instructions):                                                                                                           (d) Check the box if qual f es for
                                                                                                                                                 (see instructions):
If more                                                                           (b) Soclat security          {c) Relallonship                             Credit for other
than four           (a) First name                      Last name                      nurnber                      to you               Child tax credit     dependents

  ee
instructions
and aheok                                                                                                                                       O                     O
here O                                                                                                                                          O                     O
              Explanation of Changes. In the space provided below, tell us why you are filing Form 1040-X.
         Attach any supporting doournents and new or changed forms and schedules.
       The original return had reported W2 wages that were incorrect. The amended return removes both those wages and any tax credits based upon
       those wages, such as the EITC, CTC, and CDCTC. The orlginal return also included e claimed dependent who do not live with the texpayer, and
       that dependent is also being removed. Client received an orlginal refund, so client must now pay that refund back.




                   Remember to keep a oopy of this form for your records.
                   Under penalties of perjury,1 declare that I have filed an original return, and that I have examined this amended retum, including accornpanying schedules
                   and statements, and to the best of rny knowledge and bellef, this amended return is true, correct, and complete. Declaration of preparer (other than
                   taxpayer) is based on all Information about which the preparer has any knowledge.
 Sign              Your signature                                               Date                Your occupatlon                           if the IRS sent you an Identity
                                                                                                                                              Protection PIN, enter it here
 Here                                     p.              ad '                        |2M                                                     (see Inst.)
                   Spouse's s gnature.lf a joint retum, oth must algn.          Date                Spouse's occupation                       If the IRS sent your spouse an
                                                                                                                                              Identity Protection PIN, enter It here
                                                                                                                                              (see inst.)
                   Phone no.                                                    Emall address
                    Preparer's name                                Preparer's signature                                 Dale             PTIN                ohecklf:                  .
                                                                                                                                                                  Self-employed
 Preparer           Firm's name
                                                                                                                      '                  Phone no.
                    Firm's address                                                                                                       Flrrn's EIN
 For forms and pubilaations, visit www.Irs.gov/Forms.                                                                                               Form1040-X (Rev. 2-2024)
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                                                                 Department of the Treasury-Intemal Revenue servIce
                                            Amended U.S. Individuailncome Tax Return                                                                            oueNo.is4s.co74
(Rev. February 2024)                        Go to www.frs,gov/Formf040Xfor Instructions and the latest information.
This return is for calendar year (enter year)                      2023        or fiscal year (enter month and year ended)
Yourfirst name and m1ddle Initial                                                   Last name
Tiffanie M                                                                          Current
lf joint retum, spouse's flral name and middle Initial                              Last name                                                     Spouse's scolaf security number

Home address (number and street). If you have a P.O. box, noe instruollons.                                                 Apt. no.              Presidential Eleotlon Campaign
7564 Forest Glen Rd,                                                                                                                              Check here if you, or your spouse
cIty, town, or post office, if you have a foreign address, also complete spaces below.         State                    ZIP code
New Orleens                                                                                                LA              70127-1882             do. Ohnnkinn a hmr beinw wIll not
Foreign country name                                               Foreign province/state/county                        Foreign postal code       change your tax or refund.
                                                                                                                                                                You       Spouse
Amended return filing status. You must check one box even if you are not changing your filing status. Caution: In general, you can't
change your filing status from married filing jointly to married filing separately after the retum due date.
O Single O Married filing Jointly O Married filing separately (MFS) 9 Head of household (HOH) O Quallfying survMng spouse (QSS)
If you checked the MFS box, enter the name of your spouse unless you are amending a Form 1040-NR, if you checked the HOH or QSS box
enter the child's name if the qualifying person is a child but not your dependent:
Enter on lines 1 through 23, columns A through 0, the amounts for the return          A. Orlginal amount B. Net chango
year entered above.                                                                                                          sported or as    amount of Increase        c. correct
                                                                                                                          previously adjusted or (decrease)-             amount
Use Part || on page 2 to explain any changes.                                                                              (see Instrucifons)  explain in Part il
Income and Deductions
  1 Adjusted gross Income. If a net operating loss (NOL) carryback is
          included, check here . . . . . . . . . . . . . . . . O 1                                                                     21736               (21738)                    0
   2      Itemized deductions or standard deduction                        . . . . . . . . .                        2                  20000                      0             20800
   3      Subtract line 2 from Ilne i            .   .   .   .     .   .   .    .   .   .     . .      .   . .      3                    036                  (936)                   0
 4a Reserved for future use . . . . . . . . . .                 . . . . .                                          4a          NSA¥M BR$i®Üê %M4MWhš9N
   b Quallfled business income deduction . . . . . . . . . . . .                                                   4b               o        0        0
 5 Taxable Income. Subtract line 4b from line 3. If the result for column C
      ls zero or less, enter -0- In column C . . . . . . . . . . . .                                                5                    Q36                  (936)                   0
Tax Liability
  6 Tax, Enter method(s) used to figure tax (see Instructions):
          Tax and EITC Table                                                                                        6                     94                   (94)                   0
    7     Nonrefundable credits. If a general business credit carryback is included,
          checkhere . . . . . . . . . . . . . . . . . . . O 7                                                                             94                   (94)                   0
    8     Subtract line 7 from line 6. If the result is zero or less, enter -0- . . .                               8                    0                        0                   0
    9     Reserved for future use . . . . . . . . . . . . . . . .                                                   9 TE%Si            MSS              Mt.
  10 Other taxes . . . , . . . . . . . . . . . . . . . . 10                                                                                   0                   0                   0
  11 Totat tax. Add lines 8 and 10 . . . . . . . . . . . . . . 11                                      0                0        0
 Payments
  12 Federallncome tax withheld and excess social security and tier 1 RRTA
      tax withheid. (If changing, see instructions.) . . . . . . . . . 12                              0                0        0
  13 Estimated tax payments, including amount applied from prior year's retum 13                       0                 0       0
  14 Earned income credit (EIC) . . , . . . . . . . . . . . . 14                                   7395           (7395)         0
  15 Refundable credits from: O Schedule 8812 Form(s) ,€ 2439 0 4136
      088e3 08885 08982or Oother(specify):_____ 15                                                 2885,     -     f2885)        0
  16 Total amount paid with request for extension of time to file, tax paid witt orignal retum, and additional
      tax pald after return was filed . . . . . . . . . . . . . . . . . . . . . . . .                                16          0
  17 Total payments. Add lines 12 through 15, column C, and line 16 . . . . . . . . . . . . .                        17          0
 Refund or Amount You Owe
  18 Overpayment, if any, as shown on original retum or as previously adjusted by the IRS . . . . .                  18      10280
  19 Subtractline18fromline17,(lflessthanzero,seelnstructions.) . . . . . . . . . . . .                              19    (10280)
  20 Amount you owe. If line 11, column C, Is more than line 19, enter the difference . . . .              . .       20      10280
  21 If IIne 11, column C, is less than line 19, enter the difference. This is the amount overpaid on this return     21         0
  22 Amountofline21youwantrefundedioyou . . . . . . . . . . . . . . . . . . .                                         22         0
   23 Amount of line 21 you want applied to your (enter year):                 estimated tax 23 |                 0 $$$sW@àM?(!
                                                                                                                                        Complete and sign this form on page 2.
  For Paperwork Reduction Act Notloeisee separate instructions.                                                  Cat. No.11380L                      Form1040-X tRev.2.2024)
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Form io40-X (Rev. 2-2024)                                                                                                                                              Page 2
                 endents
Complete this part to change any Information relating to your dependents.                                    A. original number
                                                                                                               of dependents             to     c    e       C. Correct
This would include a change In the nurnber of dependents.                                                       reported or as          d                      number
Enter the information for the return year entered at the top of page 1.                                      previously adjusted
 24 Reserved for future use . . . . . . . . . . . . . . • •                                            24 Ñ                È                RMMKW
 25 Your dependent children who lived with you . . . . . . . . .                                       25                      2                    (1)                       2
 26 Reserved for future use . . . . . . . . . . . . . . . .
 27 Other dependents . . . . . . . . . . . . . . . . . . 27           0                                                                               0                       0
 28 Reserved forfuture use . . . . . . . . . . . . . . . . 28 R$5%#MöÊJÃW
29 Reserved for future use . . . . . . . . . . . . . . . . 29
30 Ust A1.L dependents (children and othere) claimed on this arnended retura.
Dependents (see instructions):                                                                                                      (d) Check e box qu lies for
                                                                                (b) Social security         (o) Relationablp       child tax credit Cred t for other
  more              (a) First name                     1..ast name                   number                      to you                             _dependents__

 ee                                                                                                   D
instructions
andcheck       ..
here O                                                                                                                                      O                      O
                    nation of Changes. In the space provided below, tell us why you are filing Form 1040-X.
         Attach any supporting documents and new or changed forrns and schedules.
       The or glnal return had reported W2 wages that were not correct. The amended return removes both those wages and any tax credits based upon
       those wages, such as the EITC, GTC, and CDCTC. The originel return also included a claimed dependentwho do not live with the taxpayer, and
       that dependent is also being removed. Client received an original refund, so cilent must now pay that refund back,




                    Rementber to keep a copy of this form for your records.
                    Under penattles of perjury,1 declare that I have filed en original return, and that I have examined this amended retum, including accompanying schedules
                    and statements, and to the best of my knowledge and belief, this amended return1s true, correct, and complete. Declaration of preparer (other than
                    taxpayer) is based on allinfonnation about which the preparer has any knowledge.
 S-                 Your signature                                           bate             Your occupation                               if the IRS sent you an identity
                                                                                                                                            Protect[on PIN, enter it here
 Here                                 n W Ô Ap+                                      23                                                     (=inst.)I I I I I I I
                    Spouse a signature. If ajoint retuËn, both must sign.     Date             Spouse's acoupation                          if the IRS sent your spouse an
                                                                                                                                            identity Protection PIN, enter It here
                                                                                                                                            (see inst.)
                    Phone no.                                                  Emall address
                    Preparer's name                                Preparer's signature                             Date               PTIN                Check if:
  Paid                                                                                                                                                      O self-employed
  Preparer               .-                                                                                                            Phoneno
  Use Only                                                                                                                             nnn., sin
  For forms and publications, visit www,/rs.gov/Forms.                                                                                          Form 1040-X (aov. 2-2024)
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                                                                                                     PLAINTIPP'S



EMERGENCY TRANSFER       U.S. Department o oksh% 23 P30MaArgrovaixo.2577-0286
REQUEST POR CERTAIN        and Urban Development                Exp. 06/30/2017
VICTIMS OF DOMESTIC          .                   n
VIOLENCE, DATING VIOLENCE,
SEXUAL ASSAULT, OR STALKING                       C COUR r
Purpose of Form: Ifyou are a victim of domestic violence, dating violence, sexual assault, or stalking,
and you are seeking an emergency transfer, you may use this fonn to request an emergency transfer and
certify that you meet the requirements of eligibility for an emergency transfer under the Violence Against
Women Act (VAWA). Although the statutory name references women, VAWA rights and protections
apply to all victims of domestic violence, dating violence, sexual assault or stalking. Using this form does
not necessarily mean that you will receive an emergency transfer. See your housing provider's
emergency transfer plan for more information about the availability of emergency transfers.
The reonirements you must meet are:

        (1) You are a victim of domestic violence, dating violence, sexual assault, or stalking.
        If your housing provider does not already have documentation that you are a victim of
        domestic violence, dating violence, sexual assault, or stalking, your housing provider may
        ask you for such documentation. In response, you may submit Form HUD-5382, or any
        one of the other types of documentation listed on that Fonn.

        (2) You expressly request the emergency transfer. Submission of this form confirms
        that you have expressly requested a transfer. Your housing provider may choose to require
        that you submit this form, or may accept another written or oral request. Please see your
        housing provider's emergency transfer plan for more details.

        (3) You reasonably believe you are threatened with imminent harm from further
        violence ifyou remain in your current unit. This means you have a reason to fear that
        ifyou do not receive a transfer you would suffer violence in the very near future.
        OR
        You are a victim of sexual assault and the assault occurred on the premises during
        the 90-calendar-day period before you request a transfer. If you are a victim of sexual
        assault, then in addition to qualifying for an emergency transfer because you reasonably
        believe you are threatened with imminent harm from further violence ifyou remain in your               .
        unit, you may .qualify for an emergency transfer if the sexual assault occurred on the
        premises of the property from which you are seeking your transfer, and that assault
        happened within the 90-calendar-day period before you submit this form or otherwise
        expressly request the transfer.

Submission of Documentation: If you have third-party documentation that demonstrates why you are
eligible for an emergency transfer, you should submit that documentation to your housing provider ifit is
safe for you to do so. Examples of third party documentation include, but are not limited to: a letter or
other documentation from a victim service provider, social worker, legal assistance provider, pastoral
counselor, mental health provider, or other professional from whom you have sought assistance; a current
restraining order; a recent court order or other court records; a law enforcement report or records;
communication records from the perpetrator ofthe violence or family members or friends ofthe
perpetrator of the violence, including emails, voicemails, text messages, and social media posts.


                                                                                             -Fonn HUD-5383, n
                                                                                                    10/2Õ




                                                                      Doc ID: Ub9c14b3d9a9389baf775031cc931fc6ecde8794
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                                                                                                               2

Confidentiality: All information provided to your housing provider conceming the incident(s) of
domestic violence, dating violence, sexual assault, or stalking, and concerning your request for an
emergency transfer shall be kept confidential. Such details shall not be entered into any shared database.
Employees ofyour housing provider are not to have access to these details unless to grant or deny VAWA
protections or an emergency transfer to you. Such employees may not disclose this information to any
other entity or individual, except to the extent that disclosure is: (i) consented to by you in writing in a
time-limited release; (ii) required for use in an eviction proceeding or hearing regarding termination of
assistance; or (iii) otherwise required by applicable law.
TO BE COMPLETED BY OR ON BEHALF OF THE PERSON REOUESTING A TRANSFER

L Name of victim requesting an emergency transfer:                                A vv¾7Í'
2. Your name (if different from victim's)         NYe s t          N M kwAw ( p n                M r So udIM4          L* 5
                                                                                                                   L
3. Name(s) of other family member(s) listed on the lease:6W CA                   bt              sså    br v


4. Name(s) of other family member(s) who would transfer with the victim:


5. Address oflocation from which the victim seeks to transfer: 1                          0#34- Cden

6. Address or phone number for contacting the victim:                 50                  - 4 6 T7
7. Name of the accused perpetratòr (if known and can be safely disclosed):                € 55

8. Relationship of the accused perpetrator to the victim:         Ly - bdv b

9. Date(s), Time(s) and location(s) of incident(s):                               CO- 4      Í (A t


  10. Is the person requesting the transfer a victim of a sexual assault that occurred in the past 90
  days on the premises of the property from which the victim is seeking a transfer? If yes, skip
. question 11. If no, fill out question 1L
1L Describe why the victim believes they are threatened with imminent harm from further
violence if they remain in their current unit.
TesVe     b<vro vMdul a-.              µchach oveÁw d Gowocl up i                                MS. CiendS


 oJa.1 Swdg. M L 5 6<ves4to                                      S
 12. If voluntarily provided, list any third-party documentation you are providing along th this
 notice:      ch o tA M s. has ¾ e µ wcb p ½ ve(m A- cut<ct                                           ek d- vusf*v 9*
 This is to certify that the information provided on biis form is tfue and correct to the best ofmy knowledge,
 and that the individual named above in Item 1 meets the requirement laid out on this form for an emergency
transfer. I acknowledge that submission offalse information couldjeopardize program eligibility and could
 be the basis for denial of admission, termination of assistance, or eviction.
 Signature                                              Signed on (Date) 06 / 04 2024
                                                                                                 Form HUD-5383
                                                                                                       (12/2016)




                                                                        Doc ID: 059c1463d9a9389baf775031cc931fc6ecde8794
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  NOTICE OP OCCUPANCY RIGHTS UNDER                              U.S. Department ofHousing and Urban Development
  THE VIOLENCE AGAINST WOMEN ACT                                                   OMB Approval No. 2577-0286



  HAN@
        Notice of Occupancy Rights under the Violence Against Women Actl

To all Tenants and Applicants
The Violence Against Women Act (VAWA) provides prot'ections for victims of domestic violence, dating violence,
sexual assault, or stalking. VAWA protections are not only available to women, but are available equally to all
individuals regardless of sex, gender identity, or sexual orientation.2 The U.S. Department of Housing and Urban
Development (HUD) is the Federal agency that oversees that HANO's Housing Choice Voucher Program (HCVP) is
in compliance with VAWA. This notice explains your rights under VAWA. A HUD-approved certification form is
attached to this notice. You can fill out this form to show that you are or have been a victim of domestic violence,
dating violence, sexual assault, or stalking, and that you wish to use your rights under VAWA."

Protections for Applicants        .
If you otherwise qualify for assistance under HCVP, you cannot be denied admission or denied assistance because
you are or have been a victim ofdomestic violence, dating violence, sexual assault, or stalking.
Protections for Tenants
.If you are receiving assistance under HCVP, you may not be denied assistance, terminated from participation, or be
 evicted from your rental housing because you are or have been a victim ofdomestic violence, dating violence, sexual
assault, or stalking.
Also, ifyou or an affiliated individual ofyours is or has been the victim ofdomestic violence, dating violence, sexual
assault, or stalking by a member ofyour household or any guest, you may not be denied rental assistance or occupancy
rights under HCVP solely on the basis ofcriminal activity directly relating to that domestic violence, dating violence,
sexual assault, or stalking.
Affiliated individual means your spouse, parent, brother, sister, or child, or a person to whom you stand in the place
ofa parent or guardian (for example, the affiliated individual is in your care, custody, or control); or any individual,
tenant, or lawful occupant living in your household.

 Removing the Abuser or Perpetrator from the Household
The Housing Provider (HP)may divide (bifurcate) your lease in order to evict the individual orterminate the assistance
ofthe individual who has engaged in criminal activity (the abuser or perpetrator) directly relating to domestic violence,
dating violence, sexual assault, or stalking.
IfHP chooses to remove the abuser or perpetrator, HP may not take away the rights of eligible tenants to the unit or
otherwise punish the remaining tenants. If the evicted abuser or perpetrator was the sole tenant to have established
eligibility for assistance under the program, BP must allow the tenant who is or has been a victim and other household
members to remain in the unit for a period of time, in order to establish eligibility under the program or under another
HUD housing program covered by VAWA, or, find alternative housing.                                  .




 I Despite the name ofthis law, VAWA protection is available regardless ofsex, gender identity, or sexual
 orientation.
 2 Housing providers cannot discriminate on the basis ofany protected characteristic, including race, color, national
 origin, religion, sex, familial status, disability, or age. HUD-assisted and HUD-insured housing must be made
 available to all otherwise eligible individuals regardless of actual or perceived sexual orientation, gender identity, or
 marital status.

Form HUD-53 80                                                                                                       1 of4
(12/2016)



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In removing the abuser or perpetrator from the household, HP must follow Federal, State, and local eviction
procedures. In order to divide a lease, HP may, but is not required to, ask you for documentation or certification of
the incidences of domestic violence, dating violence, sexual assault, or stalking.
Moving to Another Unit
Upon your request, HP may permit you to move to another unit, subject to the availability ofother units, and still keep
your assistance. In order to approve a request, HP may ask you to provide documentation that you are requesting to
move because of an incidence of domestic violence, dating violence, sexual assault, or stalking. If the request is a
request for emergency transfer, the housing provider may ask you to submit a written request or fill out a form where
you certify that you meet the criteria for an emergency transfer under VAWA. The criteria are:
         (1) You are a victim of domestic violence, dating violence, sexual assault, or stalking. Ifyour
         housing provider does not already.have documentation that you are a victim ofdomestic violence,
         dating violence, sexual assault, or stalking, your housing provider may ask you for such
         documentation, as described in the documentation section below;
         (2) You expressly request the emergency transfer. Your housing provider may choose to require
         that you submit a form, or may accept another written or oral request;
         (3) You reasonably believe you are threatened with imminent harm from further violence if
         you remain in your current unit. This means you have a reason to fear that ifyou do not receive
         a transfer you would suffer violence in the very near future;
         OR
         You are a victim of sexual assault and the assault occurred on the premises during the 90-
         calendar-day period before you request a transfer.
         Ifyou are avictim ofsexual assault, then in addition to qualifying for an emergency transfer because
         you reasonably believe you are threatened with imminent harm from further violence ifyou remain
         in your unit, you may qualify for an emergency transfer ifthe sexual assaultoccurred on the premises
         ofthe property from which you are seeking your transfer, and that assault happened within the 90-
         calendar-day period before you expressly request the transfer.
HP will keep confidential requests for emergency transfers by victims ofdomestic violence, dating violence, sexual
assault, or stalking, and the location ofany move by such victims and their families.
HP's emergency transfer plan provides further information on emergency transfers, and HP must make a copy ofits
emergency transfer plan available to you ifyou ask to see it.

Documenting You Are orHave Been a Victim ofDomestic Violence, Dating Violence, Sexual Assault or Stalking
HP can, but is not required to, ask you to provide documentation to "certify" that you are or have been a victim of
domestic violence, dating violence, sexual assault, or stalking. Such request from HP must be in writing, and HP must
give you,at least 14 business days (Saturdays, Sundays, and Federal holidays do not count) from the day you receive
the request to provide the documentation. HP may, but does not have to, extend the deadline for the submission of
documentation upon your request.
You can provide one ofthe following to EP as documehtation. It is your choice which of the following to submit if
HP asks you to provide documentation that you are or have been a victim ofdomestic violence, dating violence, sexual
assault, or stalking.
    G A complete HUD-approved certification form given to you byHP with this notice, that documents an incident
          of domestic violence, dating violence, sexual assault, or stalking. The form will ask for yourname, the date,
          time, and location of the incident of domestic violence, dating violence, sexual assault, or stalking, and a
          description ofthe incident. The certification form provides for including the name ofthe abuser or perpetrator
         ifthe name ofthe abuser or perpetratoris known and is safe to provide.
     O A record of a Federal, State, tribal, territorial, or local law enforcement agency, court, or administrative
       agency that documents the incident of domestic violence, dating violence, sexual assault, or stalking.
       Examples ofsuch records include police reports, protective orders, and restraining orders, among others.



Form HUD-5380                                                                                                    2 of 4
(12/2016)


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    O A statement, which you must sign, along with the signature of an employee, agent, or volunteer of a victim
         service provider, an attorney, a medical professional or a mental health professional (collectively,
         "professional") from whom you sought assistance in addressing domestic violence, dating violence, sexual
         assault, or stalking, or the effects ofabuse, and with the professional selected by you attesting under penalty
         ofperjmy that he or she believes that the incident or lucidents of domestic violence, dating violence, sexual
         assault, or stalking are grounds for protection.
    O    Any other statement or evidence that HP has agreed to accept.
If you fail or refuse to provide che ofthese documents within the 14 business days, HP does not have to provide you
with the protections contained in this notice.
IfHP receives conflicting evidence tlÂt an incident of domestic violence, dating violence, sexoal assault, or stalking
has been committed (such as certification forms from two or more members of a household each claiming to be a
victim and naming one or more of the other petitioning household members as the abuser or perpetrator), HP has the
right to request that you provide third-party documentation within thirty 30 calendar days in order to msolve the
conflict. Ifyou fail or refuse to provide third-party documentation where there is conflicting evidence, HP does not
have to provide you with the protections contained in this notice.

Confidentiality
HP must keep confidential any information you provide related to the exercise ofyour rights under VAWA, including
the fact that you are exercising your rights under VAWA.
HP must not allow any individual administering assistance or other services on behalf ofHP (for example, employees
and contractors)to have access to confidential information unless for reasons that specifically call forthese individuals
to have access to this information under applicable Federal, State, or local law.
HP must not enter your information into any shared database or disclose your information to any other entity or
individual. HP, however, may disclose the information provided if:
    0 You give written permission to HP to release the information on a time limited basis;
     D HP needs to use the information in an eviction or termination proceeding, such as to evict your abuser or
       perpetrator or terminate your abuser or perpetrator from assistance under this program;
    G A law requires EP or your landlord to release the information.
VAWA does not limit HP's duty to honor court orders about access to or control ofthe property. This includes orders
issued to protect a victim and orders dividing property among household members in cases where a family breaks up.

Reasons a Tenant Eligible for Occupancy Rights under VAWA May Be Evicted or Assistance May Be-
Terminated
You can be evicted and your assistance can be terminated for serious or repeated lease violations that are not related
to domestic violence, dating violence, sexual assault, or stalking committed against you. However, HP cannot hold
tenants who have been victims ofdomestic violence, dating violence, sexual assault, or stalking to a more demanding         ·
set of rules than it applies to tenants who have not been victims of domestic violence, dating violence, sexual assault,
or stalking.
The protections described in this notice might not apply, and you could be evicted and your assistance terminated, if
HP can demonstrate that not evicting you or terminating your assistance would present a real physical danger that:
1) Would occur within an immediate time frame; and
2). Could result in death or serious bodily harm to other tenants or those who work on the property.
IfHP can demonstrate the above, HP should only terminate your assistance or evict you if there are no other actions
that could be taken to reduce or eliminate the threat.




Form HUD-5380                                                                                                      3 of4
(12/2016)



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Other Laws
VAWA does not replace any Federal, State, or local law that provides greater protection for victims of domestic
violence, dating violence, sexual assault, or stalking. You may be entitled to additional housing protections for victims
ofdomestic violence, dating violence, sexual assault, or stalking under other Federal laws, as weII-as under State and
local laws.

Non-Compliance with the Requirements ofThis Notice
You may report a covered housing provider's violations of these rights and seek additional assistance, if needed, by
contacting or filing a complaint with the New Orleans HUD Field Office, (504)671-3000,

For Additional Information
You may view a copy ofHUD's'final VAWA rule at https://www.federalregister.gov/documents/2016/11/16/2016-
25888/violence-aaainst-women-reauthorization-act-of-2013-implementatign-in-hud-housing-programs.
Additionally, HP must make a copy ofHUD's VAWA regulations available to you ifyou ask to see them.
For questions regarding VAWA, please contact Nyssa LeBeau, Principa1Administrative Analyst at (504)610-3344.
For help regarding an abusive relationship, you may call the National Domestic Violence Hotline at 1-800-799-7233
or, for persons with hearing impairments, I (800) 787-3224 (TIY). You may also contact the New Orleans Family
Justice Center, (504) 866-9554.
For tenants who are or have been victims ofstalking seeking help may visit the National Center for Victims ofCrime's
Stalking Resource Center at https://www.victimsoforime.org/our-programs/stalking-resource-center.
For help regarding sexual assault, you may contact the New Orleans Family Justice Center, (504) 866-9554.
Victims ofstalking seeking help may contact New Orleans Family Justice Center, (504) 866-9554.
Attachment: Certification form HUD-5382

I have reviewed the Notice of Occupancy Rights Under the Violence Against Women Act, and I understand
what are my rights as a tenant or applicant on the HCV program.




Tiffanie Current                                                                      06 / 04 / 2024
 Name                                    Signature                                     Date




Form HUD-5380                                                                                                      4 of 4
(12/2016)



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Title                                     VAWA Request for Unit Transfer
File name                                 Current_Tiffanie_-_FORM_5383.pdf
Document ID                               059c1463d9a9389baf775031cc931fc6ecde8794
Audittrail date format                    MM / DD / YYYY
status                                    • Signed



Document History

                         06 / 04 / 2024   Sent for signature.to Tiffanie Current
        SENT             15:14:07 UTC-5   (currenttiffanie371@gmail.com) from taubert@slls.org
                                          IP: 208.114.224.194



                         06 / 04 / 2024   Viewed by Tiffanie Current (currenttiffanie371@gmail.com)
    viewso               16:08:23 UTC-5   IP: 172.59.109.123



                         06 / 04 / 2024   Signed by Tiffanie Current (currenttiffanie371@gmail.com)
        SIGNED           16:09:29 UTC-5   IP: 172.59.109.123



                         06 / 04 / 2024   The document has been completed.
  COMPLETso              16:09:29 UTC-5




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                          20Ty JUL 23 PM 2: 36
                                   CiVil     .
                             OlSTRICT COUR1
             CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
                            STATE OF LOUISIANA

   NO. 2024-06181                                                           Division: J-15

                                   TIFFANIE CURRENT

                                           VERSUS

                       HOUSING AUTHORITY OF NEW ORLEANS

FILED:

                                                               DEPUTY CLERK

                          AFFIDAVIT OF THERESA AMBEAU

STATE OF LOUISIANA

PARISH OF ORLEANS

      BEFORE ME, the undersigned Notary Public, personally came and appeared

THERESA AMBEAU, who after being duly sworn and deposed did state the following:

      1) I am over the age of 18 and of full legal capacity.

      2) I am a former paralegal at Southeast Louisiana Legal Services, located at 1340

          Poydras St. Suite 600 New Orleans, LA 70112.

      3) I represented Tiffanie Current in her Housing Choice Voucher Program ("HCVP")

         termination proceeding.

      4) On March 7, 2024 I sent a VAWA Request and Request for Transfer to HANO's

         HCVP Director, attaching her active protective order and a signed HUD form 5382

          "Certification of Domestic Violence, Dating Violence, Sexual Assault, or Stalking."

      5) A copy of my March 7, 2024 correspondence is attached as Exhibit 2-A.

      6) On June 4, 2024 after my client was physically assaulted by her abuser, I submitted

         an Updated VAWA Request for Transfer, attaching a photo of Ms. Current's injuries

         from the assault and a signed HUD form 5383 "Emergency Transfer Request for

          Certain Victims of Domestic Violence, Dating Violence, Sexual Assault, or

          Stalking."

      7) A copy of my June 4, 2024 correspondence is attached as Exhibit 2-B.




                                                                        VERRED
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       8) On May 24, 2024 I emailed the hearing officer, Chris Dalton, Ms. Current's amended

           tax returns for 2022 and 2023, IRS Form 1040X. In my email I stated "Please let me

           know ifyou need any additional information."

       9) A copy of my email correspondence is attached as Exhibit 2-C.

       10)I received no response or request for additional information.

       11) On June 18, 2024, after receiving the adverse hearing decision, I submitted a Request

           for Reconsideration ofMs. Current's termination decision to the hearing officer Chris

           Dalton, reattaching the 1040X forms as well as Attorney Tuttle's cover letter to the

           IRS showing that the returns were mailed on May 29, 2024.

       12)My June 18, 2024 correspondence is attached as Exhibit 2-D.

I declare under penalty of perjury that the forgoing statements are true and correct.


                                                      Theresa Ambeau


SWORN TO AND SUBSCRIBED
BEFORE ME THIS }     DAY
OF              , 20 ) y                 .




NOTARY PUBLIC                                      HANNAH ADAMS
                                                     Notary Public
                                                 Notary ID No. 144209
Notary Printed Name:                           Orleans Parish, Louisiana

Notary #
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                                                                                                              PLAINTIFF'S
                                              SOUTHEAST LOUISIANA                                                 EXHIBIT
                                              LEGAL SERVICES                                              !               A
                                              Free Legal Aid for Low-Income People

                         Baton Rouge, Covington, Hammond, Harvey Houma, New Orleans

    1340 Poydras St. Suite 600 • New Orleans, Louisiana 70112 • Telephone: (504) 529-1000 •         Fax: (504) 596-2241
                        www.s11s.org • wwwlouisianalawhelp.org • http://tinyurl.com/sllsfacebook


                                                                                              Thursday, March 7, 2024

Pradip Singh
Housing Authority of New Orleans
4100 Touro Street
New Orleans, LA 70122
504-670-3344
psingh@hano.org

Monica New
Housing Authority of New Orleans                                                                              a      N
4100 Touro Street
New Orleans, LA 70122 .                                                                                    ar
504-670-3398                                                                                                                  =
mgonleh@hano.org

By Electronic Mail and First Class Mail

             Re: VAWA Request and Request for Transfer -· Ms. Tiffanie Current

Dear Pradip Singh and Monica New:

        I represent Ms. Tiffanie Current, who participates in the Housing Choice Voucher
Program. I write on Ms. Current's behalf to request VAWA protections and to request a transfer
to another subsidized unit, as she has been the victim of domestic violence by her ex-boyfriend,
Mr. Jessie Harvey Sr. Mr. Harvey is the father of three of Ms. Current's children. Ms. Current
has also been the victim of harassment by a neighbor, Ms. Keisha Dominique. As such, Ms.
Current is in imminent fear that she or her children will be harmed.

                                                  VAWA Request

        The Violence Against Women Act (VAWA) provides that an otherwise qualified
participant in a covered housing program may not be terminated from participation in the
program on the basis that the applicant or tenant is or has been a victim of domestic violence,
dating violence, sexual assault, or stalking. 34 U.S.C.A. § 12491(b)(1). HUD Notice PIH 2017-
08 notes that, "On the surface, adverse factors may appear unrelated to domestic violence . . . and
may present legitimate reasons for denial, termination, or eviction. However, the présence of an
adverse factor may be due to an underlying experience of domestic violence, . . . An adverse
factor may be present during much of an abusive relationship, or it may presengtseelf           en
a victim is attempting to leave, or has left, the abusive relationship."



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     ||= LSC                                                                                                  =e
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       Mr. Harvey suffers from mental illness and has a history of abuse toward Ms. Current.
During the course of their relationship from 2009 to 2017, Mr. Harvey was violent and
physically and emotionally abusive to Ms. Current.

       In September of 2023, Mr. Harvey attempted to break windows and kick down Ms.
Current's door. Ms. Current called the police at this time. When police arrived, Mr. Harvey ran
from the police, but he was caught and arrested. At this time, Ms. Current sought to get a stay
away order against Mr. Harvey. See attached Order ofProtection; Orleans Parish Magistrate
Court dosket master. Mr. Harvey was released où October 14, 2023 and is currently on
probation.                                                                                      .

       During the wehk of Fèbruary i6, 2024, Mr. Harvey took theiïeight-year-old son, Jessie
Harvey Jr., from school, and fled to Baton Rouge. Ms. Current did üot know the whereabouts of
her son until March 6, 2024, when Mr. Harvey's mother finally returned the child.

        As Ms. Current has a history of abuse from Mr. Harvey and Mr. Harvep continues to be a
threat to her and her children, she requests protections under VAWA. See attached VA WA
Certification. Additionally, Ms. Current was notified by HANO fraud investigation by a letter
dated on February 23, 2024, that she must verify the income, expenses, and other information of
participants for continued eligibility in the HCVP. This verification request includes Mr. Harvey
even though he does not reside at the home and is not a program participant. Ms. Current
produced her own information that was requested (i.e. tax transcripts and electric bills) by
bringing documentation to HANO on March 7, 2024. Hoívever, she is unable to comply with the
request to submit Mr. Harvey's information. Mr. Harvey does not reside in the unit. Ms. Current
does not knòw the whereabouts of Mr. Harvey, nor does she have any of his current contact
information.

                                 .    Request for Transfer

        Ms. Current also requests a transfer to another subsidized unit out of an imminent fear
that her or her children will be harmed. In accordance with VAWA, HANO allows tenants who
are victims of domestic violence, dating violence, sexual assault, or stalking to request an
emergency transfer from the tenant's current unit to anothèr unit. HANO ACOP 16.2.1.

       As explained above, Ms. Current has a history of abuse from Mr. Harvey that continues
to today. Ms. Current's stay away order is currently in place, but it does not actually keep Mr.
Harvey away. Ms. Current has also recentlý been the subject lof routine harassment by a
neighbor, Ms. Keisha Dominique. Ms. Dominique's son impregnated Ms. Current's thirteen-
year-old daughter and has been consistently harassing Ms. Current to get her daughter an
abortion. Ms. Dominique went as far as to give Ms. Current abortion pills for her daughter. Thus,
Ms. Current has an imminent fear that her or her children will be harmed, and continued to be
victims of harassment by the neighbor. Ms. Current requests an emergency transfer because her
present living situation is unsafe.
    Please contact me at (504) 407-1401 or tambeau@,slls.orgto let me know whether
HANO will grant this transfer request. If you need additional documentation or information,




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please let me know and I will provide this as soon as possible. I thank you in advance for your
prompt attention to this matter.

                                                            Sincerely,




                                                            Theresa Ambeau, J.D.
                                                       .    Paralegal, Housing Unit
                                                            Southeast Louisiana Legal Services
                                                            1340 Poydras St., Suite 600
                                      .                     New Orleans, LA 70112
                                                            Work phone: 504-407-1401
                                                            Fax: 504-596-2241
                                                            Email: tambeau@slls.org


Encl:                              •
   1. Order of Protection
   2. Orleans Parish Magistrate Court docket master
   3. VAWA Certification




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                                                              £0lilfslANA10NíRO11Sl?ABl]SEiPREVENTiON ORDER

                               Orde of Protection                                          °ª³ª°°°                         l9M MH
             O           Bel Restrictlon3/dónditions of Release
             O           Probation Contitions .                                             Item #                                ..              .
             8           Sentencing Orier
             O           Conditions of F afole
             O           Modified0rde
            Filed:               .           Clerk:

            PROTECTED PERS N                                                               PROTECTED PERSON IDENTIFIERS

            First           Middle/Maiden             1.ast              .                 calo of Dhth                          Race                  Sox: F sox: M


    .                                       State of Louisiana                         OR                  City of


                    FENDANh8 ÑANE                D D              E                                                                                                    .
                                                                 . •                        SEX           RACE             DOB                    HT           WT

                                              date        .            Last

            Defendant's Allas:                                                           . EVES           HAIR               SOCIAL SECURITY #


                                        6                                     o   .               DRNER'S LICENSE #               STATE                EXP DATE


             Cily    .                                   state           · Zip code



             THE COURT HERE Y FINDS:
             That it has jurisdiction over the parties and subject matter, and the defendant has been or will be provided with reasonable
             notice and opportunity be heard. Additional fíndings.of this court are as set forth on the following pages. .

             THE COURT HERE Y ORDER :                                                                                                                  .
             That the above-named defendant be restrained from committing further acts of abuse or threats of abuse, stalking or sexual
             assault. Additional ter s of this order are as set forth on the following pages.
              EXPlRATION: This rder shall be effective through 11:59 PM on                                 )..          LG'15                 . f"°° dª °ª
              ENFORCEMENT:                                                                                                                .
              This order shall be en rced, even without registration, by the courts of any state the District of Columbia, any U.S. Territory,
              and may be enforced by Tribal Lands (18 U.S.C. Section 2265).


        .     WARNINGS TO DEFE DANT
               Grossing state, territ rìal, or tribal boundaries to vlolate this or ler may result in federal imprisonment (18 U.S.C.
               S.ection 2262).             . -                                                  .
               Federal law provides penaltles for possessing, transporting, shipping, or receiving any firearm ór ammunition (18
               U.S.C. Section.92;!(g) .8)): See further notice on pages 5-0 of this Order.

                                                                              ÓNLY THE COURT CAN CHANGE THIS ORDER.
.                    .                                                                 Page 1 of 7                                            .            LPOR 17
                                                                                                                                                            v.14
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                                                                                                            Docket No. 6         f0




                                     .          · CRIMINAL.ORDER OF PROTECTION
       # of             Crimihal Charg.e             # of            Cñminal Charge                     # of            Criminal Charge
      counts                 (Gode #)       .       counts                    (Code #)                 counts               (Code #)


                 W.'65 .'6 K)


              STATE OF LCUISIANA                                   OR .                          CITY OF



      DEFENDANT'S NAM :


                   BAll REdTRICTIONS                                             SENTENCING ORDERS
                                                                                 PROBATl0N.CONDITIONS
                       Hearin was held                                    .      Right to counsel:
                                                                                      Defendant represented by counsel or waived counsel
                        No herring was held                                      Right to Jury trial:
                                                                                      Not appilcable under Louisiana law
                                                                                      Defendant tried by jury-or waived jury
                                                                                 CONDITIONS OF PAROLE                                             .

      The protected person(s) is related to the defendant as: (check allIhat apply)    .
           O 1. current or fårmer spouse                                     [7Í. current or former dating partner
           O 2. current or rmer intimate cohabitant                          O 2. parent, stepparent, or foster parent
           O 3. child, step ild, or foster child                             O 3. Grandparent or other ascendant
              O 4. child of de ndant's curfent or former intimate partner .              O 4. Grandchild or other descendant
              C 5. protected p rson and·.defendant have a child(ren) In                  C 5. child currently or formerly living wlth defendant
                  comrnon                                                       .
       E      Select ON13Y if CHARGE(S) include(s) stalking or sexual assault by stranger or acquaintance
              0 1. Strangdr./ r o relatlor!ship       C 2. Acquaintance·

                                         ONLY ORDERS INITIALED BY A JUDGE SHALl·. APPLY

                         THE OUitT FINDS THAT THE DEFENDANT REPRESENTS A CREDlBl'E THREAT OR DANGER TO THE
       F -               pay cat S3FETy 0F THE PROTECTED PERSONcS), HAS BEEN CHARGED WITH A CRIME AGAINST
                         A FA ILY MEMBER, HOUSEHOLD MEMBER OR DATING PARTNER AND/OR HAS BEEN CHARGED
                         WITH THE CRIME OF BATTERY OF A DATING PARTNER (R.S. 14:34.9, OR.0F DOMESTIC ABUSE
                         BAT RY (R.S. 14:35.3), OR OF STALKING (14:4Ò.2), OR OF CYBERSTALKING (R.S. 14:40.3), OR OF
                         VIOLATION OF PROTECTIVE ORDERS (R.S. 14:79), OR OF UNLAWFUL COMMUNICATION (R.S.
.                        14:28 ),·0R OF A SEXUAL ASSAULT (as defined in R.S. 46:2184), OR R.S. 46:1846 APPLIES. THUS,
                         THE bEFENDANT IS PROHlBlTED FROM POSSESSING A FIREARM PURSUANT TO LA. C.CR.P.                                                .
                         ARTidLE.313, AND/OR 320(H) AND THE COURT ISSUES THE FOLLOWING ORDERS:
                                WITHOUT.A HEARING                                 O AFTER A HEARING
                          THE DEFENDANT IS HEREBY ORDERED TO TRANSFER ANY AND ALL FIREARMS OWNBD OR
                          POSS)SSED; ANY CONCEALED HANDGUN RERMIT IS HEREBY SUSPENDED PURSUANT TO LA.
                        . C.CR , ARTICLE 4001 ET SEQ.· See timeframes and detalls on'page 6 of this Order.


                                                                    Page 2 of 7                                                        LPOR 17
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                                                                                               Docket No. ©550 $

                THIS RDER WAS1SSUED AFTER ACTUALNOTÍCE AND AN OPPORTUNITY TO PARTICIPATE IN A
                HEAR NG WAS .PROVIDED TO THE DEFENDANT. THE COURT FINDS THAT THE DEFENDANT
   --           REPR SENTS·A CREDIBLE THREAT OR DANGER TO THE PHYSICAL SAFETY OF THE.PROTECTED
                PER (S), HAS BEEN CHARGED WITH A CRIME AGAINST A FAMILY MEMBER, HOUSEHOLD
                MEM R OR:DATING PARTNER AND/OR HAS BEEN CHARGED WITH THE CRIME OF BATTERY.0F A
                DATI G PARTNER (R.S. 14i34.9, OR.0F DOMESTIC ABUSE BATTERY (R.S. 14:35.3), OR OF STALKING
                (14:40 2), OR OF'CYBERSTALKING (R.S. 14:40.3), OR OF VIOLATION OF PROTECTIVE ORDERS (R.S.
                14:79) OR OF UNLAWFUL COMMUNICATION·(R.S. 14:285), OR OF A SEXUAL ASSAULT (as defined in
                R.S. 4 :2184), OR R.S. 46:1846 APPLIES. THUS, THE DEFENDANT IS PROHlBITED FROM.POSSESSING
                A FIREARM PURSUANT TO LA. C.CR.P. ARTICLE 313, AND/OR 320(H) AND THE COURT ISSUES THE
                FOLLOWING ORDERS:              -
                THE FENDANT IS·HEREBY ORDERED TO TRANSFER ANY AND ALL FIREARMS OWNED OR
                POSS, SSED; ANY CONCEALED HANDGUN PERMIT IS HEREBY SUSPENDED PURSUANT TO LA.
                C.CR.P; ARTICLE 1001 ET SEQ. See further timeframes and details on page 6 of this Order.

                DEFE DANT HAS BEEN CONVlCTED OF A CRIME AGAINST A FAMILY MEMBÉR, HOUSEHOLD
                MEM ER OR DATING PARTNER AND/OR HAS. BEEN:CONV1CTED OF THE'CRIME OF BATTERY OF A
                DATI G PARTNER (R.S.14:34.9, OR OF DOMESTIC ABUSE BATTERY (R.S.14:35.3), OR OF STALKING
                (14: 2), OR·OF CYBERSTALKING (R.S.14:40.3), OR OF VIOLATION OF PROTECTIVE ORDERS (R.S.
                14:79) OR OF·UNLAWFUL COMMUNICATION (R.S. 14:28.5), OR OF A SEXUAL ASSAULT (as defined in
                R.S. 4 :2184), OR R.S. 46:1846 APPLIES.THE COURT FINDS'THAT THE DEFENDANT REPRESENTS A
                CREDIBLE THREAT OR DANGER TO THE PHYSICAL SAFETY OF THE PROTECTED PERSON(S), THUS
                THE lhEFENDANT IS PROHIBITED FROM.POSSESSING A F1REARM PURSUANT TO R.S. 14:95.10
                AN,DI 46:2136.3, AND/OR OTHER APPLICABLE LAW, AND THE COURT ISSUES THE FOLLOWING
                ORD :
                THE EFENDANT IS HEREBY.ORDERED TO TRANSFER ANY AND ALL FIREARMS OWNED OR
                POSS SSED; ANY CONCEALED HANDGUN PERMIT IS HEREBY SUSPENDED PURSUANT TO LA.
                C.CR. . ARTIC1E 1001 ET S$Q. See timeframes and details on page 6 of this order.


                        .          ONLY·0RDERS INITIALED BY A JUDGE SHALL APPLY

                 rn
                                                                        Name

              This pro ibition Incudes the use, attempted use, or threatened use of physical force that would reasonably be
              expecte to cause bodily injury.

          2. YOU A ORDEÂED NOT To contact the protected person personally, through a third party, or via public
             posting, y any niéans, including written, telephone, or electronic (text, email, messaging, or social media)
             commun cation.                                                        .
           . YOU AR ORDER D NOT To go within·                                                 (distance) of the protected person.       .

          4, YOU ARE ORDERED NOT TO contact the protected person's immediate farnily* personally, through a third
             party, or ' public,posting, by any me,ans, including written, telephone, or electronic (text email, messagi,ng, or
             social m dia) communication.('immediale family = spouse, mother; falhar, aunt, uncle, sibling, or child of the allender
               whetherr lated by blood, marriage, or adoption)
               YOU Af E ORDERED NOT To go within one hundred (100) yards of. the residence or household of the
               protected person. .
          6. YOU ARE ORDERED NOT To go to -the protected person's school, or the protected person's place of
             employ nt.
          7. THE C RT WILl, ALLOW                                                to return to the residence at a date and
             time to b determined by the protected person and law enforcement agency to recover his/her personal clothmg
             and necdssliies, pEovided that s/he is accompanied by a.law enforcement officer to ensure the protection and
             safety of he parties.                                                                                                          .
        O 8. THE CO RT ORDERS a representative of                                                                (Sheriffs office) to
             accõmp y                         to the residence located at
             to recov                                  Personal clothing and necessities.
                                                                 Page 3 of 7                                             LPOR 17
                                                                                                                         v.14
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             YOU        E ORDERED To páy the sum of $                         to the
             (Family lolence Prögram) no later than                       .                  (date)..           .

             YOU AÇE ORDER D TO enrollin a cou -monltored domestic abuse intervention program atlËith:
                                                                      and YOU ARË ORDERED TO uccessfully complete
             said p     ram no later than                         hanyh            Ö      S(0.

        11. YOU A E ORDERED TO submit to a court-approved course of counseling or therapy at/willf:
                 .           .                 .                         and YOU ARE ORDERED TO successfully
            complete said program no later tha.n    .            (date).

        12. YOU ARE ORDERED TO undergo a psychiatric evaluation at/with:
             nolater than                                                 (daie).

        13. YOU Ak,E ORDERED TO provide restitution to the victim of this crime for the pecuniary loss to said victim and/or
            for the Aosts incurred by theYiötim in connection with the griminal prosecution in the amount of $
            nólaterthan                    . (date).

        14, YOU ARE ORDERED TO wear an electronlö monitoring devide and be actively electronically monitored.
             Electror ic monitoring, conditions include:




  __ O 15    Oller:       .      . .              .                                      .




              YOU A       ORDERED TÓ RETURN TO COURT ON                                                             nonth/day/ycar)
         ·    AT                O'CLOCK.dt,_M.



   .    Date of Order                  Order effective through
                                            11:59PMon
                   .                                   - ·                        ATU                   G

       n. \ G                      .      G \ '5 \1JNL6                       TA        /               P41
       monIh/ day/yea                      monIh/ day /year .             PRINT         . 8 AMP JUDG S NA E




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                                 .                                                                        DocketNo.



  ViOLATION OF THIS ORDER MAY RESULT IN FORFEITURE OF BOND; REVOCATION OF PROBATION, A FINE dF UP
  TO $500 AND/OR 6 MONTRS·lMPRISONMENT.                                              .
  A PERSON WHO VlÓLATES THIS ORDER.MAY,BE IMMEDIATELY AlìRESTE.D, JAILED, AND PROSECUTED PURSUANT                                                       .
  TÓ LA. R;S. 14:79: ANDl0R 14W5.10, MAY BE.FINED ·UP·TO $5 000.00 AND IMPRISONED WITH OR WITHOUT HARD
  LABOR FOR UP TO FIVE·YEARS.                              .
   A PERSON WHO VIOLATES THIS ORDER MAY B.E FURT,HI R PÜNISHED UNDER OTHER CRIMINAL i AWS OF THE
   STATE OF LOUISIANA. .

                                            .. NUTÍÏEj , DE ENJ Ñ              I E       I OSSES ÖN                      ..      . ..     .
   AS A RESULT OF THIS ORDER, IT MAY BE UNLAW,FUL FOR YOU TO POSSESS, RECElVE, SHIP TRANSPORT OR
    PURCHASE A FIREARIVI, INCl UDING A RIFl E, PISTOL, OR.REVOLVER, OR·AMMUNITION, FOR THE DURATION
                  OF THIS ORDER OR LONGER, PURSUANT TO STATE AND/DR FEDERAL LAW.                                                                    .
           Èyou have any questions whether these faws make it illegal for.you to possess tir purchase a firearm or -
                                            ammunitión, consult an attórney.

   Federal law: 18 U.S.C. 922 (01f8) prohibits a defendant fron) purchasiríg, possessing, shlpping, ifansporting, or receiving
   firearms or ammunitìon* forthe duration of this order if the following conditions apply: ·
            - Victiril/protected persbn(s)' relationship to defendant is.checked in Box C on page 2 of.this order
                 AND
            - Notice and opporttinity for a hearing provided.(Box G or Box H.on page 3 of this order)
                       AND
    .          ..      EITHER Judicial finding of credible threat (Box G bfBox H on page 3 òf this order)
                       0_R Certaln behav ors are prohibited (item 1 on liage 3 of this order Is initialed)
    Pederal law: 18 U;S.C. 922 (q)h9) prohibits a 'defendant frórn purchasing, possessing, shipping, transpbrting, or receiving
    nrearms or amrnanltion* if the following conditions apply:
            - Defendant.has been CONVICTED bf a rnisdemeanòr crifne of domestic violenc
               ..        I t lprotecteri person(s)' relationship to defendant is checked in Box C on pa        2 of this order or Number 4 i
                        BorD òn page 2 of this.order.
    *18 U.S,C. 921: the toim"firearin.''rtneans (A) any weapon (including a.stèrlér gun) which will or is designed tò or may readily be
    converted to.expel a projectile bjáthe action of an explosive; (B) the frame or receiver of any such weapon; (C) any firearm
    mullier or firearm silencer; or (D) any destfuctive device. Such teim does not include an antique firearm. The ¼rm
    "ammunition" means ammunition'or cartridge cases, primers,.bullets;or propellant powder designed for use in any firearm.
    **18 U S.C. 921: the term "misifemeanor crime oÏdomestic violence" means an offense that is a misdemeanor under
    FederÃI, State orin T1|bal
    deadly weapoÑ              law; and
                         louisiana,     has, as ah element,·lhe
                                    a "misdemean°or             use or violence"
                                                    crime of domestic  allemptedmay
                                                                                 useinclude
                                                                                      of physical
                                                                                            R.8, force,
                                                                                                  14:35 or(siinple
                                                                                                             the threatened   use 35.3
                                                                                                                   ballery), R.S. of a
    (domestic abuse ballery), R.S. 14.9û (assault)½ll.S. 14:37 (aggravated assault), R.S. 14:38.(simple assault), R.S. 14:103 A)(1)
    (disturbing the peace by fistic encpunter) snd R.S. 14:103(A)(4) (disturbing the peace by engging in any.act in a vio nLor
  . lumultuous manner by any three or more persons). .                                                     . .
        Louisiana law: C.Cr.P Art. 320(H) prohibits the possession of a firearm* for the duration ofÀis order when issued as a bail
        restr et on. " .                                      .                              - .               .
           AND
                        RS 14:9510 prohibits possession of a.firearrn* òr carrying of a concealed.wea on by a defendant
         0 GTED f do stic abuse battery·(R.S. 14:35.3), battery of a dating partner If the battery involves strangulation. or.
        burning, and second and subsequent convictiorys of batt6ry of·a dating partner (R.S. 14:34.9) -

               Defendant was represented by·counsel in the case of.kríowingly ar intelligently waived the right to counsel in the case
               (item in Box B.on page 2 is.checked)                                                      ..        .
             - D fendant, if entitled to a· trial by jury in the case, was tried by a jury or knowir gly and.intelligently waived the right to be
                    tried·by a jury, by guilty plea or otherwis.e (ltem in Box B on page 2 is checked).
            AND


                             .                 .      . .                Page50f7                                                       LPOR17
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                                                                                                         DockelNo.
    Louisiana law: R:S. 46:2136.3 prohibits the pössession of a fireárm* for the . duration of this order if both of the following
    occul:              ·
        - The order.includes a finding that the person subject to the order represents a credible threat to the physical safety of the
          protected person(s) (Box H on page 3 of this order) and the protected person(s}is a faniity or household member or
          dating partner
             AND                .                                                    .
        - The order Informs the person subject to the order that the person is prohibited from possessing a firearm pursuant to the
             provlsions of 18 U.S.C. 922(g) (B) and R.S. 46:2136.3.
    AND
    Louisiana Law: R.S. 46:1846 prohibits the possession of a firearm* for the duration of this order if:
       - The defendant has been charged by bill·of infomiationlindictment with any crime of violence, any felony sex offense or
          any felony human trafficking-related offense as defined in R.S. 46:1844(W), or any offense that is a felony committed
          upon a:famlly member, household member, or dating partner or any immediate family member of such person.
             OR                                                                                                       ;.
        - The defendant has been sentenced or found not guilty by reason of insanity for a crime of violence ny felony sex
           offense.or any felony human trafficking-related offense as defined in R.S. 46:1844(W), or any offense that is a felony
           commltled-upon a family member, household member, or dating partner or any immediate family member of such
           person.
             AND                .                                                                .
       - The defendant is prohibited from comrnunicating with a person listed above.
    AND
    Louisianalaë R;S.14:40.2 (F)(5) (crime of stalking) prohibits the possession of a firearm*for the duration of this order.
    *Under these statutes, "firearm" means any pistol,.revolver, rifle, shotgun, machine gun, submachine gun, black powder
  - weapon, or assault·rifle which is designed to fire or is capable of fi.ring fixedgartridge ammunillon or from which a shot or
    projectile is discharged by an explosive.



                                      AfiiMSUsÈÈ! UfdhiòFiddlllÜfÅl EDWNNÉfd.lflNIPERMIT.·.
             AS AFRES.ULT OF THIS ORDER, YOU MAY BE REQUIRED TO TRANSFER ANY AND ALL FIREARMS
             OWNED OR POSSESSED BY YOU AND SURRENDER YOUR CONCEALED HANDGUN PERMIT
     Louisiana law: C.Cr.P. Art. 1001 et seq. requires the transfer of all firearms owned or possessed and the suspension of a
     concealed haridgun permit:
        - When a 15erson is convicted of domestic abuse battery (R.S.14:S5.3), second or subsequent conviction of battery of a
             dating partner (R.S. 14:34.9), battery of a dating partner that involves strangulation (R.S. 14:34.9(K)), battery of a dating
             partner when the offense involves buming (R.S.14:34.9), domestic abuse aggravated assault (R.S. 14:37.7), aggravated
             assault upon i dating partneF(R;S. 14:34:9.1), or any felony crime of violence enumerated or definedin R.S. 14:2(B) for
             which a person would be prohibited from possessing a firearm pursuant to R.S. 14:95.1 and either has as an element
             of the crime that the victim was or the victim has been determined to be a family member, household member, or dating
             partner; possession of a firearm or carrying a concealed weapon by a person convicted of domestic abuse battery and
             certain offenses of battery of a dating partner (R.S. 14:95.10).
          OR          .
        - When a person is subject to a Uniform Abuse Prevention order issued pursuant to C.Cr.P. Articles 30, 320, or 871.1.
          OR
        - When a personls subject to a Uniform Abuse Preventlon Order that includes terms prohibiting possession of a tirearm or
          carrying a coiieealed weapon. ·
     Firearms transfer shall occur within 48 hours, exclusive of legal holidays, if firearrns are sold or transferr.ed prior to issuance of
     transfer order,you must provide a proof of transfer form signed by the receiver and a witness, within 10 days.


     I have read and fully understand all conditions of this order.



      DATE                                                             .    IGNATURE OF DEFENDAW                                               .



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             ThÁ issuing court certifles that it has JurÉdictión oye).ihe p les ilnd liie subject matter under the laws of the State of .
             Loulslana; that thb defendant was given reasonable notice and an opportunity to be beard sufficient to protedt the defendant's
              right to due process before this order was issuedpar if thé ordei was issued ex parfe, the court ordered that the defendant be
..            glVen reasonable notice andarí opportunity-to be heard within the tirne regulred by the laws of the State of Louisiana, and in
             .any event, within a reasoriable time after the order was issued, sufficient to protect the defendhnt's due process rights.
             lHIS ORDEli SHALL BG PRESUMED VALíD AND ENFORCEABLE IN ALL 50 STATES, THE DISTRio 0F COLUMBIA,                                                                        .
             TRIBAL LANDS,.U.S. TERRITORIES, AND COMMONWEALTHS..                           .

                                                                                                .         SIGNATURE F J                    E


     .                   .          .    .                           -. ·                                 PRINT 0 ST          P UDGE'S ÑAME

                                                                                                                                                                           a

                                                                                                                                                                                       e




               Pursuant to .il.S.-14:79, the crinie of v olation of protectNe orders - you shall use every reasonable means,
               includirig but not litùited.to Ínimediate arrest of the violator, tó enforce this order. Further, you shall at a minimum
               issue a summons to.the persoitin violation.         .                     .
               Pursuánt to.La. R.S. 4G:2140(A), if you làVe reason to beJIève that a family or houseltoid n ember ör bating partner
         .     has been abused AND the al)using paily is in violation of this order, you SHALL 1mrnediately arrest the abusins
               party.                                                                                                  .



             De e                t provided wl h cop          this order on:       .                                  (Date




                    Print Name                                                                 Agericy                                                             .




                                                                                                                                                                                           a




 .            Eaxed at electronicaly transmitted·to the Loüislana Protective.order Registry                                                    .
              DATE           ·               .        ólERK                                                                                                                    .

                                                                     EAX'àóNiPLETED.ORDERS TO 888-568-4558                                         ..        .         .
              C ples.io: 1) Cócrt file .2) Protected Person 3) Defendant 4) Reportinglinvestigallag Law Enforcement Agency .5) Clilef Law Enforcemen! Official of
                                  the parish where ihè protected person(s) resides e) Sheriff of the parts!1where the defendant resides 7) ProsecutinD Attorney al La. DapL of
                     .            Public Safety & Corrections (D,Ps&O) 9) Committee on Parole, La. DPS&C 10) Louisiana Protectíve Order Registry .


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    3/5/24, 6:44 AM                                            OPCSO Criminal District Court Docket Master

      MAG#: 607037                       D 0 C K E T        M A S T E R                   Date: 03/04/2024
                                                                                          Time:   15:12:09
                                     ORLEANS PARISH MAGISTRATE COURT

      ==============================================================================
            DEFENDANT(S):              CNTS CHARGE(S):
      ==============================================================================
         . HARVEY, JESSIE C
                                          1   RS 14 37 A                             BOND:                   0.00
                                              AGG ASSAULT
            HARVEY, JESSIE C                                                  .
                                          1   RS 14 35.3(L)               BOND:      10,000.00
                                              DOMESTIC ABUSE BATTERY INV STRANGULATION
            HARVEY, JESSIE C
                                          1   RS 14 35.3(I)               BOND:                      10,000.00
                                              DOMESTIC ABUSE CHILD ENDANGEMENT LAW

      ==============================================================================
        DATE     PROCEEDINGS
      ====================================================-----=====================
      09/23/2023                                                                DESALV0E *
                        FIRST APPEARANCE HEARING IN MAGISTRATE COURT SECTION M3  .      .
                       •BOND SET FOR $28,000.00
                        RESULT-RULE TO SHOW CAUSE FOR 11/22/2023 AT 3:00 PM
                        SCHEDULED -RULE TO SHOW CAUSE ON 11/22/2023 AT 3:00 PM, SECT M4
                        SCHEDULED -HEARING ON DOMESTIC MATTER ON 10/17/2023 AT 3:00 PM,
                       SECT M3
                  THE DEFENDANT APPEARED FOR FIRST APPEARANCE HEARING.
                  THE COURT APPOINTED OPD TO REPRESENT THE DEFENDANT.
                  IF THE DEFENDANT MAKES BOND, HE/SHE MUST FILL OUT AN
                  APPLICATION WITH OPD TO REQUALIFY FOR REPRESENTATION.
                  PROBABLE CAUSE WAS FOUND.
                    THE COURT ISSUED A DOMESTIC STAY AWAY ORDER IN THIS MATTER
                  THE COURT INFORMED THE DEFENDANT OF THE CONDITIONS OF THE
                  ORDER ON THE RECORD
                  BOTH THE COURT AND THE DEFENDANT SIGNED THE STAY AWAY AND A
                  COPY WAS PLACED IN THE RECORD
                  THE DEFENDANT ON THE RECORD ACKNOWLEGED THE CONDITIONS OF THE
                  STAY AWAY ORDER AND WAS PROVIDED A COPY BY THE OPCSO
                  THIS PROTECTIVE ORDER SHALL REMAIN IN EFFECT UNTIL THE
                  DISPOSITION OF THIS CASE
                  AS. PER 14:95.10 AND 46:2136.3 THE DEFENDANT REPORTED THAT          .
                  THEY POSSESS NO FIREARMS OR AMMUNITION AS OF THIS DATE
                  THE APPROPRIATE FORMS WERE COMPLETED BY THE COURT AND .THE
                  DEFENDANT AND COPIES WERE PLACED IN THE RECORD
                  THE OPCSO WAS NOTIFIED AS WELL
                  THE,DEFENDANT STATED ON THE RECORD THAT HE DOES NOT OWN OR
                  POSSESS A FIREARM.
                  THE DEFENDANT MUST REPORT TO THE COURTS DOMESTIC VIOLENCE
                  MONITORING PROGRAM AS A CONDITION OF ANY BOND THE DEFENDANT
                  DUE TO THE CARONAVIRUS THE DEFENDANT WAS ORDERED TO CALL THE
                  PROGRAM UPON RELEASE
                  THE DEFENDANT WAS PROVIDED WITH A PHONE NUMBER TO CALL UPON
                  RELEASE TO ENROLL IN THE PROGRAM.
                  AS A CONDITION OF BOND, THE DEFENDANT MUST BE RELEASED ON A GPS
                  ANLKE MONITOR WITH A KEY FOB FOR THE VICTIM.
       10/05/2023                                                            DESALVOE *
                   FILING(5) IN OPEN COURT IN MAGISTRATE COURT SECTION MS
                  SCHEDULED -BOND REDUCTION HEARING ON 10/10/2023 AT 3:00 PM, SECT
                         M3
                        THE DEFENSE FILED A MOTION.TO REDUCE BOND.
       10/10/2023                                                                                   DESALV0E *

.    https://www.opso.us/index.php?option=com_wrapper&view=wrapper&ltemid=738             DoclD:de05cc05375a7e2d84d3dca5a15f7ciacf2bNb2
                  Case 2:24-cv-01883-SSV-EJD Document 3-4 Filed 07/29/24 Page 89 of 127
3/5/24, 6:44 AM                                               OPCSO Criminal District Court Docket Master
                   BOND REDUCTION HEARING IN MAGISTRATE COURT SECTION M3
                   THE COURT DENIED THE MOTION TO REDUCE BOND.
  10/24/2023                                                          MAQUARM *
             UNSCHEDULED ACTIVITY IN MAGISTRATE COURT SECTION M3
             DEFENDANT IS NOT COMPLIANT WITH COURTS BOND CONDITIONS AND THE
             COURT ISSUED A NO BOND ALIAS CAPIAS
  10/27/2023                                                          SMITHROY
             FILED ARREST ON CAPIAS NOTIFICATION, DATE OF ARREST 10/24/23. FAOC
             N FOR 10/31/2023. PDOJL.
  10/31/2023                                                          MAQUARM *
             FILED ARST ON CAP NOTIFICATION IN MAGISTRATE COURT SECTION M3
             MOOT THE CASE HAS BEEN ACCEPTED IN SECTION B AND THIS COURT
             HAS NO JURISDICTION
  ==============================================================================
                                 END OF DOCKET MASTER
  =============---============------===----    ======     ======================

  Disclaimer:
  The Orleans Parish Sheriff's Office provides computer services to both the Orleans Parish Clerk of Criminal District Court and the Orleans
  Parish Criminal District Court. The Orleans Parish Sheriff's Office DOES NOT maintain or ensure the information provided is complete
  and accurate, and this information can change quickly. Therefore, the information on this site may not reflect the true charges, status, next
  court date, or other information regarding a case. The information is provided as a request under the Freedom of Information Act, and the
  Public Records Act. Nothing contained herein is intended to imply or infer the guilt or wrongdoing of any person(s)1isted on this site. This
  information shall not be considered, or used as, a public document, or official document, and no other publication or copying of this
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  For questions, comments, and other information you may contact the Orleans Parish Clerk of Criminal District Court, Records Division at
  (504) 658-9000. This information is made available to the public and law enforcement in the interest ofpublic safety. Any unauthorized
  use of this information is forbidden and subject to criminal prosecution.




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    CERTIFICATION OF      U.S. Department of Housing                               OMB Approval No. 2577-0286
    DOMESTIC VIOLENCE,     and Urban Development                                              Exp. 06/30/2017
    DATING VIOLENCE,
    SEXUAL ASSAULT, OR STALKING,
    AND ALTERNATE DOCUMENTATION
    Purpose of Form: The Violence Against Women Act ("VAWA") protects applicants, tenants, and
    program participants in certain HUD programs from being evicted, denied housing assistance, or
    terminated from housing assistance based on acts of domestic violence, dating violence, sexual assault, or
    stalking against them. Despite the name ofthis law, VAWA protection is available to victims of domestic
    violence, dating violence, sexual assault, and stalking, regardless of sex, gender identity, or sexual
    orientation.
    Use of This Optional Form: Ifyou are seeking VAWA protections from your housing provider, your
    housing provider may give you a written request that asks you to submit documentation about the incident
    or incidents of domestic violence, dating violence, sexual assault, or stalking.

    In response to this request, you or someone on your behalfmay complete this optional form and submit it
    to your housing provider, or you may submit one of the following types of third-party documentation:

      (1) A document signed by you and an employee, agent, or volunteer of a victim service provider, an
      attorney, or medical professional, or a mental health professional (collectively, "professional") from
      whom you have sought assistance relating to domestic violence, dating violence, sexual assault, or
      stalking, or the effects of abuse. The document must specify, under penalty ofperjury, that the
      professional believes the incident or incidents of domestic violence, dating violence, sexual assault, or
      stalking occurred and meet the definition of "domestic violence," "dating violence," "sexual assault," or
      "stalking" in HUD's regulations at 24 CFR 5.2003.
      (2) A record of a Federal, State, tribal, territorial or local law enforcement agency, court, or
      administrative agency; or
      (3) At the discretion of the housing provider, a statement or other evidence provided by the applicant or
.     tenant.

    Submission of Documentation: The time period to submit documentation is 14 business days from the
    date that you receive a written request from your housing provider asking that you provide documentation
    of the occurrence of domestic violence, dating violence, sexual assault, or stalking. Your housing
    provider may, but is not required to, extend the time period to submit the documentation, if you request an
    extension of the time period. Ifthe requested information is not received within 14 business days of when
    you received the request for the documentation, or any extension of the date provided by your housing
    provider, your housing provider does not need to grant you any of the VAWA protections. Distribution or
    issuance of this form does not serve as a written request for cértification.

    Confidentiality: All information provided to your housing piovider concerning thé incident(s) of
    domestic violence, dating violence, sexual assault, or stalking shall be kept confidential and such details
    shall not be entered into any shared database. Employees of your housing provider are not to have access
    to these details unless to grant or deny VAWA protections to you, and such employees may not disclose
    this information to any other entity or individual, except to the extent that disclosure is: (i) consented to
    by you in writing in a time-limited release; (ii) required for use in an eviction proceeding or hearing
    regarding termination of assistance; or (iii) otherwise required by applicable law.




                                                                                                   Form HUD-5382
                                                                                                         (12/2016)

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TO BE COMPLETED BY OR ON BEHALF. OF THE VICTIM OF DOMESTIC VIOLENCE
DATING VIOLENCE, SEXUAL ASSAULT, OR STALKING

1. Date the written request is received by victim:         3/7/2024

2. Name of victim:      Tiffanie Current

3. Youï· name (if different from victim's)i_Theresa Ambeau (paralegal, Southeast Louisiana Legal
Services)

4. Name(s) of other family member(s) listed on the lease: Jessica Harvey, Jessie Harvey, Janiah
Current, Destiny Rivers     .

5. Residence of victim: 7564 Forest Glen Rd., New Orleans, LA 70127

6. Name of the accused perpetrator (if known and can be safely disclosed)r Jessie C. Harvey .
Sr.                                       .

7. Relationship of the accused perpetrator to the victim: ex-boyfriend

8. Date(s) and times(s) of incident(s) (if known):      September 2023


10. Location of incident(s):       7564 Forest Glen Rd., New Orleans, LA 70127                             .
 In your own words, briefly describe the incident(s):
   Mr. Harvey attempted to break windows and break down Ms. Current's door. Ms. Current called the
 police, Mr. Harvey was arrested, and Ms..Current.sought a stay away order against Mr.
 Harvey.



This is to certify that the information provided on this form is true and correct to the best ofniy knowledge
 and recollection, and that the individual named above in Item2 is or has been a victim ofdomestic violence,
 dating violence, sexual assault, oi· stalking. I acknowledge that submission of false information could
jeopardize program eligibility and could be the basis for denial of admission, termination of assistance, or
 eviction.

Si a     e                                              Signed on (Date) 03 / 07 / 2024

Public Reporting Burden: The public reporting burden for this collection of information is estimated to
average 1 hour per response. This includes the time for collecting, reviewing, and reporting the data. The
information provided is to be used by the housing provider to request certification that the applicant or
tenant is a victim of domestic violence, dating violence, sexual assault, or stalking. The information is
subject to the confidentiality requirements of VAWA. This agency may not collect this information, and
you are not required to complete this form, unless it displays a currently valid Office of Management and
Budget control number.




                                                                                             Form HUD-5382
                                                                                                   (12/2016)

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                                          .   Tiffanie Current - VAWA Request and Request for Transfer
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status                                        • Signed                                        .


Document History

                         03 / 07 / 2024       Sent for signature to Tiffanie Current
      SENT               14!20:05 UTC-6       (currenttiffanie371@gmailiöm) from taubert@slls.org
                                              IP: 99.21.204.251



                         03 / 07 / 2024       Viewed by Tiffanie Current (currenttiffanie371@gmail.com)
         swer>           15:27:19 UTC-6       IP: 172.59.109.34                                            .



                         03 / 07 / 2024       Signed by Tiffanie Current (currentt ffanie371@gma .com)
     s enso              15:29:24 UTC-6       IP; 172.59.109.34



                         03 / 07 / 2024       The document has been completed.
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     .                    m um su a 6 O U T H EA S T L O U I S I AN A                                           PLAINTIFF'S .
                                             LEGAL SERVICES                                                         EXHIBIT
                                             Free legal Aid for Low-lricorne Peop-le

                        Baton Rouge, Covington, Hammond, Harvey, Houma, New Orleans

   1340 Poydras St. Suite 600 • New Orleans, Louisiana 70112 • Telephone: (504) 529-1000 •         Fax: (504) 596-2241
                       www.slls.org • www.louisianalawhelp.org • http://tinyarl.com/sllsfacebook


                                                                                             Tuesday, June 4, 2024

Pradip Singh
Housing Authority of New Orleans
4100 Touro Street
New Orleans, LA 70122
504-670-3344
psingh@hano.org

Chris Dalton                   .                                                                         o
Housing Authority of New Orleans
4100 Touro Street
New Orleans, LA 70122
504-670-3320
cdalton@hano.org

Monica New
Housing Authority ofNew Orleans
4100 Touro Street
New Orleans, LA 70122
504-670-3398
mgonleh@hano.org

By Electronic Mail and First Class Mail

               Re: Updated VAWA Request for Transfer - Ms. Tiffanie Current

Dear HANO staff:
        I represent Ms. Tiffanie Current, who participates in the Housing Choice Voucher
Program. Last night, my client was physically injured by her abuser because she has been unable
to move. He showed up to her home and assaulted her. HANO is aware her abuser knows where
she lives and that he has made threats, and now those threats have become reality. HANO is also
aware that Ms. Current needs a transfer of her unit due to domestic violence. HANO requested
documentation for her informal hearing by June 3, 2024, which I submitted on her behalf on May
24, 2024. Ms. Current still has not received anything from HANO. I write on Ms. Current's
behalf to urgently request a transfer to another subsidized unit. Ms. Current is in imminent fear
that she or her children will be harmed, and her present living situation is unsafe.




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        The Violence Against Women Act (VAWA) provides that an otherwise qualified
participant in a covered housing program may not be terminated from participation in the
program on the basis that the applicant or tenant is or has been a victim of domestic violence,
dating violence, sexual assault, or stalking. 34 U.S.C.A. § 12491(b)(1). HUDNotice PIH 2017-
08 notes that, "On the surface, adverse factors may appear unrelated to domestic violence . . . and
may present legitimate reasons for denial, termination, or eviction. However, the presence of an
adverse factor may be due to an underlying experience of domestic violence, . . . An adverse
factor may be present during much of an abusive relationship, or it may present itself only when
a victim is attempting to leave, or has left, the abusive relationship."

        As you know, Ms. Current is an'ongoing victim of domestic violence by her ex-
boyfriend, Jessie Harvey Sr. On March 7, 2024, I submitted a letter with a VAWA Request and
Request for Transfer on behalf of Ms. Current. With the letter I attached Ms. Current's protective
order, docket master search showing Mr. Harvey's arrests in September of 2023, and Ms.
Current's signed VAWA certification HUD Form 5382. We also appeared for an informal
hearing at the HANO office on April 1, 2024 in which Ms. Current testified about her history of
being a victim of domestic violence, and explained that Ms. Current needs a unit transfer because
Mr. Harvey still knows where Ms. Current resides.

         On the night of June 3, 2024, Mr. Harvey showed up to Ms. Current's residence at 7564
Forest Glen Rd., New Orleans, LA 70127. Mr. Harvey proceeded to beat Ms. Current's face until
she was bruised and swollen. See photo. At some point, Mr. Harvey had been shot. Ms. Current's
cousin witnessed the incident and called the police. When police arrived, Mr. Harvey was
arrested and Ms. Current made a police report. Ms. Current has not yet received the police report
at this time. Mr. Harvey's information has not appeared in Orleans Parish Docket Master, likely
because he is receiving medical treatment before he can be booked into the jail. I will be sure to
submit his booking information and the police report as soon as I get them.

         Ms. Current again requests a transfer to another subsidized unit out of an imminent fear
that her or her children will be harmed. See attached VA WA Certification HUD Form 5383. In
accordance with VAWA, HANO allows tenants who are victims of domestic violence, dating
violence, sexual assault, or stalking to request an emergency transfer from the tenant's current
unit to another unit HANO ACOP 16.2.1. As explained above and as explained in my former
letter, Ms. Current has a history of abuse from Mr. Harvey that continues to today. Ms. Current's
protective order is currently in place, but as evidenced by the events of June 3, 2024, it does not
actually keep Mr. Harvey away. Ms. Current urgently requests an emergency transfer because
her present living situation is unsafe. The longer she resides in her unit, the longer her and her
children's lives are in danger.

        Please contact me at (504) 407-1401 or tambeau@,slls.org to let me know whether
HANO will grant this transfer request. If you need additional documentation or information,
please let me know and I will provide this as soon as possible. I thank you in advance for your
prompt attention to this matter.
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                                               Sincerely,




                                               Theresa Ambeau, J.D.
                                               Paralegal, Housing Unit
                                               Southeast Louisiana Legal Services
                                               1340 Poydras St., Suite 600
                                               New Orleans, LA 70112
                                               Work phone: 504-407-1401
                                               Fax: 504-596-2241
                                               Email: tambeau@slls.org

Encl:
        (1) Photo of Ms. Current
        (2) VAWA Certification HUD Form 5383
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    EMERGENCY TRANSFER       U.S. Department of Housing                           OMB Approval No.2577-0286
    REQUEST FOR CERTAIN        and Urban Development                                         Exp. 06/30/2017
    VICTIMS OF DOMESTIC
    VIOLENCE, DATING VIOLENCE,
    SEXUAL ASSAULT, OR STALKING
    Purpose of Form: Ifyou are a victim of domestic violence, dating violence, sexual assault, or stalking,
    and you are seeking an emergency transfer, you may use this form to request an emergency transfer and
    certify that you meet the requirements ofeligibility for an emergency transfer undër the Violence Against
    Women Act (VAWA). Although the statutory name references women, VAWA rights and protections
    apply to all victims of domestic violence, dating violence, sexual assault or stalking. Using this form does
    not necessarily mean that you will recéive an emergency transfer. See your housing provider's
    emergency transfer plan for more information about the availability of emergency transfers.
    The requirements you mustineet are:

            (1) You are a victim ofdomestic violence, dating violence, sexual assault, or stalking.
            If your housing provider does not alieady have documentation that you are a victiin of
            domestic violence, dating violence, sexual assault, or stalking, your housing provider may
            ask you for such documentatiori. In response, you may submit Form HUD-5382, or any
            one ofthe other types ofdocumentation listed on that Form.
            (2) You expressly request the emergency transfer. Submission of this form confirms
            that youhave expressly requested a transfer. Your housing provider may choose to require
            that you submit this form, or may accept another written or oral request. Please see your
            housing provider's emergency transfer plan for more details..
            (3) Youieasonably believe you are threatened witl imminent harm from further
            violence ifyou remain in your current unit. This means you have a reason to fear that
            ifyou do not receive a transfer you would suffer violence in the very near future.
            OR

            You are a victim of sexual assault and the assault occurred on the premises during
            the 90-calendar-day period before you request a transfer. If you are a victim ofsexual
            assault, then in addition to qualifying for an emergency transfer because you reasonably
            believe you are threatened with imminent harm from further violence ifyou remain in your
            unit, you may qualify for an emergency transfer if the sexual assault occurred on the
            premises of the property from which you are seeking your transfer, and tlyat assault                            .
.           happened within the 90-calendar-day period before you submit this form or otherwise
            expressly request the transfei.

    Submission of Documentation¼ If you have third-party documentation that demonstrates why you are
    eligible for an emergency transfer, you should submit that documentation to your housing provider ifit is
    safe for you to do so. Examples ofthird party documentation include, but are not limited to: a letter or
    other documentation from a victim service provider, social worker, legal assistance provider, pastoral
    counselor mental health provider, or other professional from whom you have sought assistance; a current
    restraining order; a recent court order or other court records; a law enforcement report or records;
    communication records from the perpetrator ofthe violence or family members or friends ofthe
    perpetrator ofthe violence, including emails, voicemails, text messages, and social media posts.


                                                                                                Form HUD-53 83
                                        .                                                             (12/2016)




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                                                                                                                       2

Confidentiality: All information provided to your housing provider concerning the incident(s) of
domestic violence, dating violence, sexual assault, or stalking, and concerning your request for an
emergency transfer shall be kept confidential. Such details shall not be entered into any shared database.
Employees ofyour housing provider are not to have access to these details unless to grant or deny VAWA
protections or an emergency transfer to you. Such employees may not disclose this information to any
other entity or individual, except to the extent that disclosure is: (i) consented to by you in writing in a
time-limited release; (ii) required for use in an eviction proceeding or hearing regarding termination of
assistance; or (iii) otherwise required by applicable law.                                                   .
TO BE COMPLETED BY OR ON BEHALF OF THE PERSON REQUESTING A TRANSFER

1. Name of victim requesting an emergency transfer: ÚÑ¾ o                       b vvd
2. Your name (if different from victim's)         bVesL b/v1 ¼ ( p e n                                              © 34   Ld3 * ^8-
3. Name(s) of other family member(s) listed on the lease:              5 CA    40/                                 e-< v
7€ ktä k            (a vvwf De‰                O vA s                                J a5

4. Name(s) of other family member(s) who would transfer with the victim:               4W tA.


5. Address oflocation from which the victim seeks to transfer: 1                            0

6. Address or phone number for contacting the victim:                   5o                      - 4 6 T/

7. Name of the accused perpetrator (if known and can be safely disclosed):                       55
8. Relationship of the accused perpetrator to the victim:             LW h odd
9. Date(s), Time(s) and location(s) of incident(s):              .A½     ½ .      o7 9            Í (A tdM
 CtÅ-- Y 6M4AMo

  10. Is the person requesting the transfer a victim of a sexual assault that occurred in the past 90
  days on the premises of the property tYom which the victim is seeking a transfer? If yes, skip
. question 11. If no, fill out question 11.

11. Describe why the victim believes they are threatened with imminent harm from further
violence if they remain in their current unit.
   sz/g      tvr5 uM&L e                 chevH        a      y    a»L    ‰ascl upts                   his.       c.uvyet



 OJUs     3 w d€¼,                    C Ws4to       AM            S    Chvad f'
12. If voluntarily provided, list any third-party documentation you are providing along th this
notice: pck i tA iMs. twds h                            pewd          o‰ ëepM cwel                    ke+     S+*v 9
This is to certify that the information provided on biis form is tive and correct to the best ofmy knowledge, •
and that the individual named above in Item 1 meets the requirement laid out on this form for an emergency
transfer. I acknowledge that submission offalse information couldjeopardize program eligibility and could
 be the basis for denial ofadmission, termination of assistance, or eviction.
  .
 Signature                st/À                         .
                                                      Signed  on (Date) 06 / 04 / 2024
                                                                                                      Form HUD-5383
                                                                                                            (12/2016)




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         NOTICE OF OCCbPANCY RIGNfS UNDER                              U.S. Department ofHousing and Urban Development
         THE VIOLENCE AGAINST WOMEN ACT                                                   OMB Approval No. 2577-0286




               Notice of OccupancV Rights under the Violence Against Wornen Actl

        To all Tenants and Applicants
        The Violence Against Women Act (VAWA) provides protections for victims of domestic violence, dating violence,
        sexual assault, or stalking. VAWA protections are not only available to women, but are available célually to all
        individuals regardless of sex; gender identity, or sexual orientation 2 The U.S. Department ofHousing and Urban
        Development (HUD) is the Federal agenoy that oversees that HANO's Housing Choice Voucher Program (HCVP) is
        in compliance with VAWA. This notice explains your rights under VAWA. A HUD-approved certification form is
        attached to this notice. You can fill out this form to show that you are or have been a victim ofdomestic violence,
        dating violence, sexual assault, or stalking, and that you wish to use your rights under VAWA."
        Protections for Applicants
        Ifyou otÈerwise qualify for·assistance under HCVP, you cannot be.denied admission or denied assistance because
.       you are or have been a victim ofdomestic violence, dating violence, sexual assault, or stalking.
         Protections for Tenants
        .Ifyou are receiving assistance under HCVP, you may.not be denied assistance, terminated from participation, or be
         evicted from your rental housing because you are or have been a victim ofdomestic violencq, dating violence, sexual
         assault, or stalldng. .
        Also, ifyou or an affiliated individual ofyours is or has been the victim ofdomestic violence, dating violence, sexual
        assault, or stalking by a member ofyour household or any guest, you may not be denied rental assistance or occupancy
        rights under HCVP solely on the basis ofcriminal activity directly relating to that domestic violence, dating violence,
        sexual assault, or stalking.         .
        Affiliated individual means your spouse, parent, brother, sister, or child, or a person to whom you stand in the place
        ofa parent or,guardian (for example, the affiliated individual is in your care, custody, or control); or any individual,
        tenant, or lawful occupant living in your household.
        Removing the Abitser or Perpetrator from the Household                                .
        The HousingProvider(HÉ)may divide (biftircate) yourlease in order to evict the individual orterminate the assistance       .
        ofthe individualwho.has engaged in criminal activity(the abuser orperpetrator) directly relating to domestio violence,
        dating violence, sexual assault, or stalking.
        IfHP chooses to remove the abuser or perpetrator, BP may not take away the rights ofeligible tenants to the unit or
        otherwise punish the remaining tenants. Ifthe evicted abuser or perpetrator was the sole tenant to have established
        eligibility for assistance under the program, HP must allow the tenant who is or has been a victim and other household
        members to remain in the unit for a period oftime, in order to establish eligibility under the program or under another
        EUD housing program covered by VAWA, or, find alternative housing.




         I Despite the name ofthis law, VAWA protection is available regardless of sex, gender identity, or sexual
        orientation.
        2 Housing providers cannot discriminate on the basis ofany protected characteristic¿ including race, color, national
        origin; religion, sex, familial status, disability, or age. HUD-assisted and HUD-insured housing must be made
    •   available to all otherwise eligible individuals regardless ofactual or perceived sexual orientation, gender identity, or
        marital status.                                                                                                        .

        Form HUD-5380                                                           .                                          1 of4       .
        (12/2016)



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In removing the abuser or perpetrator from the household, HP must follow Federal, State, and local eviction
procedures. In order to divide a lease, HP may, but is not required to, ask you for documentation or certification of
the incidences ofdomestic violence, dating violence, sexual assault, or stalking.

MovingIo Another Unit
Upon yourrequest, HP may permit youto move to another unit, subject to the availability ofother units, and still keep
your assistance. In order to approve a request, HP mây ask you to provide documentation that you are requesting to
move because of an incidence of domestic violence, dating violence, sexual assault, or stalking. If the request is a
request for emergency transfer, the housing prövider may ask you to submit a written request or fill out a form where
you certify that you meet the criteria for an emergency transfer under VAWA. The criteria are:
          (1) You are a victim of domestic violence, dating violence, sexual assault, or stalking. Ifyour
          housing provider does not already.have documentation that you are a victim ofdomestic violence,
          dating violënce, sexual assault, or stalking, your housing provider may ask you for such
          documentation as described in the documentation section below;
          (2) You expressly request the emergency transfer. Your housing provider may choose to reqüire
          that you submit a form, or may accept another written or oral request;
      .   (3) You reasonably believe you are threatened with imminent harm froni further violence if
          you remain in your current unit. This means you have a resison to fear that ifyou do not receive
          a transfer you would suffer violence in the very near future;


           You are a victim of sexual assault sud the assault occurred on the premises during the 90
           calendar-day period before you request a transfer.
           Ifyóu are avictim ofsexual assault, then in addition to qualifying for an emergency transfer because
           you reasonably believe you are threatened with imminent harm from further violence ifyou remain
           in your unit, you may qualify for an emergency transfer ifthe sexual assaultoccurred on the premises
           ofthe property from which you are seeking your transfer, and that assault happened within the 90-
           calendar-day period before you expressly request the transfer.
 HP will keep confidential requests for emergency tiansfers by victims of domestic violence, dating violence, sexual
 assault, or stalking, and the location of any move by such victims and their families.
 HP's emergency transfer plan provides further information on emergency transfers, and HP must make a copy ofits
 emergency transfer plan available to you ifyou ask to see it.

 Documenting You Are orHave Been a Victim ofDomestic Violence, Dating Violence, Sexual Assault or Stalking
 HP can, but is not requiéed to, ask you to provide documentation to "certify" that you are or have been a victim of
 domestic violence, dating violence, sexual assault, or stalking. Such request from HP must be in writing, and HP must
 give you at least 14 business days (Saturdays, Sundays, and Federal holidays do not count) from the day you receive
 the request to provide the documentation. HP may, but does not have to, extend the deadline for the submission of
 documentation upon your request.                                                                                          .
 You can provide one ofthe following to HP as dòcumentation. It is your choice which of the following to submit if
 HP asks you to provide documentation that you are or have been a victim ofdomestic violence, dating violence, sexual
 assanit, or stalking.
     G A complete HUD-approved dertification form given to you byHP with this notice that documents an incident
           ofdomestic violence, dating violence, sexual assault, or stalking. The form will ask for yourname, the date,
           time, and location of the incident of domestic violence, dating violence, sexual assault, or stalking, and a
           description ofthe incident. The certification form provides for including the name ofthe abuseror perpetrator
           ifthe name ofthe abusei' or perpetrator is known and is safe to provide.                                   .
     O A record of a Federal, State, tribal, territorial, or local law enforcement agency, court, or administrative
           agency that documents the incident of domestic violence, dating violence, sexual assault, or stalking.
           Examples of such records include police reports, protective céders, and restraining orders, among others.



 Form HUD-5380                                                                                                   2 of4
 (12/2016)



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    .             O A statement, which you must sign, al ng with the signature of an employee, agent, or volunteer ofa victim
                      service provider, an attamey, a medical professional or a mental health professional (collectively,
                      "professional") from whom you sought assistance in addressing domestic violence, dating violence, sexual
                      assault, or stalking, or the effects ofabuse, and with the professional selected by.you attesting under penalty
                      ofperjmy that he or she believes that the incident or lucidents of domestic violence, dating violence, sexual
.                     assault, or stalking are grounds for protection.
                  C Any other statement or evidence that HP has agreed to accept.
             Ifyou fail or refuse to prövide ofte ofthese documents within the 14 business days, HP does not have to provide you
             with the protections contained in this notice,
             IfHP receives conflicting evidence that an incident of domestic violence, dating violence, sexual assault, or stalking
             has been committed (such as certification forms from two or more members of a household each claiming to be a
             victim and naming one or more of the other petitioding household mémbers is the abuser or perpetrator), HP has the
             right to request that you provide third-party documentation within thirty 30 calendar days in order to resolve the
             confliöt. Ifyou fail or refuse to provide third-party documentation where there is conflicting evidence, HP does not
             have to provide you with the protectións contained in this notice.
             Confidentiality
             EP must keep confidential any information you provide related to the exercise ofyour rights under VAWA, including
             the fact that you are exercisins your rights under VAWA.
             HP must not allow any individual administering assistance or other services on behalf ofHP (for example, employees
             and contractors)to have access to confidential information unless forreasons that specifically call forthese individuals
             to have access to this information under applicable Federal, State, or local law.
             HP must not enter your information into any shared database or disclose your information to any other entity or
        .    individual. HP, however, may disclose the information provided if
                   0 You give written pennission to HP to release the information on a time ihnited basis;
                   O HP needs to use the information in an eviction or termination proceeding, such as to evict your Ábuser or
                       perpetrator or terminate your abuser or perpetrator from assistance under this program;
                   G A law requires HP or your landlord to release the information.
             VAWA does not Ihnit HP's duty to honor court orders about access to or control ofthe property. This includes orders .
              issued to protect a victim and orders dividing property among household members in cases where a family breaks up.

             Reasons a Tenant Eligible foroccupancy Rights under VAWA May Be Evicted or Assistance May Be
             Terminated
             You can be evicted and your assistance can be termiiiated for serious or repeated lease vi lations that are not related
             to domestic violence, dating violence, sexual assault, or stalking committed against you. However, HP cannot hold
             tenants who have been victims ofdomestic violence, dating violence, sexual assault, or stalking to a inore demanding
             set ofrules than it applies to tetaants who have not been victims of domestic violence, dating violence, sexual assault,
             or stalking.
             The protections described in this notice might not apply, and you could be evicted and your assistance terminated, if
             HP can demonstrate that not evicting you or terminating your assistance would present a real physical danger that:
             1) Would occur within an immediate time frame; and
             2) Could result in death or serious bodily harm to other tenants of those who work on the property.
             If HP can demonstrate the above, HP should only terminate your assistance or evict you if there are no other actions
             that could be taken to reduce or eliminate the threat.




             Form HUD-5380                                                                                                     3 of4
             (12/2016)



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        Other Laws
        VAWA does not replace any Federal, State, or local law that provides greater protection for victims of domestic
        violence, dating violence, sexual assault, or stalkingcYou may be entitled to additional housing protections forvictims
        ofdomestic violence, dating violence, sexual assault, or stalking under other Federal laws, as well as under State and
         local laws.

         Non-Compliance with the Regulrements of This Notice                                      .
         You may report a covered housing provider's violations of these rights and seek additional assistance, if needed, by
         contacting or filing a complaint with the New Orleans HUD Field Office, (504) 671-3000,

         For Additiona1Information
         You may view a copy ofHUD's'final VAWA rule at https://www.federalregister.gov/documents/2016/11/16/2016-
         25888/violence-against-women-reauthorization-act-of-2013-implementatign-in-hud-housing-programs.
         Additionally, HP must make a copy ofHUD's VAWA regulations available to you ifyou ask to see them.
         For questions regarding VAWA, please contact Nyssa LeBeau, Principa1Administrative Analyst at (504)670-3344.
         For help regarding an abusive relationship, you may call the National Domestic Violence Hotline at 1 800-799-7233
         or, for persons with hearing impairments, 1 (800) 787 3224 (T1'Y). You may also contact the New Orleans Family·
         Justice Center, (504) 866-9554.
         Fortenants who are or have been victims ofstalking seeking help may visit theNational Center for Victims ofCrime's
         Stalking Resource Center at https://www.victimsoforime.org/our-programs/stalking-resource-center.
         For help regarding sexual assault, you may contact the New Orleans Family Justice Center, (504) 866-9554.
         Victims ofstalking seeking help may contact New Orleans Family Justice Center, (504) 866-9554.
.        Attachment: CertificationformHUD-5382             ..
    .    I have reviewed the Notice of Occupancy Rights Under the Violence Against Women Act, and I understand
         what are my rights as a tenant or applicant on the HCV program.




         Tiffarìie Current                                                                   06 / 04 / 2024
          Name                                   Signature                                    Date




         Form HUD-5380                                                                                                   4 of4
         (12/2016)


                                                                                     Doc D: 059c1463d9a9389baf775031cc931fc6ecde8794
           Case 2:24-cv-01883-SSV-EJD Document 3-4 Filed 07/29/24 Page 103 of 127


M DropbOx Sign                                                                               Audít trail


Title                                     VAWA Request for Unit Transfer
File name                                 Current_Tiffanie_-_FORM._.5383.pdf
Document ID                               059c1463d9a9389baf775031cc931fc6ecde8794
äudittrail date format                    MM / DD / YYYY
status                                    e Signed


Document History

                         06 / 04 / 2024   Sent for signature to Tiffanie Current
        SENT             15:14:07 UTC-5   (currenttiffanie371@gmail.com) from taubert@slls.org
                                          IP: 208.114.224.194



                         06 / 04 / 2024   Viewed by Tiffanie Current (currenttiffanie371@gmail.com)
        viewso           16:08:23 UTC-5   IP: 172.59.109.123



                         06 / 04 / 2024   Signed by Tiffanie Current (currenttiffanie371@gmail.com)
        SIGNED           16:09:29 UTC-5   IP: 172.59.109.123



                         06 / 04 / 2024   The document has been completed.
  COMPLETED              16:09:29 UTC-5




Powered by M DropboxSign
        Case 2:24-cv-01883-SSV-EJD Document 3-4 Filed 07/29/24 Page 104 of 127




M Gmai                                                                                                            •
Fwd: Tiffanie Current (DOB 7/3/1990)
6 messages




 -- Forwarded message --
 From: Theresa Ambeau <tambeau@sils.org>
 Date: Fri, May 24, 2024, 12:21 PM
 Subject: Re: Tiffanie Current (DOB 7/3/1990)
 To: <cdalton@hano.org>; Monica New <mgonleh@hano.org>
 Cc: Lev Singer <lsinger@sils.org>

 Good aftemoon,
 I hope this email finds you well. I have attached Ms. Tiffanie Current's amended tax returns for the years 2023 & 2022.
 Please let me know if you need any additional information.
 Sincerely,
 Theresa Ambeau, J.D.
 Paralegal, Housing Unit
 Southeast Louisiana Legal Services                                                                                    ===
 1340 Poydras Street Suite 600
 New Orleans LA 70112
 Work phone: 504-529-1000 ext. 217
 Work cell: 504-407-1401
 Fax: 504-596-2241
 Email: tambeau@sils.org


 On Mon, Apr 8, 2024 at 12:31 PM Theresa Ambeau <tambeau@sils.org> wrote:
   Good moming,
   I hope this email finds you well. I am representing Ms. Tiffanie Current. We had our HANO informal hearing last Monday
   in which you allowed us until June 3, 2024 to investigate Ms. Current's tax transcripts and file amended taxes if
   necessary. I wanted to give you an update that I have referred Ms. Current to one of my office's attomeys who handles
   tax issues. I will be sure to contact you if we need additional time.
   Please do not hesitate to reach out to me with any questions or concems.
   Thank you,
   Theresa Ambeau, J.D.
   Paralegal, Housing Unit
   Southeast Louisiana Legal Services
   1340 Poydras Street Suite 600
   New Orleans, LA 70112
   Work phone: 504-529-1000 ext. 217
   Work cell: 504-407-1401
   Fax: 504-596-2241
   Email: tambeau@sils.org



     Current, Tiffanie - AMENDED INCOME TAX RETURN 2023 & 2022.pdf
     232K
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.                            ggg gag SOUTHEAST LOUISIANA
                            gg gg LEGAL SERVICES
                                                Urce Legal Aid for Low-Income Peopic

                           Baton Rouge, Covington, Hammond, Harvey, Houma, New Orleans

      1340 Poydras St. Suite 600 • New Orleans, Louisiana 70112 • Telephone: (504) 529-1000 •         Fax: (504) 596-2241
                          www.slls.org • www.louisianalawhelp.org • http://tinyurl.com/slisfacebook



                                                                                                Tuesday, June 18, 2024
Chris Dalton
Housing Authority of New Orleans
4100 Touro Street
New Orleans, LA 70122
504-670-3320
cdalton@hano.org

By Electronic Mail and First Class Mail

         Re: Request for Reconsideration of Termination Decision for Tiffanie Current

Dear Mr. Dalton:

       I am following up with you regarding your recent decision to uphold the proposed
tennination for Ms. Tiffanie Current. A hearing was held on April 1, 2024 regarding the
proposed termination. During that hearing, you requested documentation of amended tax returns
from Ms. Martin for the years of 2022 and 2023 by June 3, 2024. I provided you with the
Amended Individual Tax Returns for 2022 and 2023 for Ms. Current on May 24, 2024. These
were the fonns 1040-X that showed a corrected income of $0. You did not reach out to request
any additional verification or document, even though I stated in my correspondence to please let
me know if you needed additional information.

       You then sent myself and Ms. Martin a hearing decision on June 7, 2024, in which you
decided to uphold the proposed termination. In the hearing decision, you acknowledge receipt of
"a copy of2 form 1040-X for amending tax returns that were filled out showing no income for
[Ms. Current] for the disputed time periods. The decision states "There was no indication that the
forms had been filed with the IRS...We would need official documentation from the IRS to
show that they received the amended return to calculate the correct amount owed by HANO, if
anything." This is the first time we received this document request. Attached are Ms. Current's
2022 and 2023 transcripts (not yet updated by the IRS in response to the submitted 1040-X
forms) that show that the IRS received the amended returns. I have also attached letters
showing that our office's tax attorney mailed Ms. Current's amended tax returns to the
IRS on May 29, 2024. We could have easily provided these documents had you requested them.

       The IRS will not revise the tax transcript until the amended tax returns have been
processed, which can sometimes take several months. When the IRS's process is complete, we




      =LLSC                                                    ^                                               %
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are happy to provide the updated transcripts. We are also happy to set up a phone call with our
tax attorney for any necessary clarifications or questions you may have.

        We ask that this proposed termination be rescinded based on Ms. Current timely
amending her tax returns per HANO's request and that the amended tax returns correctly reflect
her income as 0. Ms. Current is in an ongoing domestic violence crisis and faces imminent harm
by remaining in her assisted unit. Additionally, I request clarification that the reason for Ms.
Current's termination being upheld is for the alleged unreported income, and not for the alleged
unauthorized family composition. The hearing decision seems to contain a typographical error on
page 2, second paragraph from the bottom, where a sentence is cut off in the middle. Perhaps that
sentence would have clarified whether the proposed termination for unauthorized family
composition was rescinded or not.

       Please let me know if you have any questions or would like any further documentation.
We are asking that you rescind the proposed termination by June 25,2024, as we may need
to take further legal action if this decision is not corrected.


Sincerely,




Theresa Ambeau, J.D.
Paralegal, Housing Unit
Southeast Louisiana Legal Services
1340 Poydras St., Suite 600
New Orleans, LA 70112
Work phone: 504-407-1401
Fax: 504-596-2241
Email: tambeau@slls.org



Encl:
   (1) Amended.Individual Income Tax Retums
   (2) Letters to IRS re Amended Tax Returns
             Case 2:24-cv-01883-SSV-EJD Document 3-4 Filed 07/29/24 Page 107 of 127




11040-X                                                          Department of the Treasury-internal Revenue service
                                            Amended U.S. Individual Income Tax Retum                                                                                 ausNo.is4s-oo74
(Rev. February 2024)                        Go to www.frs.gov/Form1040Xfor instructions and the latest information.
This return is for calendar year (enter year)                      2023         or fiscal year (enter month and year ended)
Your first name and middle initial                                                   utst name
Tiffanie M                                                                           Current
if joint retum, spouse's first name and middle initial                               Last name                                                       Spouse's social security number

Home address (number and street). [f you have a P.o. box. see instructions.                                                    Apt.no.               Presidential Election Campaign
7584 Forest Glen Rd,                                                                                                                                 Check here if you or your spouse
City, town, or post oface. if you have a foreign address, also complete spaces below. State                                ZIP code                  if filinu juinliy, didn't peviuusly
                                                                                                                                                     want $3 to go to this fund, but now
New Orleans                                                                                              LA                   70127-1882             do. Checking a box below will not
Foreign country name                                               Foreign province/state/county                           Foreign postal code       change your tax or refund.
                                                                                                                                                                   O You O Spouse
Amended return filing status. You must check one box even if you are not changing your filing status. Caution: In general, you can't
change your filing status from married filing jointly to married filing separately after the return due date.
O Single O Married filing jointly O Married filing separately (MI-8) [d Head of household (HOH) O Qualifying surviving spouse (QSS)
If you checked the MFS box, enter the name of your spouse unless you are amending a Form 1040-NR. If you checked the HOH or QSS box,
enter the child's name if the qualifying person is a child but not your dependent:
Enter on Ilnes 1 through 23, columns A through C, the amounts for the retum           A. origina! amount B. Not change-
year entered above.                                                                                                            reported or as        amount of increase    c. correct
                                                                                                                            previously adjusted       or (decrease)-        amount
Use Part 11 on page 2 to explain any changes.                                                                                (see Instructions)       explain in Partil
Income and Deductions
  1 Adjusted gross income. if a net operating loss (NOL) carryback is
     included, check here . . . . . . . . . . . . . . . .                                                             1                    21736                 (21736)               0
  2 Itemized deductions or standard deduction . . . . . . . . .                                                       2                    20800                       0           20800
   3      Subtract line 2 from line 1            .   . . .         .    .   .   .    .    . . .      .   .     .      3                      036                   (936)                0
   4a Reservedforfutureuse . . . . . . . . . . . . . . . .                                                            4a !ti@M                        WWMMMM¾$$9
       b Quallfied business income deduction .                     .    .   .   .    .    . .    .   .   .     .      4b                         0                     0                0    -
   5      Taxable income. Subtract line 4b from line 3. If the result for column C
          is zero or less, enter -0- in column C . . . . . . . . . . . .                                              5                      936                   (936)                0
Tax Liability
  6 Tax. Enter method(s) used to figure tax (see instructions):
          Tax and EITC Table                                                                                           6                        94                  (94)                0
   7      Nonrefundable credits. If a general business credit carryback is included,
          check here . . . . . . . . . . . . . . . . . . . O 7                                                                                  94                  (94)                0
    8     Subtract line 7 from line 6. If the result is zero or less, enter -0- . . .                                  8                         0                     0                0
    9     Reserved for future use .              .   .   .   .      .   ,   ,    .    .   , , .      .   .     .       9      WsMMM¼ 7                         gj'$g.M g.$     $MG.§
  10 Othertaxes . . . . . . . . . . . . . . . . . . . . 10                                                                                       0                     0                0
 11 Total tax. Add lines 8 and 10 . . . . . . . . . . . . . . 11                                    0               0                                                                   0
Payments
 12 Federal incorne tax withheld and excess social security and tier 1 RRTA
    tax withheld. (If changing, see instructions.) . . . . . . . . . 12                             0               0                                                                   0
 13 Estimated tax payments, including amount applied from prior year's retum 13                     0               0                                                                   0
 14 Earned income credit (EIC) . . . . . . . . . . . . . . . 14                                  7395          (7395)                                                                   0
 15 Refundable credits from: O Schedule 8812 Form(s) ,€ 2439 0413s
    € 8863 08885 0 8962 or Dother (specify):_______                             15               2885          (2885)                                                                   0
 16 Total amount paid with request for extension of time to file, tax paid with original retum, and additional
    tax paid after return was filed . . . . . . . . . . . . . . . . . . . . . . . .                              16                                                                     0
 17 Total payments. Add lines 12 through 15, colurnn C, and line 16 . . . . . . . . . . . . .                    17                                                                     0
 Refund or Arnount You Owe                                                                                                                                 .
  18      Overpayment, if any, as shown on original return or as previously adjusted by the IRS . . . . .                                                           18              10280
  19      Subtract line 18 from line 17. (If less than zero, see instructions.) . . . . . . . . . . . .                                                             19            (·l0280)
  20      Amount you owe. If line 11, column C, is more than line 19, enter the difference . . . . . . .                                                            20              10280
  21      If line 11, column C, is less than line 19, enter the difference. This is the amount overpaid on this return                                              21                   0
  22      Amount of line 21 you want refunded to you . . . , . . . . . . . . . . . . . . .                                                                          22                   0
  23      Amount of line 21 you want applied to your (enter year):                                           estimated tax            23                  0 @MM5MM
                                                                                                                                            Complete and sign this form on page 2.
 For Papenvork Reduction Act Notice, see separate Instructions.                                                    cat. No. 11360L                       Form 1040-X (Rev.2-2024)
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                                                                                                                                                                                           I



    Form 1040-X (Rev.2-2024)                                                                                                                                                  Page 2
                       ndents
    Complete this part to change any information relating to your dependents.                                        A.Originalnumber B.Netchange- .
                                                                                                                       of dependents amount of increase c. Correct
    This would include a change in the number of dependents.                                                           reported or as .     d             number
    Enter the information for the return year entered at the top of page 1.                                          previously adjusted or( euease)
     24 Reserved for future use . . . . . . . . . . . . . . . .                                                24 $fÃth$3MMn $$issM5M M3ÈnÚMM
     25 Your dependent children who lived with you . . . . . . . . .                                           25          3         (1)    2
     26 Reserved for future use . . . . . . . . . . . . . . - .                                                 26 @Nf             $Ø IMVf il6MM
     27 Other dependents . . . . . . . . . . . . . . . . . .                                                    27                       0                     0                     0
     28     Reserved for future use .              . . . . . . . . . . . . . . .                                28 eMMMllMÑÏMÍMfMM                                 S        h#RiMil
     29 Reserved for future use . . . . . . . . . . . . . . . .                                                 29 @M?sMf2 MEMMMn SWMNEMM
     30     Ust ALL dependents (children and others) claimed on this amended return.
    Dependents (see it structions):                                                                                                          (d) Check the box if qualifies for
                                                                                                                                                     (see instructions):
                                                                                      (b) Social security        (c) Relationship                               Credit for other
                      (a) First name           .            Last name                      number                     to you                 Child tax credit     dependents
    dependents,                                                                                               Daughter ___
    n truct[ons
    and check
    here O
                  Explanation of Changes. In the space provided below tell us why you are filing Form 1040-X
            Attach any supporting documents and new or changed forrns and schedules.
          The original return had reported W2 wages that were incorrect. The amended retum removes both those wages and any tax credits based upon
          those wages, such as the EITC, CTC, and CDCTC. The original retum also lncluded a claimed dependent who do not live with the taxpayer, and
          that dependent is also being removed. Client received an original refund, so dient must now pay that refund back.




                      Remember to keep a copy of this form for your records.
                      Under penalties of perjury, I declare that I have flied an original retum, and that I have examined this amended return, including accompanyIng schedules
                      and statements, and to the best of my knowledge and bellef, this amended return Is true, correct, and complete. Declaration of preparer (other than
                      taxpayer) is based on all information about which the preparer has any knowledge.
                      Your signature                                                Date               Your occupation                            if the IRS sent you an identity
                                                                                                                                                  Protection PIN, enter it here
     Here                           ymÃQ                                                   2Md                                                    (see inst.)
                      Spouse's signature. If a joint retum, oth must sign.          Date               Spouse's occupation                        If the IRS sent yourspouse an
                                                                                                                                                  Identity Protection PIN, enter it here

                      Phone no.                                                    Email address
                      Preparefs name                                   Preparer's signature                                 Date                 PTIN              Checkif:
                                                                                                                                                                        Self-employed
     Preparer · Finn'aname                                                                                                                      Phoneno.
                       Firm's address                                                                                                           Firm's EIN
.    For forms and publications, visit wwwJrs.gov/Forrns.                                                                                               Form 1040-X (nev. 2-2o24)
             Case 2:24-cv-01883-SSV-EJD Document 3-4 Filed 07/29/24 Page 109 of 127



                                                            ospartment of the Treasury-intemal Revenue service

#                                           Amended U.S. Individual income Tax Retum                                                                                                oMBNo.15 0
(Rev. February 2024)                   ,   Go to www.frs.gov/Formfo40Xfor instructions and the latest information.
This return is for calendar year (enter year)                  2022        or fiscal year (enter month and year ended)
Your first name and middle initial                                               Last name                                                                          Your social security number
Tiffanle M                                                                      Current
if joint retum spouse's first name and rnlddle Initlai                          Last name                                                                           spouse's social security number

Home address (number and street). If you have a P.O. box, see instructions.                                                            Apt. no.                     Presidential Election Campaign
7584 Forest Glen Rd,                                                                                                                                                Check here if you, or your spouse
City, town, or post office. If you have a foreign address, also complete spaces below.       state                               ZIP code
New Orleans                                                                                              LA                         70127-1882                      do. Checking a box below will not
Foreign country name                                           Forelgn province/state/county                                     Foreign postal code                change your tax or refund.
                                                                                                                                                                                     You O spouse
Amended retum filing status. You must check one box even if you are not changing your filing status. Caution: In general, you can't
change your filing status from married filing jointly to married filing separately after the return due date.
O Single       Manied filing jointly € Married filing separately (MFS) O Head of household (HOH) O Qualifying surviying spouse (QSS)
If you checked the MFS box, enter the name of your spouse unless.you are emending a Form1040-NR. If you checked the HOH or QSS box,
enter the child's name if the qualifying person is a child but not your dependent
Enter on lines 1 through 23, columns A through C, the amounts for the return                 A. original amount B. Net change-
year entered above.                                                                                                      .          reported or as   arnount of increase                     c. correct
                                                                                                                                  previously adjusted or (decreass)-                          arnount
Use Part 11 on page 2 to explain any changes.                                                                                       (see instructions)               explain in Partli
income and Deductions
  1 Adjusted gross income. If a net operating loss (NOL) carryback is
          included, check here . . . . . . . .                         .   . .       . . . .             . O            1                         20107                        (20107)                   0
    2     Itemized deductions or standard deduction                    .   . .       . . . .             . .            2                         19400                              0               19400
    3     Subtract line 2 from line 1            . . . . . . . , . . . . . . .                                          3                              707                        (707)                   0
    4a Reserved forfuture use . . . . . . . . . . . . . . . .                                                           4a GWvyMá? $                                          W G à@sMR¾êâ
  b Qualified business income deduction . . . . . . . . . . . .                                                         4b                                  o                            0                0
    5 Taxable income. Subtract line 4b from line 3. If the result for column G
      is zero or less, enter -0- in column C . . . . . . . . . . . .                                                    5                              707                        (707)                   0
Tax Liability
 6 Tax. Enter method(s) used to figure tax (see instructions):
          Tax and EITC Teble                                                                                            6                                  71                      (71)                   0
    7     Nonrefundable credits. If a general business credit carryback is included,
          check here . . . . . . . . . . . . . . . . , , . O                                                            7                                  71                       (71)                  0
    8     Subtract line 7 from line 6. If the result is zero òr less, enter -0- . . .                                   8                                   0                          0                  0
    9     Reserved for future use . . . . . . . . . . . . t . . .
    10 Othertaxes . . . . . . . . . . . . . . . . . . . .                                                               10                                  0                            0                0
    11 Total tax. Add lines 8 and 10 . . . . . . . . . . . . . .                                                        11                                  0                            0                0
 Payments                                                                                                                                                                                                     1


  12 Federal income tax withheld and excess social security and tier 1 RRTA
     tax withheld. (if changing, see [nstructions.) . . . . . . . . .                                                   12                               0                            0                   0
  13 Estimated tax payments, including amount applied from prior year's retum                                           13                               0                            0                   0
    14 Earned Income credit (ElC) . . . , , . . . . . . . . . .                                                         14                            6935                       (6935)                   0
    15    Refundable credits from: O Schedule 8812 Form(s) € 2439 € 4138
            8863 €8885 08962or Dother(specify):____                                   15                2841          f2641)                                                                              0
    16    Total amount paid with request for extension of time to file, tax paid with original return, and additional
          tax paid after return was filed . . , . . , . . . . . . . . . . . . . . . . . .                                                                                           16                    0
  17 Total payments. Add lines 12 through 15, column C, and line 16 . . . . . . . , . . . . .                                                                                       17                    0
 Refund or Amount You Owe
  18 Overpayment, if any, as shown on original return or as previously adjusted by the IRS . . . . .                                                                                18                 9576
  19 Subtract line 18 from Ilne 17. (if less than zero, see instructions.) . . . . . . . . . . . .                                                                                  19               (9576)
  20 Amount you owe. If line 11, column C, is more than line 19, enter the difference . . . . . . .                                                                                 20                 9576
  21 If line 11, column C, is less than line 19, enter the difference. This is the amount overpaid on this return                                                                   21                    0
    22     Amount of line 21 you want refunded to you .                     .    .   .   .     .     .    .   .     .        .     .     .   .    .    .        .     .   .        22                     0
    23     Amount of line 21 you want applied to your (enter year):                                       estimated tax | 23 |                                                  0 $$ pgra.Rgyny¾py
                                                                                                                                                      Complete and sign thi i form on page 2.
 For Paperwork Reduction Act Notice, see separate instructions.                                                   Cat. No. 11380L                                  Form 1040-X (Rev. 2-20M)
                                                                                                                                                                                      I
           Case 2:24-cv-01883-SSV-EJD Document 3-4 Filed 07/29/24 Page 110 of 127

                                                                                                                                                                                      i


Form 1040-X (Rev. 2-2024)                                                                                                                                             Page 2
             Dependents
Complete this part to change any information relating to your dependents.                                   A. original number B, Net change-
This would include a change in the number of dependents.                                                            t o®ª       amount of increase  ret
Enter the information for the return year entered at the top of page 1.                                     prevlously adjusted or (decrease)
 24 Reserved for future use . . . . . . . . . . . . . . . .                                              24 6Î fi$fÛ! $ M¿MR$@ $š
 25 Your dependent children who lived with you . . . . . . . . .                                         25                   3                 (1)     2
 28 Reserved for future use . . . . . . . . . . . . . . .                                                26 TiMMMsMM M:iMWi$ŽMÉ È MÚM9 6
 27 Other dependents . . . . . . . . . . . . . . . . . . 27                                                                       0                    0                    0
 28     Reserved for future use . . . . . . . . . . . . . . . . 28 ØlM@¾MMlMí                                                                           #11$MM
 29     Reserved for future use . . . . . . . . . . . . . . . . 29 Mf8M@M                                                                               Œ§M$@MM
 30     List ALL dependents (children and others) claimed on thIs amended return.
Dependents (see instructions):                                                                                                        (d) Check the box if qualifies for
                                                                                                                                              (see nstructions):
If more                                                                          (b} Social security         (c) Relationsh p         Child tax credit Credit for other
than four          (a) First narne                      l_ast name                    number                      to you                                  dependents
    endents,                                                                                            D
Instructions
and check
here                                                                                                                                         O                    O
             Explanation of Changes. (n the space provided below, tell us why you are filing Form 1040-X.
        Attach any supporting d.ocuments and new o'r changed forms and schedules.
      The original retum had reported W2 wages that were incorrect. The amended retum removes both those wages and any tax credits based upon
      those wages, such as the EITC, CTC, and CDCTC. The original return also included a claimed dependent who do not live with the taxpayer, and
      that dependent is also being removed. Client received an original refund, so client must now pay that refund back.
                                       .                                                                                                                                                  I




                   Remember to keep a copy of this form for your records.
                   Under penalties of perjury, I declare that I have filed an original retum, and that I have examined this amended retum, including accompanying schedules
                   and statements, and to the best of my knowledge and bellef, this amended retum is true, correct, and complete. Declaratlon of preparer (other than
                   taxpayer) is based on all Information about which the preparer has any knowledge.
                   Your signature                                            Date             Your occupation                            If the IRS sent you an Identity
                                                                                                                                         Protection PIN, enter it here
 Here                                                                               2M                                                   (seelnst.)
                   Spouse's signature. If a Joint retum, oth must sign.      Date             Spouse's occupation                        lf the IRS sent yourspouse an
                                                                                                                                         Identity Protection PIN. enter it here
                                                                                                                                         (sealnst.)
                   Phone no.                                                 Ernal) address
                   Preparer's name                               Preparer's signature                              Date             FTIN                Check if:                 .
                                                                                                                                                          Oseif-empioved
 Preparer
                    Firm's name                                                                                                     Phone no.
                    Rrm's address                                                                                                   Firm's EIN
 For forms and publications, visit www.irs.gov/Forrns.                                                                                          Form 1040-X (Rev. 2-2024)
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                                            SOUTHEAST LOUISIANA
                                            LEGAL SERVICES
                                            Free Legal Aid for Low--Income People

                  Baton Rouge • Covington • Hammond • Harvey • Hounya • NewOrleans

       1340 Poydras St. Suite 600 • New Orleans Louisiana 70112 • Telephone: (504) 529-1000 • Fax: (504) 596-2241
                         www.alls.org • wwsv.louisianalawhelp.org • http://tinyurl.com/silsfacebook


May 29, 2024

Department of the Treasury
Intemal Revenue Service
Austin, TX 73301-0052

       Re:      Taxpayer: Tiffanie Current
                TIN:         1960
                2023 Amended Tax Return

To Austin IRS Center,

        My name is Paul Tuttle and I am the Director of the Low Income Taxpayer Clinic located
at Southeast Louisiana Legal Services (SLLS). We are a private, non-profit law firm that
provides free civil legal services to low income persons. I am currently representing Ms.
Tiffanie Current with her federal tax issues. An IRS Form 2848 power of attorney form is on file
and a copy is included with this letter.
      Please find enclosed a signed 1040X tax return for the tax year ending December 31,
2023. Ms. Current has recently discovered that the original tax preparer on this return put an
mcorrect amount of income and incorrect claims for credits. Ms. Current is submitting this
1040X to correct these errors.

       Please send me notice when this arnended return has been processed. Please feel free to
contact me if you need further information about this matter. My phone number is (504) 529-
1000 ext. 233. I can also be reached by email at ptuttle@slls.org.

       Thank you for your attention to this matter.

                                                                Sincerely,


                                                                   , aul Tuttle
                                                                Director
                                                                Low Income Taxpayer Clinic



                                                     LOUISl ANA BAR                                    Jnited
    =L LSC                                           FOUNDATION                                          WªY
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                            E I              SOUTHEAST LOUISIANA
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Intemal Revenue Service
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 1000 ext. 233. I can also be reached by email at ptuttle@sils.org.

        Thank you for your attention to this matter.

                                                                  Sine4,rely,         .



                                                                   . Paul Tuttle
                                                                  Director
                                                                • Low Income Taxpayer Clinic



                                                      LOUlSIANA BAR                                      Jnited 'ligilj
     ,|[ LSC                                          FOUNDATION                                           *ªY W
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                                                             Department of the Treasury-intamal Revenue service

                                            Amended U.S. Individual income Tax Return                                                                      ous so.is4s.co74
(Rev. Februmy 2024)                         Glo to wwwJrs,gov/Formf040Xfor Instructions and the latest information.
This return is for calendar year (enter year)                  2023       or fiscal year (enter month and year ended)
Your first name and middle Initial                                             Last name
Tiffanie M                                                                    current
If joint retum, spouse's firal name and middle Initial                         L.ast name                                                 Spouse's soclaf security number

Home address (number and street). If you have a P.O. box, soo Instructions.                                       Apl. no.                Presidential Ele otion campaign
7564 Forest Glen Rd,                                                                                                                      Check here if you, or your spouse
cIly, town, or post office, if you have a forelgn address, also complete spaces below.   State                ZIP code
New Orleena                                                                                      LA              70127-1882               do. Chanking a hax helnw will nd
Fore1gn country name                                           Forelgn province/state/county                  Foreign postal code         chance your tax or refund.
                                                                                                                                                    O You         Spouse
Amended return filing status. You must check one box even If you are not changing your filing status. Caution: In general, you can't
change your fi!Ing status from married filing Jo[ntly to married filing separately after the retum due date.
O Single O Married filing Jointly O Manied filing separately (MFS) S Head of household (HOH) O Qualifying survMng spouse (QSS)
If you checked the MFS box, enter the name of your spouse unless you are amending a Form 1040-NR. If you checked the HOH or QSS box
enter the chlid's name if the qualifying person is a child but not your dependent:
Enter on lines 1 through 23, columns A through 0, the amounts for the return                 A, orig!nal amount B. Nel chan0e
year entered above.                                                                                               reported or as          amount of increase        c. correct
                                                                                                               previously adjusted         or (doorease)-            amount
Use Part || on page 2 to explain any changes.                                                                    (see Instrucifons)        explain In Part il
Income and Deductions
  1 Adjusted gross Income. If a net operating loss (NOL) carryback is
      included, check here . . . . . . . . . . . . . . . . O                                             1                   217ae                   (21738)                    0
  2 Itemized deductions or standard deduction . . . . . . . . .                                          2                   20800                         0                20800
   3 Subtract Ilne 2 from Ilne 1 . . . . . . . . . . . . . . .                                           3                      936                      (936)                   0
   4a Reserved for future use . . . . . . . . . . . . . . . .                                           4a W ÑMØ                             T      4.ïl#@ ØW                    N
    b Quallfled business Income deduction . . . . . . . . . . . .                                       4b       o                                        0                      0
   5 Taxable Income. Subtract line 4b from line 3. If the result for column C
      ls zero or less, enter -0- In column C . . . . . . . . . . . .                                     5                      036                      (936)                   0
Tax Liability
    6     Tax. Enter method(s) used to figure tax (see Instructions):
          Tex and EITC Table
          _______.__________..._.. ...._..........._..._._.....___..____.                                6                         94                      (04)                  0
    7     Nonrefundable credits. If a general business credit carryback is included,
          check here . . . . . , . . . . . . . . . . . . . O                                             7                         94                      (94)                  0
    8     Subtract line 7 from Ilne 6. If the result is zero or less, enter -0- . . .                    8                          0                         0                  0
    9     Reservedforfutureuse . . . . . . . . . . . . , . . .
  10 Othertaxes . . . . . . . . . . . . , . . . . . . .                                                  10                           0                         0                0
  11      Totattax.Addllnes8and10                        . . . . . . , , . . . . . .                     11                           0                         0                0
 Payments
  12      Federal income tax withheld and excess social security and tier 1 RRTA
          taxwithheld.(Ifchanging seeinstructions.) . . . . . . . . . 12                                  0               0                                                      0
  13      Estimated tax payments, including amount applied from prior year's return 13                    0               0                                                      0
  14      Earned Income credit (EIC) . . , , , . . . , . . . . . . 14                                 7395           (7395)                                                      0
  15      Refundable credits from: O Schedule 8812 Form(s) ,€2439 0 4136
          088e3 0888s 08962or Oother(speoffy):                                        1s               2885     .    f2885)                                                      0
   16     Total amount paid with request for extension of time to file, tax paid with orighal return, and Ldditional
          tax paid after return was filed . . . . . . . . . . . . . . . . . , , , . . . .                              16                                                        0
   17     Total payments. Add lines 12 through 15, column C, and line 16 . . . . . . . . . . . , ,                     17                                                        0
 Refund or Amount You Owe
   18      Overpayment, If any, as shown on original retum or as previously adjusted by the IRS . . . . .                 18      10280
   19      Subtractline18fromline17.(Iflessthanzero,seelnstructions.) . . . . . . . . . . . .                             19    (10280)
   20      Amount you owe. If line 11, column C, is more than line 19, enter the difference , . .                . .      20      10280
   21      If Ilne 11, column C, is less than line 19, enter the difference. This is the amount overpaid on this return   21          0
   22      Amountofline21youwantrefundedioyou . . . . . . . . . . . . . . . . . . .                                       22          0
   23      Amount of line 21 you want applied to your (enter year):                  estimated tax | 23                 0 MM@@¶cià#U
                                                                                                                               Complete and sign thl i form on page 2.
  For Paperwork Reduction Act Nottoe, see separate Instructions,                                      cat. No.11380L                        Form1040-X taev.2-2024)
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Form 1040-X (Rev, 2-2024)                                                                                                                                                  Page 2
                pen dents
Complete this part to change any information relating to your dependents.                                    A. original number
                                                                                                       -       of dependenis        'o t     r a ea e            o. Correct
This would include a change In the nurnber of dependents.                                                       reported or as                    e)                 number
Enter the information for the return year entered at the top of page 1.                                      prevlously adjusted    or (decreas
 24 Reserved for future use . . . . . . . . . . . . . . . .                                            24 NWMMN WiS                                              .
 25 Your dependent chudren who lived with you . . . . . . . . .                                        25                      2                       (1)                      2
 26 Reserved for future use . . . . . . . . . . . . . . . .
 27     Other dependents . . . . . . . . . .                           . . . . . . . .                 27                      0                        0                       0
 28 Reserved forfuture use . . . . . . . . . . . . . . . . 28 RNW5 Má ME
 29     Reserved for future use . . . . . . . . .             . . . . . . 29                                    .
 30     Ust ALL dependents (children and othere) olalmed on this amended return.
Dependents (see instructlons):                                                                                                     (d) Check the box qu les for
                                                                               (b) Soolal securlly          (o) Relationship                        Cred t or other
        ur         (a) First name                     Last name                     number                       to you            Child tax credit


na ruo lons
and check
here O                                                                                                                                     O                           O
                     lanation of Changes, in the space provided below, tell us why you are filing Form 1040-X.
         Attach any supporting docuniente and new or changed forms and schedules.
       The original return had reported W2 wages that v(ere not correal. The amended return removes both those wages and any tax credits based upon
       those wages, such as the EITC, CTC, and CDCTC. The originsi return also included a cielmed dependent who do not live with the taxpayer, and
       that dependenlis also being removed. Client received an original refund, so cllent must now pay that refund back

                                                                                                                                                             i




                   Remember to keep a copy of this form for your records.
                   Under penalties of perjury, 1 declare that I have filed an original retum, and that I havo examined this amended retum, including accompanying schedules
                   and statements, and to the best of my knowledgs and bellef, lhls amended retumls true, correct, and complete. Declaration of preparer (other than
                   taxpayer) is based on allinformation about which the preparer has any knowledge.
 Si n              Your signature                                           bate             Your occupallon                            if the IRS sent you an Identity
                                                                                                                                        Protection PIN, enter it here
 Here                                                  A p+ M23                                                                         (see inst )
                   Spouse a signature. If a]olnt return, both rnust sign. • Date             Spouse's cooupallon                        lf the IRS eent your spouse an
                                                                                                                                        IdentityProtectionPW enter11here
                                                                                                                                        (saelnsL)
                   Phone no.                                                 Emall address
                   Preparer's name                               Preparer's signature                               Date              PTIN                   Check if:
                                                                                                                                                             Oseir-empioved
  Preparer          Firm's name                                                                                                       Phone no.
                    Firm's address                                                                                                    Firm's EIN
  For forms and pubilcations, visit wwwJrs.gov/Forms.                                                                                          Form 104              X(Rev. 2-2024)
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    "1040-X                                                     """"*"""""~"¯'"'""''"~"""°*
    *                                           Amended U.S. Individual Income Tax Return                                                                                  OMBNo 1545-0074
    (Rev. February 2024)                        Go to www.frs,gov/Form1040Xfor instruottons and the latest Information.
    This return Is for calendar year (enter year)                  2022        or fiscal year (enter month and year ended)
    Your first name and middle Inltlal                                             Last name                                                              Your social accuri number
    Tiffanie M                                                                     Current
    If joint retum, spouse's first name and middle Inlllal                         Last namo                                                              spouse's social security number

    Home address (number and street). If you have a P.O. bo& see instructions.                                                  | Apt. no.                Presidential121ection Campalgn
    7564 Forest Glen Rd,                                                                                                                                  Check here if you or your spouse
    city, town, or post office. If you have a foreign address, also complete spaoss below.       state                        ZIP code
                                                                                                                                                          want $3 to go to this fund. but now
    New Orleans                                                                                              LA                  70127-1882               do. Chankinn A box hn!nw will nnt
    Foreign coun1ry name                                          Forelgn province/state/county                               Forelgn postal code         change your tax or refund.
                                                                                                                                                                    O You O Spouse
    Amended return filing status. You must check one box even if you are not changing your filing status. Caution: In general, you can't
    change your filing status from married filing jolotly to married filing separately after the retum due date.
    O Single O Married filing Jointly 0 Married filing separately (MFS) € Head of household (HOH) O Qualifying survMng spouse (QSS)
    If you checked the MFS box, enter the name of your spouse unless you are amending a Form1040-NR. If you checked the HOH or QSS box,
    enter the child's name if the qualifying person is a child but not your dependent:
    Enter on lines 1 through 23, columns A through C, the amounts for the return                 A. original amount B.Net change-
    year entered above,                                                                                                           reported or as          amount of increase        c. correct
                                                                                                                                previouslyndJusted         or(decrease)-             amount
    Use Part 11on page 2 to explain any changes.                                                                                 (see instructions)        explain in Part Il
    Income and Deductions
      1 Adjusted gross income, if a net operating loss (NOL) carryback is
          included, check here . . . . . . . . . . . . . . . . O                                                         ·f                  20107                   (20107)                     0
        2     Itemized deductions or standard deduction                    .   .   .   .     .     .     ,   .    .      2                   19400                           0              19400
        3     Subtract ilne 2 from line 1 . . . . . .                      .   .   .   .     ,     ,     .   .    .      3                     707                       (707)                  0
        4a Reserved for future use . . . . . . . . . . . . . . . .                                                      4a #M:$MM s@MMM! Øs.MMWkli
         b Quallfled business income deduction . . . . . , . . . . . .                                                  4b       0     0         0
        5 Taxable Income. Subtract line 4b from line 3. If the result for column C
           is zero or less, enter -0- In column C . . . . . . . . . . . .                                                5                      707                      (707)                   0
                                                                                                                                                                                                         1
    Tax Llability
        6     Tax. Enter method(s) used to figure tax (see instructions):
              Tax and EITC Table                                                                                         6                         71                     (71)                   0
        7     Nonrefundable credits, if a general business credit carryback is included,
              check here . . . . . . . . . . . . . . . . , . . O 7                                                                                 71                      (71)                  0
        8     Subtract line 7 from line 6. If the result is zero or less, enter -0- . .                                  8        0                                           0                  0
        9     Reserved for future use . . . . . . . . . . . . ; . , .                                                    9 Mj@$iM                                                     QM@j
        10 Other taxes . . . . . . . . . . . . . . . . . . . . 10                                                                                     0                         0                0
        11 Total tax. Add lines 8 and 10 . . . , . . . . . . . . , , 11                                                                               0                         0                0
     Payments
        12    Federal income tax withheld and excess social securlty and tier 1 RRTA
              tax withheld. (If changing, see Instructions.) . . . . . . . . .                                           12                       0                         0                    0
        13    Estimated tax payrnents, including amount applied from prior year's return                                 13                       0                         0                    0
        14    Earned Income credit (EIC) . . . . . . . . , . . . . , .                                                   14                    6935                    (6935)                    0
        15    Refundable credlls from: 9 Schedule 8812 Form(s) € 2439 0 4136
              08863          08885         08962or Cother(speelfy):_____                                                 15                    2641                     f2641)                   0
        16    Total amount paid with request for extension of time to file, tax paid with original return, and additional
               tax pald after retum was filed . . . . . . . . . . . . . . . . . . . . . . . .                                                                              16                    0
        17    Total payments. Add lines 12 through 15, column C, and line 16 . . . . . . . . . . . . •                                                                     17                    0
     Refund or Arnount You Owe
        18     Overpayment, if any, as shown on original retum or as previously adjusted by the IRS . . . . .                18          9576
        19     Subtract ilne 18 from line 17. (If less than zero, see instructions.) . . . . . . . . . . . .                 19        (9578)
.       20     Amount you owe. If line 11, column C, la more than line 19, enter the difference . . . . . . .                20          9578                                                        .
        21     If Ilne 11, column C, is less than line 19, enter the difference. This is the amount overpaid on this retum   21             0
        22     Amount of line 21 you want refunded to you - . . . . . . . . . . . . . . . . , .                              22             0
        23     Amount of line 21 you want applied to your (enter year):                  estimated tax 23                  0 WiSU.î,MM@WM
                                      -                                                                                                        Complete and sigri thh form on page 2,
     For Paperwork Reduction Act Notice, see separate Instructions.                                                   cat.No.11s60L                         Form1040-X(nev.2.2024)
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Form 1040-X (Rev. 2-2024)                                                                                                                                                  Page 2
               Dependents
Complete this part to change any information relating to your dependents.                                     A, Original number B. Not change-
                                                                                                                of dependents                                     C. Correct
This would Include a change in the number of dependents.                                                        r     ed or as            or (decrease)            number
Enter the information for the return year entered at the top of page 1.
 24 Reserved for future use . . . . . . . . . . . . . . . .                                            24 #@0s                           MS EMM -                dM ±W
 25 Your dependent children who lived with you . . . . . . . . .                                       25                            3                    (1
 26 Reserved for future use . . . . . . . . . . . , . . . .                                            28 WM.WSR MM!E#WiG iWë§WMM
 27     Other dependents . . . . . . . . . . . . . . . . . . 27                       0    0     0
 28     Reserved for future use . . . . . . . . . . . . . . . . 28 §W$5í@Mi@Ñ §?MMGIG ÚØM&ïß å
 29     Reserved for future use . . . . . . . . . . . . . . . . 29                 WW§.WfM   }EM
 30     List ALL dependents (ohlldren and others) claimed on this amended retur 1.
Dependents (see Instructions):                                                                                                   .       (d) Check the box if quallfles for
                                                                                                                                                 (see Instructions):
If more                                                                        (b) Social security          {c) Relallonship             Child tax credit Credit for other
than four     (a) First name                           Last name                    nurnber                      to you                                       dependents
dependents,                                                                                           D
instructlons
and check
here                                                                                                                                           O                      O
             Explanation of Changes. In the space provided below, teII us why you are filing Form 1040-X.
        Attach any supporting doournents and new or changed forms and schedules.
       The orlgInal return had reported W2 wages that were incorrect. The amended return removes both those wages and any tax credits based upon
       those wages, such as the EITC, CTC, and CDCTC. The orlginsi return also included a clairned dependent who do not Ilve with the taxpayer, and
       that dependent is also being removed. Cilent received an orlginal refund, so client must now pay that refund back.




                  Remember to keep a copy of this form for your records.
                  Under penalties of perjury, I declare that I have filed an original return, and that I have examined this amended retum, including accompanying scheifules
                  and statements, and to the bast of my Imowledge and bellef, this amended return is true, correct, and complete. Declaration of preparer (other than
                  taxpayer) is based on all information about which the preparer has any knowledge.
S                 Your signature                                            Date              Your occupallon                                  if the IRS sent you an Identity
                                                                                                                                               Protect!on PIN, enter it here
 Here                                                                              \2859                                                       ceeernst.)
                   spouse's s gnature, if a joint retum, oth must sign.     Date              Spouse's occupation                              if the IRS sent your spouse an
                                                                                                                                               Identity Proteollon PIN, enter it here
                                                                                                                                               (see inst.)
                   Phone no.                                                Emall addresa
 Paid              Preparer's name                               Preparer's signature                               Date                   PTIN                Check if:                .

 Preparer
 Use Only          Firm'aname                                                                                                              Phoneno.
                                                                                                                                                                   8° °™Pl°Y°
                   Firm's address                                                                                                          FlnWs EIN
 For forms and publications, visit www.frs,gov/Forms.                                                                                             Forrn 1040-X (Rev. 2-2024)
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                                                                                                                                    OMB No. 1545-0150
                                                     Power of Attorney                                                               For IRS Use Only
(Rev.s.nuary20213                             and Declaration of Representative                                                    Received by:
n n       e u     n e                >Go to wwwJrs.gov/Form2848 for Instructions and the latest Information.                       Name
                Power of Attorney                                                                                                  Telephone
                Cautiom A separate Form 2848 must be completed for each taxpayer. Form 2848 will not be honored                    Function
                for any purpose other than representation before the IRS.                                                          Date           /   /
   1 Taxpayer information. Taxpayer must sign and date this form on page 2, line 7,
Taxpayer name and address                                                                          on number(s)
Tiffanie M. Current
7564 Forest Glen Road                                                           Daytime telephone number        Plan number (if appilcable)
New Orleans, LA 70127.1882                                           .
hereby appoints the following representative(s) as attomey(s)-in-fact:
   2 Representative(s) must sign and date this form on page 2, Part II.
Name and address                                                                        CAF No.          0310.89393R
R. Paul Tuttle                                                                          PTIN
1340 Poydras Street, Ste: 600                                                           Telephone o. _   _ 4     1_  e                    3
New Orleans, Louisiana 70112                                                            Fax No. ______(504) 596-2241_
Check If to be sent coples of nottoes and communications                      Check ||new: Address 0 Telephone No.       Fax No. O
Nameandaddress                                                                           CAF No. .__..,________________.
                                                                                         PTIN
                                                                                         TeFaxNo.
                                                                                             ephoneNo. ,_..__,_____.,____,_
                                                                                                  ______.,,______.___.
Check If to be sent copies of nottoes and communloations                      Check if new: Address 0          Telephone No. O                Fax No. O
Name and address                                                                         CAF No. ____________________
                                                                                          PTfN __________________
(Note: IRS sende not ces and communications to only two representatives.)
                                                                                          FaxNo. ______
                                                                                         TeephoneNo. ,_,____ __________
                                                                             Check lf new: Address € Telephone No.                     Fax No.
Name and address                                                                         CAF No.
                                                                                         PTIN
                                                                                         Te ephone No.
                                                                                         Fax No.
(Note:lRS sends notices and communications to only two representatives.) Check if new: Address 0 Telephone No. O                       Fax No
to represent the taxpayer before the Internal Revenue Service and perform the following acts:
   3 Acts authorized (you are required to complete line 3). Except for the acts described in line 5b, I authorize my representative(s) to receive and
        Inspect my confidential tax information and to perform acts I can perform with respect to the tax matters described below. For example, my
        representative(s) shall have the authorlly to algn any agreements, consents, or similar documents (see Instructions for line 5a for authorizing a
        representative to sign a retum).
                                                                                                                                                              .
  Description of Matter (Income, Employment, Payroll, Excise, Estate, Gift'           Tax Form Number                  Year(s) or Period(s) (if appilcable)
   Whistleblower, Practilloner Discipilne, PLR, FOlA, Olvil Penalty, Sec.     (1040, 941, 720, etc.) (if applicable)           (see Instructions)
      4980H Shared Responsibillly Payment, sto.) (see Instructlons)

 Income                                                                                       1040                                 2007-2023




   4      Specillo use not recorded on the Centralized Authorization File (CAF). If the power of attomey is for a speclNo use not recorded on
          CAF, check this box. See LIne 4. Speciflo Use Not Recorded on CAF in the Instructions  . . . . . . . . . . . . . > 0
   5a Additional acts authorized. In addition to the acts listed on line 3 above, I authorize my representative(s) to perform the following acts (see
      inetruollone for line 5a for more information): O Access my IRS records via an Intermediate Service Provider;
      € Authorize disclosure to third parties;        O Substitute or add representative(s); O Sign a retum:



            Other acts authorized:


 For Privacy Act and Paperwork Reduction Act Notice, see the Instruollons.                        Cat. No. 11980J                  Form 2848 (Rev. 1-2021)
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Form 2848 (Rev. 1-2021)                                                                                                                              Page 2
      b Spoolflo acts not authorized. My representative(s) is (are) not authorlzed to endorse or otherwise negotiate any check (including directing or
        accepting payment by any means, electronic or otherwlse, into an account owned or controlled by the representative(s) or any firm or other
        entity with whom the representative(s) is (are) assoclated) Issued by the govemment In respect of a federal tax llability.
        List any other spec1fic deletions to the acts otherwlae authorized In this power of attomey (see Instruollons for line Sb): _____
         ..._.....___._._..._._............_...._.,........_..__..................._....._..._......._....__...._._________,,,,..__........______
  6      Retention/revocation of prlor power(s) of attomey. The Illing of this power of attorney automatloally revokes all earlier power(s) of
         attorney on file with the Intemal Revenue Service for the same matters and years or periods covered by this form. If you do not want to
         revoke a prior power of attorney, check here . . . . . . . . , . . . . . . . . . . . . . . . . . . > 0
         YOU MUST ATTACH A COPY OF ANY POWER OF ATTORNEY YOU WANT TO REMAIN IN EFFECT.
  7      Taxpeyer declaratlon and signature. If a tax matter concerns a year in whloh ajoint return was flied, each spouse must file a separate power
         of attomey even if they are appointing the same representative(s), || signed by a corporate officer, partner, guardian, tax matters partner,
         partnerahlp representative (or designated Individual, il applicable), executor, receiver, administrator, trustee, or indMdual other than the
         taxpayer, I certify I have the legal authorlty to execute this form on behalf of the taxpayer.
         > IF NOT COMPLETED, SIGNED AND DATED, THE IRS WILL RETURN THIS POWER OF ATTORNEY TO THE TAXPAYER.


                                                                             Date


                           Print name
                Declaration of Representative
 Under penalties of perjury, by my signature below I declare that:
• I am not currently suspended or disbarred from practice, or inellglble for pracifoe, before the Internal Revenue Service;
• I am subject to regulations in Circular 230 (31 CFR, Subtitle A, Part 10), as amended, governlng practice before the Intemal Revenue Service;
4 I am authorized to represent the taxpayer identified in Part I for the matter(s) speelfled there; and
• I am one of the following:
   a Attomey-a member in good standing of the bar of the hfghest court of the jurisdiction shown below,
   b Certlfled Public Accountant-a holder of an active license to practice as a certified pubile accountant in the jurisdiction shown below,
   o Enrolled Agent-enrolled as an agent by the IRS per the requirements of Circular 230.
   d Officer-a bona fide officer of the taxpayer organization.
   e Full-Time Employee--a full-time employee of the taxpayer.
   f Family Member-a member of the taxpayer's immediate family (spouse, parent, child, grandparent, grandchild, step-parent, step-child, brother, or sister).
   g Enrolled Actuary-enrolled as an actuary by the Joint Board for the Enrollment of Actuaries under 29 U.S.C. 1242 (the authority to practice before
     the IRS is limited by sect(on i D.3(d) of Circular 200).
   h Unenrolled Return Preparer-Authority to practice before the IRS is limited. An unenrolled retum preparer may represent, provided the preparer (1)
     prepared and signed the return or claim for refund (or prepared If there is no signature space on the form); (2) was eligible to sign the return or
     clafm for refund; (3) has a valid PTIN; and (4) possesses the required Annual Fillng Season Program Record of Completlon(s). See Special Rules
     and Requirements for Unenrolled Return preparers in the Instruct/ons for additionalInformation.
   k Qualifying Student or Law Graduate-receives permission to represent taxpayers before the IRS by virtue of hls/her status as a law, business, or
     accounting student, or law graduale working in a LITC or STCP. See Instructions for Parl 11 for additional information and requfrements.
   r Enrolled Retirement Plan Agent-enrolled as a retirement plan agent under the requirernents of Circular 230 (the authority to practice before the
     Intemal Revenue Service is llrnited by section 10.3(e)).
     >- IF THIS DECLARATION OF REPRESENTATIVE IS NOT COMPLETED, SIGNED, AND DATED, THE IRS WILL RETURN THE
       POWER OF ATTORNEY. REPRESENTATIVES MUST SIGN IN THE ORDER LISTED IN PART 1, LINE 2.
Note: For designations d-f, enter your title, position, or relationship to the taxpayer in the "Ucensing jurisdtetlon" column.
  Designation_ Licensing jurlsdlotion        Bar, license, certificatlan,
   insert above      (State) or other        registration, or enrollment                               Signature                                  Date
    letter (a-r), llc sing authority           number (If applicable)


          a                  LA                        24679




                                                                                                                                    Forrn 2H48 (Rev. 1-2021)
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                   2024 JIJL 23 PM 2 37

              CIVIL             T        T FOR THE PARISH OF ORLEANS
                                    STATE OF LOUISIANA

   NO. 2024-06181                                                                 Division: J-15

                                    TIFFANIE CURRENT

                                             VERSUS

                       HOUSING AUTHORITY OF NEW ORLEANS

FILED:

                                                               DEPUTY CLERK

                            AFFIDAVIT OF R. PAUL TUTTLE

STATE OF LOUISIANA

PARISH OF ORLEANS

      BEFORE ME, the undersigned Notary Public, personally came and appeared

PAUL TUTTLE, who after being duly sworn and deposed did state the following:

   1. I am a tax attorney and the Director of the Low Income Taxpayer Clinic (LITC) at

       Southeast Louisiana Legal Services. I have held this position since 2014.

   2. I am preparing this affidavit to explain how the Low Income Taxpayer Clinic prepares

      amended tax returns for its clients.

The LITC Process for Amending Tax Returns

   3. The LITC is not a tax preparation service. The LITC will only prepare and file amended

      returns or original returns in order to resolve a legal issue with the IRS. For this reason,

      the LITC is not set up to electronically file tax returns. Instead, paper returns that have

      been reviewed and signed by the taxpayer are mailed to the IRS. For individuals

      domiciled in Louisiana, the tax returns must be mailed to an IRS service center located in

      Austin, Texas.

   4. Mailing tax returns lengthens the amount of time that it would take for the IRS to process

      the tax return. The IRS estimates that it takes approximately twelve weeks to process an

      amended return. This is an average timeline and individual returns may take longer to

      process. The time needed to process a tax return is completely under the control of the

      IRS and there is no process for expediting the processing of tax returns.


                                                                             VERRED
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   5. The LITC is able to monitor the online tax transcripts of the client. When the IRS

       receives an amended tax return, a notation will be made on the taxpayer's online

       "Account Transcript." This notation may say "Amended Return Filed" or "Amended tax

       return or claim forwarded for processing." When the amended return has been processed,

       the Account Transcript will note the changes in liability or refund that occurred as a

       result of the amended return. A notice will also be sent to the taxpayer.

   6. There is a separate transcript called the "Tax Return Transcript" which is a summary of

       the original return filed by the taxpayer. This transcript is not changed to show the

       information from subsequent amended returns or other changes. The Account Transcript

       and the client notice are the only proof of an amended return being filed and processed

       that is generated by the IRS.

Tax Preparer Fraud

   7. Tax preparers are unregulated in the state of Louisiana.

   8. In my practice I frequently see instances of tax preparer fraud, where tax preparers inflate

       or invent business income for a taxpayer so that they will qualify for a large Earned

       Income Tax Credit ("EITC"). The tax preparer benefits from this practice because they

       usually take a substantial cut of the EITC.

I declare under penalty of perjury that the forgoing statem n      r true     rrect.


                                                     R. a       Tuttle


SWORN TO AND SUBSCRIBED
BEFORE ME THIS 'M DAY
OF             , 2024.




NOTARY PUBLIC

Notary Printed Name:                                     MS

Notary or LSBA #:                          Os Parish 0 sia
  Case 2:24-cv-01883-SSV-EJD Document 3-4 Filed 07/29/24 Page 121 of 127



                           FfL E D
                    202UUL 23 PM 2: 37
                              CiVil
                         DISTRICT COURT
               CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
                              STATE OF LOUISIANA

   NO. 2024-06105                                                                Division: E-07

                                        IESHA MARTIN

                                             VERSUS

                         HOUSING AUTHORITY OF NEW ORLEANS

FILED:

                                                                DEPUTY CLERK

                                   AFFIDAVIT OF NOTICE

STATE OF LOUISIANA
PARISH OF ORLEANS

       BEFORE ME, the undersigned Notary Public, personally came and appeared

HANNAH ADAMS, who after being duly sworn and deposed did state the following:

    1. I am a staff attorney at Southeast Louisiana Legal Services.

    2. On June 26, 2024 I notified Defendant Housing Authority ofNew Orleans ("HANO")

       through its General Counsel that SLLS intended to file suit and seek an emergency stay

       in this matter.

    3. My correspondence is attached as Exhibit A.

    4. On July 19, 2024 I again notified HANO through its General Counsel that we intended to

       seek a stay order to prevent the termination from going into effect July 31.

    5. My correspondence is attached as Exhibit B.

    6. On July 22, 2024 I forwarded this request to HANO's outside counsel, when informed

       that HANO had hired outside counsel to represent them in this matter.

   7. My correspondence is attached as Exhibit C.

    8. I was informed that HANO intended to move forward with the termination on July 31.

I declare under penalty of perjury that the forgoing statements are true and correct.


                                                      Hannah Adams                        p           a
SWORN TO AND SUBSCRIBED                                                                           2
BEFO       HIS 2  DAY OF Ô d y                               , 2024.

NOTARY PUBLIC                                                                             .
                                                                              Paul R. Tassin
                                                                               Notary Public
                                                                            Notary ID No. 187187
                                                                          Orleans Parish, Louisiana
  Case 2:24-cv-01883-SSV-EJD Document 3-4 Filed 07/29/24 Page 122 of 127




                        11 El SOUTHEAST LOUISIANA
                                             LEGAL SERVICES
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                       www.sils.org • www.louisíanalawhelp.org • http://tinyurl.com/sllsfacebook


                                                                                                         June 26, 2024

Keva Landrum, General Counsel
Housing Authority of New Orleans
4100 Touro St.
New Orleans, LA 70122

Tiffany Boveland, Staff Attorney                                                                          g£2        N
Housing Authority of New Orleans                                                                          -i$
4100 Touro St.
New Orleans, LA 70122

By Electronic Mail

       Re:      Tiffanie Current HCVP Termination
                Request for Reconsideration and Intent to Pursue All Legal Remedies

Dear Attorneys Landrum and Boveland,

I write today with serious concerns about the June 7, 2024 hearing decision issued by
Christopher Dalton in the proposed termination of HCVP participant Tiffanie Current. HANO is
not bound by decisions that are contrary to law. 24 C.F.R. § 982.555(f)(2). For the reasons
explained in this letter we request that the decision be reversed because it contains factual errors
and violates the law.

HANO proposed termination of Ms. Current's voucher due to unreported self-employment
income on her tax 2022 and 2023 tax returns. This is a common issue that our agencies see
frequently, due to the unregulated nature of the tax preparer industry in Louisiana and the
prevalence of tax preparer fraud. Because Ms. Current did not make self-employment income,
and it was reported in error, HANO gave Ms. Current time to amend her tax returns. Ms. Current
was referred to the SLLS Low Income Taxpayer Clinic, and tax attórney Paul Tuttle amended
Ms. Current's taxes and submitted said amendments to the IRS. SLLS is not set up as a tax
preparation service so we cannot file amended returns electronically; Attorney Tuttle has to mail
in paper returns. The IRS then takes up to a month to note that they have received a mailed return
on account transcripts, and it can take several months for the IRS to process the return.
Obviously, SLLS has no control over how quickly the IRS does its work.



                                                     LOUISIANA BAR                                   - Uhited
    =ll LSC                                          FOUNDATION
      Case 2:24-cv-01883-SSV-EJD Document 3-4 Filed 07/29/24 Page 123 of 127




    Despite the substantial investment of time by our office in amending the returns at HANO's
    invitation, and Ms. Current's choice to subject herself to potential IRS liability, Mr. Dalton
    upheld the proposed termination on June 7, 2024.

    The decision is arbitrary and capricious and not based on substantial evidence, and is likely to be
    overturned on judicial review. In advance of HANO's deadline, Theresa Ambeau provided
    HANO with the IRS 1040X forms for 2022 and 2023 that were submitted to the IRS, showing
    self-employment income as $0. In her correspondence she asked Mr. Dalton ifhe needed any
    additional information. She received no response. On June 7, 2024, Mr. Dalton upheld the
    proposed termination, citing as the reason that there was no.evidence the amended returns were
    actually filed with the IRS. Mr. Dalton stated he would need "official documentation from the
    IRS to show they received the returns."

    Notwithstanding the fact that Mr. Dalton's decision suggests that SLLS attorneys violated the
    code of ethics and misrepresented to HANO that the returns were filed with the IRS, Ms.
•   Ambeau could have easily provided any missing documentation needed by HANO. But Mr.
    Dalton did not respond when she asked if additional information was needed.

    On June 7, 2024, I contacted HANO about two hearing decisions we had received upholding
    terminations despite the fact that IRS tax returns were amended by our Low Income Taxpayer
    Clinic in advance of HANO's deadline. I received no response from anyone at HANO. On June
    18, 2024, Ms. Ambeau sent a letter to Mr. Dalton requesting reconsideration and attaching our
    tax attorney Paul Tuttle's correspondence with the IRS wherein he submitted the amended
    returns. She requested a response by June 25. She also explained to HANO, again, that Ms.
    Current is faces imminent harm due to domestic violence because HANO has refused to
    allow a program move due to the proposed termination. She has received no response. As
    such, we have attempted to amicably engage with HANO on this issue to no avail.

    This letter is notifying HANO that we intend to pursue all possible legal remedies in this
    case. Please notify us if you intend to grant reconsideration and rescind the termination on
    or before July 7, 2024.

    Please notify me of your decision within that time period, or contact me to discuss further. I can
    be reached at (504) 529-1000 x.258 or hadams@slls.org.

    Sincerely,



    Hannah Adams, Esq.
    Staff Attorney, Litigation Unit

    ec:
    Pradip Singh
    Christopher Dalton




                                                     2
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                                                                                          Hannah Adams <hadams@sils.org>


Intent to seek stay order in Tiffanie Current and lesha Martin cases
Hannah Adams <hadams@sils.org>                                                             Fri, Jul 19, 2024 at 10:42 AM
To: Keva Landrum <klandrum@hano.org>, Tiffany Boveland <tboveland@hano.org>
Cc: Michael Veters <mveters@slls.org>, David Williams <dwilliams@sils.org>, Amanda Golob <agolob@slls.org>

  Ms. Landrum and Ms. Boveland,
  We intend to seek a stay order in the Tiffanie Current and lesha Martin cases, as their terminations go into effect July 31.
  Will you voluntarily consent to stay the termination decision pending resolution of the judicial review suit?

  Please let me know by COB Monday.

  Thanks, and feel free to contact me if you wish to discuss further or have any questions.
  Hannah Adams, Esq.

  Staff Attorney, Litigation Unit                                                                                           en

  Southeast Louisiana Legal Services

  hadams@sils.org
  (504) 529-1000 x. 258                                                                                     U
  Pronouns: she/her/hers
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               Case 2:24-cv-01883-SSV-EJD Document 3-4 Filed 07/29/24 Page 125 of 127



M Gmail
Intent to seek stay order in Tiffanie Current and lesha Martin cases
                                                                                          "- - »^o-- < -- eae · ere,
Hannah Adams <hadams@slls.org>                                                              Fri, Jul 19, 2024 at 2:04 PM
To: "Knight, Kathryn M.'' <KKnight@stonepigman.com>
Cc: David Williams <dwilliams@sils.org>, Michael Veters <mveters@sils.org>, Amanda Golob <agolob@sils.frg>

  Kathryn,                                                                                              c

 Nice to speak with you today. Below is the email I had sent this morning to Ms. Landrum. The stay w prp requèsting
 would require HANO to continue issuing HAP payments for Current and Martin, and to process a progthà..movg with
 continued assistance for Current who faces imminent threat of domestic violence at her current locati .
 Are you also representing them in the D'Aquin v. HANO case, or just Tiffanie Current, lesha Martin, ari Pflaine§$nith?
  Thanks,

  Hannah Adams, Esq.

  Staff Attorney, Litigation Unit
  Southeast Louisiana Legal Services

  hadams@sils.org
  (504) 529-1000 x. 258
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  ---------- Forwarded message ---------
  From: Hannah Adams <hadams@slls.org>
  Date: Fri, Jul 19, 2024 at 10:42 AM
  Subject: Intent to seek stay order in Tiffanie Current and lesha Martin cases
  To: Keva Landrum <klandrum@hano.org>, Tiffany Boveland <tboveland@hano.org>
  Cc: Michael Veters <mveters@sils.org>, David Williams <dwilliams@sils.org>, Amanda Golob <agolob@slls.org>

  Ms. Landrum and Ms. Boveland,

  We.intend to seek a stay order in the Tiffanie Current and lesha Martin cases, as their terminations go into effect July 31.
  Will you voluntarily consent to stay the termination decision pending resolution of the judicial review suit?
  Please let me know by COB Monday.

  Thanks, and feel free to contact me if you wish to discuss further or have any questions.
  Hannah Adams, Esq.

  Staff Attorney, Litigation Unit

  Southeast Louisiana Legal Services
  hadams@slls.org
  (504) 529-1000 x. 258
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                CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
                               STATE OF LOUISIANA


    NO. 2024-06181                                                                 Divisimf: J-1Sy

                                         TIFFANIE CURRENT

                                              VERSUS

                         HOUSING AUTHORITY OF NEW ORLEANS


FILED:
                                                                 DEPUTY CLERK

                                           STAY ORDER

         Considering the Emergency Motion for Stay of Housing Authority Decision Pending

Judicial Review, the irreparable injury at issue and the plausible merit of the petition, and this

Court's authority in para materia to the statutory authorization under La. R.S. 978.1 to issue an

ex parte stay while the case is on judicial review:

         IT IS ORDERED that the June 7, 2024 hearing decision terminating Ms. Current's

housing assistance as of July 31, 2024 is STAYED until further order of this court;

         IT IS FURTHER ORDERED that the Housing Authority proceed with processing Ms.

Current's Violence Against Women Act program move until further order of this court.

         [and/or]

         IT IS FURTHER ORDERED that the Housing Authority of New Orleans show cause

on the     3 o day or         a o           ,2024 et      i : 3 o t o'clock __.m., why HANO

should not be stayed from terminati        s. Current's assistance, set to terminate on July 31,

2024, and why it should not be ordered to immediately process her program move due to

domestic violence.

         [and if a hearing is ordered]

         IT IS FURTHER ORDERED that if Defendant seeks to have the Court's decision not

be based on the partial administrative record tendered by the Plaintiff, at least 3 days before the

hearing Defendant shall file with the Court and deliver to Plaintiff'               mplete copy of

the administrative record.
                                  NEW ORLEANS, LOUISIANA                  D. Nic She a
                                 This_day of          JIj( 2 q
    Case 2:24-cv-01883-SSV-EJD Document 3-4 Filed 07/29/24 Page 127 of 127




        igned in New Orleans, Louisiana on                                   ,2   ,

a               o'clock    .m.



                                             HON. JUDGE D.   COLE SHEPPARD


Please Serve:

Housing Authority of New Orleans
Through Counsel, Kathryn Knight
Stone Pigman Walther Wittmann, LLC
909 Poydras St #3150
New Orleans, LA 70112




                                                                 VERlRED
